               Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 1 of 25



 1                                                         The Honorable Robert S. Lasnik

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 6                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE

 8 STATE OF WASHINGTON, et al.,

 9                      Plaintiffs,            No. 2:18-cv-01115-RSL
10
          v.                                   PRIVATE DEFENDANTS’
11                                             BRIEF IN OPPOSITION TO
   UNITED STATES DEPARTMENT OF                 PLAINTIFF STATES’ MOTION FOR A
12 STATE, et al.,                              PRELIMINARY INJUNCTION

13                      Defendants.
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     PRIVATE DEFENDANTS’ BRIEF IN                                FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                             4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                     Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
              Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 2 of 25



 1                                SUMMARY OF THE ARGUMENT

 2          The Plaintiffs fail to acknowledge the extraordinary scope of their desired relief: A

 3 nationwide prior restraint of all Americans. Because of the request’s suppressive nature, the First

 4 Amendment imposes a “heavy presumption against its constitutional validity.” Bantam Books, Inc.

 5 v. Sullivan, 372 U.S. 58, 70 (1963). It is no surprise, then, that the United States has abandoned

 6 any effort to defend this unconstitutional scheme. The Plaintiffs do not even try to satisfy strict

 7 scrutiny because they cannot.

 8          Similarly, the Plaintiffs fail to acknowledge that the information they are so eager to censor

 9 already exists in the public domain. The cat is out of the bag and can’t go back in. Since

10 publication has already been completed, the “efficacy of equitable relief . . . to avert anticipated

11 damages is doubtful at best.” New York Times Co. v. U.S., 403 U.S. 713, 732 (1971) (White, J.,

12 concurring). Anyone with Internet access already has access to the speech at issue. Silencing

13 Defense Distributed does no good.

14          The State Department’s decision to settle the federal litigation in Texas was correct. The

15 government acted reasonably and prudently—as part of a comprehensive reform—to balance

16 competing constitutional and statutory concerns. It was justified in issuing the license and making

17 the temporary modification. These actions restored to all United States persons their right to enjoy

18 the First Amendment’s freedoms in the technical data and other files at issue. If ever a court finds

19 itself confronting those merits, it should uphold the actions in full.

20          But the Court cannot reach the dispute’s merits because it lacks the jurisdiction to do so.

21 This is the wrong court, in that it is not the court that issued the judgment being assailed. These

22 are the wrong plaintiffs, in that they bring nothing more than hypothetical generalized grievances.

23 And this is the wrong forum, in that Congress has said—repeatedly in no uncertain terms—that

24 this part of the Executive Branch’s work is off limits to judicial second-guessing.

25          The Plaintiffs’ motion brandishes “security” concerns dozens of times. But “‘security’ is

26 a broad, vague generality whose contours should not be invoked to abrogate the fundamental law

     PRIVATE DEFENDANTS’ BRIEF IN                     1                        FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                           4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                   Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                           (202) 550-0040
              Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 3 of 25



 1 embodied in the First Amendment.” New York Times Co. v. United States, 403 U.S. 713, 719

 2 (1971). The motion should be denied.

 3                                                FACTS

 4          A.      Defense Distributed’s Texas Case Against the State Department

 5          In 2015, Defense Distributed and the Second Amendment Foundation, later joined by Conn

 6 Williamson, (collectively, “Defense Distributed”) filed a lawsuit in the United States District Court

 7 for the Western District of Texas against the State Department and several of its officers. The suit

 8 challenged the constitutionality of the prior restraint of public speech imposed under the ITAR.

 9 Def. Distributed v. Dep’t of State, 121 F. Supp. 3d 680 (W.D. Tex. 2015). Several months later,

10 the Supreme Court issued Reed v. Town of Gilbert, 135 S. Ct. 2218 (2015), to explain that

11 content-based prior restraints on public speech must be reviewed with strict scrutiny.

12          The district court’s first major interlocutory ruling found that Defense Distributed’s

13 publication of the files was speech, and that the State Department’s prior restraint was

14 content-based. Def. Distribted, 121 F. Supp. 3d at 691-92. But instead of applying strict scrutiny,

15 as required by Reed, the court reviewed the State Department’s prior restraint with mere

16 intermediate scrutiny and declined to issue a preliminary injunction. Id. at 695-701.

17          A divided Fifth Circuit panel affirmed. Def. Distributed v. United States Dep’t of State,

18 838 F.3d 451 (5th Cir. 2016). But it declined to reach the likelihood of success on the merits. Id.

19 at 461. Instead, it ruled solely based on “the balance of harm and the public interest.” Id.

20          The merits were, however, reached by two important opinions. Judge Jones emphasized

21 the common nature of this speech in a panel dissent: “the State Department’s application of its

22 ‘export’ control regulations to this domestic Internet posting appears to violate the governing

23 statute, represents an irrational interpretation of the regulations, and violates the First Amendment

24 as a content-based regulation and a prior restraint.” Id. at 463-64. (Jones, J. dissenting).

25          The judges dissenting from the denial of rehearing en banc also reached the merits. Def.

26 Distributed v. Dep’t of State, 865 F.3d 211 (5th Cir. 2017). Their opinion explained that the district

     PRIVATE DEFENDANTS’ BRIEF IN                     2                      FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                         4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                 Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                         (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 4 of 25



 1 court’s kind of “flawed preliminary injunction analysis permits perhaps the most egregious

 2 deprivation of First Amendment rights possible: a content based prior restraint. Id. at 212.

 3         After the appeal’s conclusion, the district court ordered the parties to make settlement

 4 demands. That initiated a process under which the parties reached a settlement. See Defense

 5 Distributed et al. v. U.S. Dept. of State, et al, No. 15-cv-372 (W.D. Tex.) (Dkts. 88, 93, 95).

 6         B.      The Government’s Rationale for the Settlement Agreement

 7         During the original case and its appeals, the Obama administration engaged in a

 8 comprehensive reform of the ITAR, known as the Export Control Reform Initiative (“ECR”). A

 9 goal of the reform was to transfer items of lesser significance to maintaining a military or

10 intelligence advantage from the export jurisdiction of the State Department, under ITAR, to the

11 export jurisdiction of the Commerce Department, under the Export Administration Regulations

12 (“EAR”). See e.g., 78 Fed. Reg. 22,740 (April 16, 2013); see also Fact Sheet on President’s Export

13 Control Reform Initiative (April 20, 2010). Exhibit A.

14         The ECR list transfers included articles and technical data from each of the twenty-one

15 USML categories. USML Category I designates “Firearms, Close Assault Weapons and Combat

16 Shotguns.” 22 C.F.R. § 121.1. As part of ECR, in May 2018, the State Department announced its

17 plan to amend the ITAR to transfer control of certain articles at USML Category I from the State

18 Department to the Commerce Department. See 83 Fed. Reg. 24,198 (May 24, 2018). That shift

19 placed the Justice Department in an odd position with respect to the Defense Distributed litigation

20 because, unlike the State Department, the Commerce Department does not impose a prior restraint

21 on public speech under EAR. As a result, the Justice Department would be forced to defend a

22 soon-to-be-irrelevant prior restraint against Defense Distributed, and only Defense Distributed. A

23 settlement made eminent sense.

24         Moreover, the State Department’s litigation position was in direct conflict with prior

25 Justice Department legal opinions. Since 1978, the Justice Department had advised Congress, the

26 White House, and the State Department that imposing a prior restraint on public speech under the

     PRIVATE DEFENDANTS’ BRIEF IN                    3                      FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                        4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                        (202) 550-0040
              Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 5 of 25



 1 ITAR would violate the First Amendment.1 These opinions were provided to certain State

 2 Department defendants in the Texas case (Dkt. 48-1 at Exhibit E) and were included in the record

 3 of the case. See No. 15-cv-372 (Dkt. 8 at App. 99-196).

 4          For example, the Justice Department’s “1997 Report on the Availability of Bombmaking

 5 Information” advised Congress on the dangers posed by the availability of bombmaking

 6 information on the Internet:

 7          Law enforcement agencies believe that, because the availability of bombmaking
            information is becoming increasingly widespread (over the Internet and from other
 8          sources), such published instructions will continue to play a significant role in
            aiding those intent upon committing future acts of terrorism and violence.
 9
     Dkt. 48-1 at Exhibit D at 2. Still, the Justice Department opined that the government lacked the
10
     power to impose a prior restraint on such speech:
11
            Anyone who teaches or publishes bombmaking information—including those who
12
            do so for wholly legitimate reasons, such as explosives manufacturers, the military,
13          and encyclopedia publishers—could foresee that some unknown recipient of the
            teaching or information will use it for unlawful ends; but the First Amendment
14          would not permit culpability on that basis.

15 Id. at 24 (emphasis added). Despite these long-standing positions, the Department of Justice still

16 defended—as was its duty—the State Department’s prior restraint of speech under ITAR.

17          The public records provide a sound basis for the State Department’s decision to settle the

18 case. This settlement supported the government’s long-term plan to transfer articles and technical

19 data from the State Department to the Commerce Department. Moreover, this transition began

20 during the Obama administration’s ECR, which the State Department confirmed in the instant

21 action. See Dkt. 16 at n. 6. Further, the public record shows that the Justice Department has long

22 advised the State Department that applying the ITAR to public speech violates the First

23 Amendment. The State Department’s July 31, 2018 press briefing was consistent with this advice:

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       1
26      See Department of Justice letters, memoranda and report issued between 1978 and 1997. Dkt.
     48-1 at exhibits A-D.
     PRIVATE DEFENDANTS’ BRIEF IN                    4                      FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                        4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                        (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 6 of 25



 1          The Department of Justice was advising the State Department on this entire legal
            matter. The Department of Justice suggested that the State Department and the U.S.
 2          Government settle this case, and so that is what was done. We were informed that
            we would’ve lost this case in court, or would have likely lost this case in court based
 3          on First Amendment grounds. We took the advice of the Department of Justice, and
            here we are right now.
 4

 5 Dkt. 35-1 at Exhibit A.

 6          C.     Gun Control Groups Attempt to Block the Settlement Agreement

 7          On July 25, 2018—two days before the Settlement Agreement was scheduled to go into

 8 effect—three gun control groups sought to block it. The groups argued that the Settlement

 9 Agreement violated the Administrative Procedures Act (“APA”) for two reasons: first, because the

10 State Department did not provide Congressional notification, and second because the State

11 Department did not obtain Department of Defense concurrence for the authorizations promised in

12 the settlement. See No. 15-cv-372 (Dkt.’s 96 and 97).

13          On July 27, 2018, Judge Pitman heard emergency oral arguments with respect to the

14 Motion to Intervene and the Motion for a Temporary Restraining Order. The Interveners submitted

15 letters from the New Jersey Attorney General and Los Angeles City Attorney for the court’s

16 consideration. They asserted that Defense Distributed’s speech violated local laws in their

17 respective jurisdictions. Following oral argument, Judge Pitman found that the gun control groups’

18 interest was too generalized to establish a right to intervene. As a result, they could not establish

19 an injury in fact sufficient to confer standing. Id. at Dkt. 111. He therefore denied the Motion to

20 Intervene. Id. Later that evening, the parties entered a Stipulation of Dismissal as part of the

21 Settlement Agreement. Shortly thereafter, Judge Pitman entered an order dismissing the lawsuit

22 with prejudice. Id. at Dkt. 113.

23          Following Judge Pitman’s order denying intervention, on July 27, 2018, pursuant to the

24 terms of the Settlement Agreement, the State Department issued two authorizations for

25 Defendants’ public speech concerning the files.

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     PRIVATE DEFENDANTS’ BRIEF IN                     5                       FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                          4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                  Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                          (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 7 of 25



 1         First, the State Department issued Defense Distributed a license pursuant to 22 C.F.R.

 2          § 125.4(b)(13). See Dkt. 8-1 at Exhibit A. This license authorized the Defendants to

 3          publish, for “unlimited distribution,” certain “technical data” that was subject to litigation

 4          in the Western District of Texas.

 5         Second, the State Department made a temporary modification to USML Category I,

 6          pursuant to 22 C.F.R. § 126.2 See Dkt. 8-2 at Exhibit B.              Under this temporary

 7          modification, the State Department would “exclude” the technical data identified in the

 8          Settlement Agreement from Category I.

 9 Further under the Settlement Agreement, the State Department expressly acknowledged that “any

10 United States person” can now “access, discuss, use, reproduce, or otherwise benefit from the

11 technical data,” and “other files,” that are covered by the temporary modification. See Dkt. 8-3 at

12 Exhibit C at 1(d).

13          In the late hours of Friday, July 27, 2018, Defense Distributed shared ten subject files

14 covered by the authorizations on DEFCAD.com. For the next five days, Defense Distributed, the

15 Second Amendment Foundation, and Conn Williamson, as well as any “U.S. person” were free to

16 commit their public speech into the public domain.

17          D.     The Subject Files are Already Posted Online and are Freely Available.

18          Each of the ten files posted by Defense Distributed on July 27 was already in the public

19 domain before that date. Exhibit B. The State Department press briefing acknowledged this fact:

20 the subject files “have been available not just from this one website, but many websites.” Dkt. 35-1

21 at Exhibit A. And, following this court’s Temporary Restraining Order, these files remain in the

22 public domain. Defense Distributed is apparently the only party that is heeding the State

23 Department’s prior restraint. The files continue to be freely exchanged by countless persons in

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     PRIVATE DEFENDANTS’ BRIEF IN                     6                      FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                         4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                 Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                         (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 8 of 25



 1 paper2 and electronic3 form. The Washington Times aptly summarized the current state of affairs:

 2 “Cody Wilson, the site’s founder, complied, but much of the rest of the internet stepped in to ﬁll

 3 the void. ‘Do your human duty and share,’ said one Twitter user who linked to the ﬁles on a ﬁle-

 4 sharing site.”4 On information and belief, the Plaintiffs have not sought any legal action against

 5 the countless parties that have shared these files following this Court’s TRO.

 6         E.      This Court’s Temporary Restraining Order

 7         At the July 31, 2018 hearing on the Plaintiffs’ Motion for TRO, this Court noted: “I am

 8 making the finding that we are going to maintain what I consider to be the status quo, which is no

 9 posting of instructions on how to produce 3-D guns on the Internet from the defendants or from

10 anyone else, without running afoul of the federal law.” See TRO Hearing Transcript (“Tr.”)

11 43:10-14. Even though the Court made clear that no injunctive relief would be issued against

12 Defense Distributed, the decision effectively made speech that was previously lawful unlawful.

13         The ensuing TRO issued by this Court ordered that the State Department “shall preserve

14 the status quo ex ante as if the modification has not occurred and the letter had not been issued.”

15 This language operates as a prior restraint on Defense Distributed because the ITAR requires

16 approval from the “cognizant” government agency prior to publishing technical data in the public

17 domain. 22 C.F.R.§§ 120.11(a)(7), 125.4(b) (13).

18         Moreover, as counsel for Defendant explained to the Court at the hearing, the Court’s order

19 applied retroactively to remove the requisite cognizant authority for Defense Distributed’s

20 otherwise lawful speech.      The TRO operated as a take-down order that required Defense

21 Distributed to remove the files from the Internet. Defense Distributed complied promptly.

22

23     2
       See e.g., C J Awe low, “The Liberator Code Book: An Exercise in the Freedom of Speech,”
   avail. www.amazon.com/Liberator-Code-Book-Exercise-Freedom/dp/1724740733 (Exhibit C).
24   3
       See e.g., https://thepiratebay.org/torrent/8444391/DefDist_Liberator_Pistol,
25 https://www.codeisfreespeech.com, https://grabcad.com/library/ar-15-m16-a1,
   https://www.cncguns.com/downloads.html (Exhibit D).
     4
26     See e.g., “Judge’s order backfires as activists rush to share 3D gun designs,” Washington Times
   (August 1, 2018), http://bit.ly/2P5pAlQ (Exhibit E).
     PRIVATE DEFENDANTS’ BRIEF IN                   7                      FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                       4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                               Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                       (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 9 of 25



 1                                             ARGUMENT

 2          The Plaintiffs do not want to maintain the status quo. They want to alter it. The true status

 3 quo was the state of affairs that existed before the TRO issued. That status quo respected the

 4 Constitution. At that point, the State Department had authorized Defense Distributed and all U.S.

 5 persons to share the information at issue; and pursuant to this authorization, Defense Distributed

 6 committed that information to the public domain for five days. Plaintiffs then sued to change that

 7 status quo—to end the right of all U.S. persons to share the information by having this Court turn

 8 back the clock on State Department’s actions done pursuant to the Settlement Agreement.

 9          In this effort, Plaintiffs bear all of the burdens. They must establish all of the requisite

10 legal propositions and all of the requisite facts, and they must to do so “by a clear showing.”

11 Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per curiam). And because they wish to alter the

12 status quo instead of preserve it, precedent demands that the Court “be extremely cautious about

13 issuing a preliminary injunction.” Stanley v. Univ. of S. Cal., 13 F.3d 1313, 1319 (9th Cir. 1994)

14 (emphasis added) (quoting Martin v. Int’l Olympic Comm., 740 F.2d 670, 675 (9th Cir. 1984)).

15          The parties do not dispute what the preliminary injunction elements are. The dispute is

16 about whether the Plaintiffs have established them clearly. They have not done so.

17          The Court lacks subject-matter jurisdiction for several reasons. The Plaintiffs’ claims are

18 meritless both for APA-related and Constitutional reasons. And even if it were a close case, the

19 national interest in preserving First Amendment rights outweighs the Plaintiffs speculative fears.

20 I.       The Court Lacks Jurisdiction.

21          A.     The Court Lacks Jurisdiction to Collaterally Attack a Dismissed Case.

22          Plaintiffs’ suit constitutes an impermissible collateral attack on the resolution of a separate

23 federal civil action: Defense Distributed, et al., v. United States Department of State, et al., No.

24 15-cv-372-RP (W.D. Tx.). This Court has nothing to do with that dismissed matter from the

25 Western District of Texas.

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     PRIVATE DEFENDANTS’ BRIEF IN                      8                      FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                          4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                  Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                          (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 10 of 25



 1          “This truth cannot be concealed by ‘artful pleading.’” Treadaway v. Acad. of Motion

 2 Picture Arts & Scis., 783 F.2d 1418, 1421 (9th Cir. 1986). Whether they say so or not, the

 3 Plaintiffs’ current suit counts as a collateral attack because it impugns the result of that litigation

 4 as an illegal outcome that ought to be voided. See Robinson v. Volkswagenwerk AG, 56 F.3d 1268,

 5 1274 (10th Cir. 1995); Miller v. Meinhard-Commercial Corp., 462 F.2d 358 (5th Cir. 1972).

 6          Ultimately, that action yielded a settlement agreement and was dismissed with prejudice

 7 pursuant to a Rule 41(a)(1)(ii) stipulation. See No. 15-cv-372, Dkt. 112. In essence, the Plaintiffs

 8 seek to overturn that outcome here. But jurisdictional limitations stop them from doing so.

 9          If the Plaintiffs had tried to attack the initial case’s judgment in the court that rendered it,

10 they would lose for lack of jurisdiction. The Supreme Court has explained that “[n]either the Rule

11 nor any provision of law provides for jurisdiction of the court over disputes arising out of an

12 agreement that produces the stipulation.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S.

13 375, 378 (1994); accord Commercial Space Mgmt. Co. v. Boeing Co., 193 F.3d 1074, 1076 (9th

14 Cir. 1999). Indeed, the rule applies with extra force where, as here, the court rendering the

15 judgment (1) did not reserve jurisdiction or incorporate the terms of dismissal in its order, and so

16 did not retain jurisdiction itself; (2) refused, prior to the settlement, to allow third parties to scuttle

17 the agreement, id. at Dkt. 111; and then (3) added its own order of dismissal following the parties’

18 stipulation, id. at Dkt. 113. See Hagestad v. Tragesser, 49 F.3d 1430, 1433 (9th Cir.1995); In re

19 Hunter, 66 F.3d 1002, 1006 (9th Cir.1995).

20          Given that the Plaintiffs had no right to obtain their injunction from the court that actually

21 supervised the settlement and rendered the judgment at issue, the Plaintiffs therefore also cannot

22 obtain that relief from this Court. Just as in Ord v. United States, 8 F. App’x 852 (9th Cir. 2001),

23 “[w]e look to the substance of the complaint to determine whether an action should be

24 characterized as a collateral attack or as an entirely distinct action,” and just as in Ord, the Court

25 should hold that Plaintiffs “may not upset the principles of judicial comity, fairness and efficiency

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     PRIVATE DEFENDANTS’ BRIEF IN                       9                       FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                            4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                    Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                            (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 11 of 25



 1 that underlie the basic rule against horizontal appeals.” Id. at 854. For these reasons, jurisdiction

 2 is lacking.

 3          B.      The Court Lacks Jurisdiction Because of Statutory Limitations.

 4                  1.      5 U.S.C. § 701 Bars Review.

 5          The APA excludes from judicial review any “agency action [that] is committed to agency

 6 discretion by law.” 5 U.S.C. § 701(a)(2); see generally Dist. No. 1, Pac. Coast Dist., Marine

 7 Engineers’ Beneficial Ass’n v. Mar. Admin., 215 F.3d 37, 41-42 (D.C. Cir. 2000). All of the

 8 Plaintiffs’ APA claims seek review of Executive Branch actions that fall within this exclusion. As

 9 a result, “this court lacks jurisdiction.” Id.

10          Section 701(a)(2) covers a wide swath of Executive Branch decisions regarding “foreign

11 policy and the national interest.” Id.; see also United States v. Hawkins, 249 F.3d 867, 873 n.2 (9th

12 Cir. 2001) (“[C]ourts have long recognized that the Judicial Branch should defer to decisions of

13 the Executive Branch that relate to national security.”). In particular, statutes meet this threshold

14 when they use language that permits an executive official, such as the President or another agency

15 official, to take action that the official “deems” in the “national interest.” Zhu v. Gonzales, 411

16 F.3d 292, 295 (D.C. Cir. 2005). More generally, actions fall within this prohibition when the

17 statute at issue supplies no justiciable standard by which a court can review the agency’s exercise

18 of its delegated authority. See Webster, 486 U.S. at 600. This is another case in point.

19          Here, review of the Plaintiffs’ claims is barred. The Executive Branch acted pursuant to

20 two statutes. First, 22 U.S.C. § 2751 directs the government to take action “consistent with the

21 foreign policy interests of the United States.” Second, 22 U.S.C. § 2778(a)(1) directs the

22 government to take action “in furtherance of world peace and the security and foreign policy of

23 the United States.” These standards “exude[] deference to the [Executive Branch], and appear[]

24 to . . . foreclose the application of any meaningful judicial standard of review.” Webster, 486 U.S.

25 at 600. The AECA’s delegation of authority to control arms exports is decidedly one involving

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     PRIVATE DEFENDANTS’ BRIEF IN                    10                     FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                        4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                        (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 12 of 25



 1 foreign affairs and national security—matters clearly within the State Department’s discretionary

 2 authority.

 3          Courts have affirmed this broad grant of authority to the President under the AECA to

 4 control the export of firearms on foreign policy grounds. In doing so, they broadly construe

 5 statutes that grant the President authority to act in such sensitive matters of foreign affairs. See B-

 6 West Imports, Inc. v. United States, 75 F.3d 633, 636 (Fed. Cir. 1996); Samora v. United States,

 7 406 F.2d 1095 (5th Cir. 1969); see also U.S. Ordnance, Inc. v. U.S. Dep’t of State, 432 F. Supp.

 8 2d 94 (D.D.C. 2006), vacated as moot sub nom. U.S. Ordnance, Inc. v. Dep’t of State, 231 F.

 9 App’x 2 (D.C. Cir. 2007); Corrie v. Caterpillar, Inc. 503 F.3d 974 (9th Cir. 2007). This Court

10 should do so again here.

11          Plaintiffs claim, without any authority, that the State Department’s authorizations carried

12 mandatory and non-discretionary requirements under Section 2778(f)(1) for Congressional

13 notification and Department of Defense consultation under Executive Order 13637. Motion 11-

14 13; Tr. 11:19-20. But neither of these requirements apply to State Department’s issuance of the

15 subject authorizations. The authorizations at issue in this case do not remove anything from the

16 UMSL; and the authorization under Section 126.2 (i.e., the temporary modification) merely

17 excludes items for a period of time while the government pursues a permanent change.

18                 2.      AECA Section 2778(h) Bars Review.

19          Even if the State Department removed the subject files from the USML—it didn’t—the

20 AECA expressly, clearly, and unequivocally precludes judicial review of such decisions:

21          (h) Judicial review of designation of items as defense articles or services
22          The designation by the President (or by an official to whom the President’s
23          functions under subsection (a) have been duly delegated), in regulations issued
            under this section, of items as defense articles or defense services for purposes of
24          this section shall not be subject to judicial review.

25 22 U.S.C. § 2778(h) (emphasis added).

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     PRIVATE DEFENDANTS’ BRIEF IN                     11                     FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                         4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                 Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                         (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 13 of 25



 1          Plaintiffs’ motion fails to address Section 2778(h) because they cannot. Courts have rightly

 2 rejected prior attempts to narrow the application of 2778(h) as “strained and unreasonable,”

 3 especially in light of the overall intent of the AECA, which “was enacted to permit the Executive

 4 Branch to control the export and import of certain items in order to further ‘world peace and the

 5 security and foreign policy’ of the United States.” Karn v. U.S. Dep’t of State, 925 F. Supp. 1, 6

 6 (D.D.C. 1996). Even if Plaintiffs return to their earlier argument that a removal is not a

 7 designation, the argument is one of semantics—i.e., the Court can just as easily find the State

 8 Department seeks to designate a limited subset of firearms on the USML.

 9          C.      The Plaintiffs Lack Standing.

10          Those are not the only jurisdictional problems at issue. Additionally, Plaintiffs have not

11 suffered the kind of injury that standing requires. A “generalized grievance is not a particularized

12 injury” that will confer standing, Novak v. United States, 795 F.3d 1012, 1018 (9th Cir. 2015), but

13 a generalized grievance is all that the Plaintiffs assert.

14          “Generalized grievances” involve “harm . . . [that] is not only widely shared, but is also of

15 an abstract and indefinite nature,” the quintessential example being “harm to the common concern

16 for obedience to law.” Id. (quoting Fed. Election Com’n v. Akins, 524 U.S. 11, 23 (1998)). Though

17 cloaked in different language, a “common concern for obedience to law” is exactly what Plaintiffs

18 cite as their basis for standing—their fear that persons will follow the law less because of what

19 Defense Distributed says. That is a classic “generalized grievance.”

20          Plaintiffs have also failed to establish standing’s requisite “causal connection between the

21 injury and the conduct complained of.” Novak, 795 F.3d at 1018. This showing “cannot be too

22 speculative, or rely on conjecture about the behavior of other parties.” Ecological Rights Found.

23 v. Pac. Lumber Co., 230 F.3d 1141, 1152 (9th Cir. 2000). Yet all the injuries Plaintiffs identify

24 stem from this type of conjecture. They require, at minimum, a third-party not permitted to carry

25 a firearm and not otherwise capable of obtaining one to purchase the necessary equipment and

26

     PRIVATE DEFENDANTS’ BRIEF IN                     12                     FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                         4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                 Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                         (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 14 of 25



 1 materials, download the files from Defense Distributed’s website (to the exclusion of any other),

 2 print the parts, and follow a myriad of steps to properly construct the firearm. This does not suffice.

 3          Third, Plaintiffs have failed to show standing’s redressability element. A claim “lacks

 4 redressability if the plaintiff will nonetheless suffer the claimed injury if a court rules in its favor.”

 5 Ctr. for Biological Diversity v. Exp.-Imp. Bank of the United States, 894 F.3d 1005, 1013 (9th Cir.

 6 2018). This is precisely the case here. Even if the Court orders the State Department to issue the

 7 requested notifications, even if the Department revokes the settlement, and even if Defense

 8 Distributed never publishes the files again, there is no unringing the bell.

 9          The designs at issue in this litigation have already been posted online, and thousands of

10 Internet users have already downloaded them. Now, they are freely available for anyone to

11 download from a variety of sources other than Defense Distributed, to say nothing of the many

12 alternative designs that are also readily available. Even if the Court grants Plaintiffs all the relief

13 they seek, they will continue to suffer the very same injuries they cite as the basis for standing.

14 Their claims are not redressable. See Exp.-Imp. Bank, 894 F.3d at 1013.

15 II.      The Claims are Meritless.

16          A.      The Requested Injunction Would Violate the First Amendment.

17          On Friday, July 27, 2018, the U.S. District Court for the Western District of Texas allowed

18 the Private Defendants to enter into the settlement with the State Department. For the next five

19 days, Defense Distributed, the Second Amendment Foundation, and Conn Williamson, as well as

20 any “U.S. person” were free to commit their public speech into the public domain.

21          That liberty came to a crashing halt on the evening of Tuesday, July 31, 2018 when this

22 court issued a Temporary Restraining Order. Although no injunctive relief was issued against the

23 Private Defendants, the direct result of the temporary restraining order was to render speech that

24 was lawful, unlawful. A permissible website on Monday became an illegal website on Tuesday—

25 all because of this Court’s order. That put the Private Defendants to an intractable choice: exercise

26 their rights and face severe criminal penalties, or go dark. They went dark.

     PRIVATE DEFENDANTS’ BRIEF IN                      13                      FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                           4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                   Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                           (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 15 of 25



 1          But for this Court’s TRO, “any U.S. person,” to include Defense Distributed, would be

 2 able to freely, and legally, share certain types of information without seeking a license from the

 3 State Department. However, because of this Court’s temporary restraining order, such conduct is

 4 now illegal. If a preliminary injunction is granted, this court-imposed prior restraint of speech will

 5 continue for months, or perhaps even years into the future.

 6          “Strict scrutiny applies either when a law is content based on its face or when the purpose

 7 and justification for the law are content based.” Reed, 135 S. Ct. at 2228. Further, “[a]ny system

 8 of prior restraints of expression comes to this Court bearing a heavy presumption against its

 9 constitutional validity.” Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 70 (1963). That presumption

10 is even heavier where, as here, the speech is already available on the Internet, and has been

11 available for years. In the Pentagon Papers Case, Justice White remarked that when “publication

12 has already begun,” the “efficacy of equitable relief . . . to avert anticipated damages is doubtful

13 at best.” New York Times Co. v. U.S., 403 U.S. 713, 732 (1971) (White, J., concurring) (emphasis

14 added). Neither the ITAR prior restraint nor an injunction from this Court can satisfy strict

15 scrutiny’s demanding standard.

16          Each time that the Supreme Court has encountered arguments like the Plaintiffs’, it has

17 rejected them. In Ashcroft v. Free Speech Coalition, 535 U.S. 234 (2002), for example, the Court

18 made clear that the “prospect of crime . . . by itself does not justify laws suppressing protected

19 speech.” Id. at 245. Furthermore, Ashcroft established the proposition that restraints cannot be

20 justified where, as here, the supposed “harm does not necessarily follow from the speech, but

21 depends upon some unquantified potential for subsequent criminal acts.” Id. at 249. Indeed, “it

22 would be quite remarkable to hold that speech by a law-abiding possessor of information can be

23 suppressed in order to deter conduct by a non-law-abiding third party.” Bartnicki v. Vopper, 532

24 U.S. 514, 529–30 (2001).

25          Plaintiffs claim that First Amendment has “no bearing” on this “APA challenge, which is

26 focused on the Government’s failure to follow mandatory procedures.” But as the Court observed

     PRIVATE DEFENDANTS’ BRIEF IN                    14                      FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                         4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                 Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                         (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 16 of 25



 1 during oral arguments, “there are First Amendment issues at play here, which are very serious and

 2 will need to be looked at very closely as we move to the next phase on preliminary injunction.”

 3 Tr. at 43. The time to study the “very serious” “First Amendment issues” “very closely” is now.

 4 The First Amendment lies at the heart of this case.

 5          Second, Plaintiffs assert that the “Private Defendants’ First Amendment claim . . . has been

 6 rejected” by the U.S. District Court for the Western District of Texas, as well as the Fifth Circuit.

 7 Motion at 17. Not so. The arguments Defense Distributed advances in this Court are distinct from

 8 those advanced in prior litigation. Moreover, neither the Western District of Texas nor the Fifth

 9 Circuit had the opportunity to consider the case on the merits; the case was resolved in the Fifth

10 Circuit at a preliminary stage on different grounds that do not parallel this case—with significant

11 dissenting opinions that found a First Amendment violation.

12          Third, Plaintiffs assert that “[i]t is highly questionable whether files that instruct a 3D

13 printer to produce a gun” constitute speech protected by the First Amendment. Motion at 17. They

14 add that “[a]ll one has to do is ‘open the file and click ‘Print’ and the file ‘communicate[s] directly’

15 with the 3D printer to produce a weapon.’” Id. at 18 (citing CFTC v. Vartuli, 228 F.3d 94, 111 (2d

16 Cir. 2000)). But the files do not automatically print a gun. Creating a gun requires additional

17 craftsmanship, know-how, tools, and materials. See No. 15-cv-372 (Dkt. 36-2 at Ex. 1 ¶¶ 4-36).5

18          Plaintiffs’ argument was also rightly rejected by the Western District of Texas. Def.

19 Distributed v. U.S. Dep’t of State, 121 F. Supp. 3d 680, 691-696 (W.D. Tex. 2015). Instead of

20 applying Vartuli, the Court should apply Universal City Studios, Inc. v. Corley, 273 F.3d 429 (2nd

21 Cir. 2001). This follow-up decision from the Second Circuit teaches that the First Amendment

22 applies because the files at issue in this case are not “intended to be used ‘mechanically’ and

23 ‘without the intercession of the mind or the will of the recipient.” Id. (citations omitted). That is,

24

25     5
       This is the Declaration of Cody Wilson filed under seal in Case No. 15-cv-372 because the
26 information   may constitute ITAR technical data. Document is available for in camera
   inspection upon request.
     PRIVATE DEFENDANTS’ BRIEF IN                     15                      FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                          4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                  Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                          (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 17 of 25



 1 the First Amendment applies here because the files at issue are an “expressive means for the

 2 exchange of information and ideas.” Junger v. Daley, 209 F.3d 481, 485 (6th Cir. 2000) (“Because

 3 computer source code is an expressive means for the exchange of information and ideas about

 4 computer programming, we hold that it is protected by the First Amendment.”); see also Brown v.

 5 Entm’t Merchants Ass’n, 131 S. Ct. 2729, 2733 (2011).

 6          Judge Pitman correctly analyzed this point. He concluded that “the files are intended to be

 7 used by others as a baseline to be built upon, altered and otherwise utilized.” Def. Distributed, 121

 8 F. Supp. 3d at 692. Therefore, Judge Pitman found, “at least for the purpose of the preliminary

 9 injunction analysis, the Court will consider the files as subject to the protection of the First

10 Amendment.” Id. The Plaintiffs’ description of the relevant technology is incorrect, and their

11 application of the First Amendment has been rightly rejected by the Western District of Texas.

12          Fourth, Plaintiffs also cite precedents that rejected First Amendment challenges to the

13 AECA. See e.g.,United States v. Chi Mak, 683 F.3d 1126 (9th Cir. 2012). But none of these cases

14 concerned public speech. Plaintiffs also completely fail to address the Bernstein line of cases. See

15 Bernstein v. U.S. Dep’t of State, 922 F. Supp. 1426 (N.D. Cal. 1996); Bernstein v. U.S. Dep’t of

16 State, 945 F.Supp. 1279 (N.D. Cal. 1996); Bernstein v. U.S. Dep’t of State, 974 F.Supp. 1288 (N.D.

17 Cal. 1977); Bernstein v. United States Dep’t of State, 176 F.3d 1132 (9th Cir.); Bernstein v. DOC,

18 No. C-95-0582-MHP, 2004 U.S. Dist. LEXIS 6672 (N.D. Cal. April 19, 2004). In this line of

19 cases, the United States District Court for the Northern District of California held that application

20 of the AECA to public speech—that is computer code—was unconstitutional. From very early on,

21 the judiciary has rightly recognized that the AECA cannot control public speech.

22          At bottom, Defense Distributed’s rights to publish the subject files are expressly protected

23 by the First Amendment. In Sorrell v. IMS Health Inc., the Court recognized “that the creation

24 and dissemination of information are speech within the meaning of the First Amendment.” 564

25 U.S. 552, 570 (2011); see also Bartnicki v. Vopper, 532 U.S. 514, 527 (2001) (“[I]f the acts of

26 ‘disclosing’ and ‘publishing’ information do not constitute speech, it is hard to imagine what does

     PRIVATE DEFENDANTS’ BRIEF IN                    16                     FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                        4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                        (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 18 of 25



 1 fall within that category, as distinct from the category of expressive conduct” (some internal

 2 quotation marks omitted)). See Josh Blackman, The 1st Amendment, 2nd Amendment, and 3D

 3 Printed Guns, 81 Tenn. L. Rev. 479 (2014).6

 4          B.     The State Department Did Not Violate the APA.

 5          The Plaintiffs’ are repeatedly mistaken about how the statutes at issue work. Once the

 6 Court realizes how they truly operate, the Plaintiffs’ APA challenges become easy to reject. Four

 7 basic errors warrant attention.

 8                 1.      The Authorizations Do Not “Remove” Anything from the USML.

 9          The temporary modification and license issued under the settlement may eliminate the

10 State Department’s ability to control dissemination of the subject files once published on the

11 Internet. However, these documents do not “remove” any article or technical data from the USML.

12          At this Court’s July 31, 2018 hearing on Plaintiffs Motion for Temporary Restraining

13 Order, Plaintiffs told the Court that the “language” of the temporary modification states would

14 “remove items from the list.” Tr. 13:11-12 (emphasis added). They reiterate this at page 12 and in

15 note 20 of their instant motion. The Plaintiffs offer no authority to support this argument.

16          Critically, the temporary modification does not use the language “remove.” Instead, it uses

17 the language “exclude.” This distinction matters: the temporary modification and license do not,

18
       6
19       The requested injunction would also violate the Second Amendment because it fails any
     level of scrutiny. See District of Columbia v. Heller, 554 U.S. 570 (2008); Young v. Hawaii,
20   No. 12-17808, 2018 WL 3542985, at *4 (9th Cir. July 24, 2018) (the two-step test); Teixeira
     v. County of Alameda, 873 F.3d 670, 677 (9th Cir. 2017) . As the most basic means of acquiring
21   something is to make it, the Second Amendment necessarily secures the individual right to
     create the arms that might be kept or carried. The injunction Plaintiffs request, however is
22   both over-inclusive in that it prohibits even law-abiding American citizens from lawfully
     accessing and downloading designs and under-inclusive in that it only prohibits Defense
23   Distributed from posting its designs, leaving others free to post whatever designs they wish
     online. See Animal Legal Def. Fund v. Wasden, 878 F.3d 1184, 1204 (9th Cir. 2018) (statute
24   that was “both under-inclusive and over-inclusive” failed to satisfy strict scrutiny); Young,
     2018 WL 3542985, at *23 (noting that “the substantial overbreadth or impreciseness of a
25   government action must be considered” in intermediate scrutiny analysis). More importantly,
     Plaintiffs’ broad, abstract interest in enforcing their laws cannot afford them or the court
26   unlimited discretion to restrict longstanding Second Amendment rights. See Young, 2018 WL
     3542985, at *23.
     PRIVATE DEFENDANTS’ BRIEF IN                   17                     FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                       4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                               Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                       (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 19 of 25



 1 and in fact cannot “remove” or otherwise change the content of the USML. The State Department

 2 is authorized to issue authorizations that temporarily exclude items from the list in order to respond

 3 to specific situations, on a case-by-case basis, while it pursues a permanent removal. See 22 U.S.C.

 4 § 2778(g)(6); 22 C.F.R. § 126.2. In addition, the State Department also has discretion to approve

 5 the use of certain exemptions to the USML, such as the license issued to Defendants under Section

 6 125.4(b)(13). Exclusions and exemptions—well-understood terms to those steeped in export

 7 control law—are not formal removals.

 8          Plaintiffs’ advance no authority to the contrary. In fact, their motion identifies three other

 9 temporary modifications issued by the State Department. Motion at n.20. Each modification

10 temporarily “excludes” items from consideration under the ITAR. This Court should further take

11 notice that Plaintiffs do not allege, let alone provide any proof, that any Congressional notifications

12 were provided for the three temporary modifications cited in their motion. Why? Because

13 notifications are not required for temporary exclusions issued under ITAR Section 126.2.

14          Moreover, Plaintiffs assert that the temporary authorization removes article from the

15 USML. They are simply incorrect. Firearms remain listed at (1) USML Category I and the State

16 Department’s registration requirements at ITAR parts 122 and 129; (2) the ITAR restrictions on

17 “brokering” at Part 129 remain; and (3) the ITAR restrictions on “defense services” 7 at Part 124

18 concerning firearms and associated technical data remain. These restrictions will continue to

19 apply, despite the temporary modification, even where all the information used in a defense service

20 is posted on the Internet or otherwise in the public domain. 8

21

22     7
          See e.g., 22 C.F.R. § 120.9(a)(1) (“Defense service” includes “[t]he furnishing of assistance
     (including training) to foreign persons, whether in the United States or abroad in the design,
23   development, engineering, manufacture, production, assembly, testing, repair, maintenance,
     modification, operation, demilitarization, destruction, processing or use of defense articles”).
24      8
          See e.g., 22 C.F.R. § 124.1(a) (“The requirements of this section apply whether or not technical
25   data is to be disclosed or used in the performance of the defense services described in §120.9(a) of
     this subchapter (e.g., all the information relied upon by the U.S. person in performing the defense
26   service is in the public domain or is otherwise exempt from licensing requirements of this
     subchapter pursuant to §125.4 of this subchapter).”)
     PRIVATE DEFENDANTS’ BRIEF IN                     18                     FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                         4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                 Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                         (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 20 of 25



 1                 2.      The Congressional Notification Requirement Does Not Apply.

 2          The Plaintiffs claim that the State Department failed to give Congressional notifications.

 3 However, they fail to cite any section of the AECA or the ITAR that actually applies a notification

 4 requirement to the State Department authorizations at issue. No such authority exists. This error

 5 has been well documented by authorities within the export control community. 9

 6          The ACEA section that Plaintiffs cite, Section 2778(f)(1), only requires notification when

 7 an item is removed from the USML. See 22 U.S.C. § 2778(f)(1) (“The President may not remove

 8 any item from the Munitions List until 30 days after the date on which the President has provided

 9 notice of the proposed removal [to Congress]”) (emphasis added). As explained supra, the

10 Settlement Agreement does not require the “removal” of anything from the USML.

11          Further, nothing in ITAR sections 125.4(b)(13) or 126.2, which govern the authorizations,

12 implicates Congressional notification requirements. And to be clear, the Department’s issuance

13 of a temporary order suspending or modifying the ITAR under Section 126.2 may temporarily

14 “exclude” the subject files but, as discussed supra, Plaintiffs misrepresent the language of the

15 temporary modification. The authorization does not include the word “remove.”

16                 3.      The Department of Defense Was Not Required to Concur in the
                           Authorizations.
17
            Authorizations issued under ITAR sections ITAR sections 125.4(b)(13) and 126.2 do not
18
     require concurrence by the Department of Defense. Rather, like with Congressional notifications
19
     under the AECA, the Department of Defense is only required to concur to “designations” (i.e.,
20
     additions or removals) “of items or categories of items” on the USML. Executive Order 13637
21
     Section 1(n). Again, the State Department’s issuance of the subject authorizations did not result
22
     in the removal of any items from the USML.
23

24     9
       See e.g., “Federal Court Incorrectly Says DDTC Jumped the Gun on Gun Printing Plans,”
25 Clif Burns, Bryan Cave LLP, available at www.exportlawblog.com/archives/9218 (Dkt. 48 at
   Exhibit I) (“Nothing has been removed from the USML by the Settlement Agreement, and, thus,
26 no section 38(f) notice was required as a result of the Settlement Agreement.”).

     PRIVATE DEFENDANTS’ BRIEF IN                   19                     FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                       4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                               Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                       (202) 550-0040
             Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 21 of 25



 1                  4.     The Commodity Jurisdiction Requirements Do Not Apply.

 2          Plaintiffs suggest that the State Department was required to comply with ITAR’s

 3 commodity jurisdiction process before issuing the authorizations. See Motion at 12. They are

 4 incorrect. The ITAR requires that the Department initiate the commodity jurisdiction process in

 5 response to a request from a potential exporter. See Karn v. United States Department of State,

 6 925 F.Supp. 1, at 7 (D.D.C. 1996) (“Designating an export such that it is subject to the AECA and

 7 the ITAR requires first describing the type of item in the regulations, and second, if asked by a

 8 potential exporter, confirming that the item in question is or is not covered by such description.

 9 The commodity jurisdiction procedure provides the latter function. . .”)

10          Pursuant to ITAR Section 120.4, the government can respond to public requests for

11 case-by-case determinations of whether a particular product (i.e., XYC Company’s widget) is on

12 the USML. See 22 C.F.R. § 120.4. This procedure is a completely separate process from the State

13 Department authorization procedures. See e.g., 22 C.F.R. § 125 (“Licenses for the Export of

14 Technical Data and Classified Defense Articles”). The commodity jurisdiction process does not

15 apply in the absence of such a request. Specifically, it does not apply to temporary modifications

16 of the ITAR under 126.2 or other authorization decisions.

17          Plaintiffs also contend that the State Department’s actions are arbitrary and capricious

18 because the agency offered “no reason for the about-face” on restricting publication of the subject

19 files. Motion 16. Not so. As a matter of public record, the transition began during the Obama

20 administration over half a decade ago. And four decades ago, the Justice Department advised the

21 State Department that the prior restraint under ITAR violated the First Amendment. The record

22 in this case provides sound and well-reasoned bases to justify the agency action. At bottom, the

23 Plaintiffs simply disagree with the Executive Branch’s policy judgment. This sort of generalized

24 grievance is suited for the political branches, not the judicial branch.

25          Finally, Plaintiffs argue that the State Department’s authorizations are ultra vires because

26 they will abrogate federal laws (Motion 14-15). This position is a red herring. The authorizations

     PRIVATE DEFENDANTS’ BRIEF IN                    20                      FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                         4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                 Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                         (202) 550-0040
            Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 22 of 25



 1 do not affect separate federal prohibitions on the possession of firearms by felons, persons subject

 2 to restraining orders, or the mentally ill, see 18 U.S.C. §§ 922 (g)(1) (felons and certain state-law

 3 misdemeanants); 922(g)(8) (court-issued restraining orders); 922(g)(4) (persons adjudicated as

 4 mentally ill), or prohibitions on the manufacture, possession, sale, import, or transfer of

 5 undetectable firearms, see 18 U.S.C. § 922(p); An Act to Extend the Undetectable Firearms Act

 6 of 1988 for 10 Years, Pub. L. 113-57 (Dec. 2 2013); or other federal laws.

 7 III.    Irreparable Harm is Lacking.

 8         “An injunction will not issue if the person or entity seeking injunctive relief shows a mere

 9 possibility of some remote future injury, or a conjectural or hypothetical injury.” Park Vill. Apt.

10 Tenants Ass’n v. Mortimer Howard Trust, 636 F.3d 1150, 1160 (9th Cir. 2011). But in this case,

11 the Plaintiffs’ showing is too “remote” because of the extraordinarily attenuated chain of logic

12 needed to connect the requested relief to the supposed harm. The Plaintiffs’ showing is also too

13 “conjectural” and “hypothetical” because their key points pertain to unspecified individuals

14 committing unspecified violations of the law at unspecified times to unspecified extents.

15         In addition, the Plaintiffs’ alleged harm may occur regardless of what happens in this case:

16 all of the relevant files were already in the public domain before Defense Distributed published

17 them on July 27, 2018. Moreover, files like these continue to be freely exchanged by countless

18 persons. What happens in this case will not supply any true redress for the alleged concerns.

19         Finally, Plaintiffs fail to explain why 3D files present a risk of irreparable harm greater

20 than other types information on the Internet that explains how to make weapons. Way back in

21 1997, Justice Department advised Congress, “that anyone interested in manufacturing a bomb,

22 dangerous weapon, or a weapon of mass destruction can easily obtain detailed instructions from

23 readily accessible sources, such as legitimate reference books, the so-called underground press,

24 and the Internet.” Dkt. 48-1 at Exhibit D at 3. And, DOJ advised, censoring such information

25 would violate the First Amendment.

26

     PRIVATE DEFENDANTS’ BRIEF IN                    21                     FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                        4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                        (202) 550-0040
            Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 23 of 25



 1 IV.      The Balance of Equities and the Public Interest Favor the Defendants.

 2          “The loss of First Amendment freedoms, for even minimal periods of time, unquestionably

 3 constitutes irreparable injury.” Elrod, 427 U.S. at 373-74 (citations omitted). And Protecting

 4 Constitutional rights always advances the public interest. E.g., Melendres v. Arpaio, 695 F.3d 990,

 5 1002 (9th Cir. 2012). Preserving the status quo stops that Constitutional harm and advances that

 6 Constitutional public interest not just for the Defendants, but for all American citizens that share

 7 in the First Amendment’s protections.

 8          Further, the public interest demands that the State Department, not this Court, make certain

 9 judgments. See Virginian Ry. Co. v. Sys. Fed’n No. 40, 300 U.S. 515, 552 (1937) (statutory scheme

10 of Congress “is in itself a declaration of public interest which should be persuasive” to courts).

11 The determination of whether to issue a license for the export of munitions is for the elected

12 branches, and not the courts—and certainly not for the states—to decide. 10 Granting Plaintiffs the

13 relief they request will open the floodgates of litigation against the State Department with other

14 challenges, frustrating the accomplishment of objectives authorized by federal export control laws.

15 See Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 375 (2000); Nat’l Foreign Trade

16 Council, Inc. v. Giannoulias, 523 F. Supp. 2d 731, 738-742 (N.D. Ill. 2007).

17                                           CONCLUSION

18          The Court should deny the motion.

19

20

21

22

23     10
        Accordingly, the actual public expressed widespread opposition to the State Department’s
   prior restraint under the ITAR. In June 2015, the State Department proposed a rule to amend
24
   ITAR’s “public domain” definition to unambiguously impose a prior restraint on public speech.
25 See 80 Fed. Reg. 31,525, 31,528 (June 3, 2015). This proposal drew over 9,000 public comments.
   The vast majority of which, including industry leaders: IBM, GE, former State Department
26 employees, the Association of American Universities, the Association of Public and Land-grant
   Universities, and the Council on Government Relations. Exhibit F.
     PRIVATE DEFENDANTS’ BRIEF IN                    22                     FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                        4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                                Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                                        (202) 550-0040
            Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 24 of 25



 1 DATED this 15th day of August, 2018.

 2
           BECK REDDEN LLP                         FARHANG & MEDCOFF
 3

 4
           /s/Charles Flores                       /s/Matthew Goldstein
 5         Charles Flores                          Matthew Goldstein
           cflores@beckredden.com                  Farhang & Medcoff
 6         /s/Daniel Hammond                       4801 E. Broadway Blvd., Suite 311
           Daniel Hammond                          Tucson, AZ 85711
 7         dhammond@beckredden.com                 Phone: (202) 550-0040
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 8         1221 McKinney Street, Suite 4500        *Admitted Pro Hac Vice
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           Attorneys for Defendants
11         Defense Distributed
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                                                   Immix Law Group PC
13                                                 701 5th Ave Suite 4710
                                                   Seattle, WA 98104
14                                                 Phone: (206) 492-7531
15                                                 Fax: (503) 802-5351
                                                   joel.ard@immixlaw.com
16
                                                   Attorneys for Defendants
17                                                 Defense Distributed, Second Amendment
                                                   Foundation, Inc., and Conn Williamson
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     PRIVATE DEFENDANTS’ BRIEF IN             23                   FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                               4801 E. Broadway Blvd., Suite 311
     FOR A PRELIMINARY INJUNCTION                                       Tucson, AZ 85711
     No. 2:18-cv-01115-RSL                                               (202) 550-0040
            Case 2:18-cv-01115-RSL Document 63 Filed 08/15/18 Page 25 of 25



 1                                 CERTIFICATE OF SERVICE

 2        I certify that on August 15, 2018, I served the foregoing by filing it with the Court’s
     CM/ECF system, which automatically notifies all counsel of record.
 3

 4
         I CERTIFY UNDER PENALTY OF PERJURY under the laws of the United States of
 5 America that the foregoing is true and correct.

 6          DATED this August 15, 2018.
                                               FARHANG & MEDCOFF
 7
                                               By /s/Matthew Goldstein
 8                                                Matthew Goldstein
                                                  Farhang & Medcoff
 9                                                4801 E. Broadway Blvd., Suite 311
10                                                Tucson, AZ 85711
                                                  Phone: (202) 550-0040
11                                                mgoldstein@fmlaw.law
                                                  *Admitted Pro Hac Vice
12
                                                   Attorneys for Defendants
13                                                 Defense Distributed, Second Amendment
                                                   Foundation, Inc., and Conn Williamson
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     PRIVATE DEFENDANTS’ BRIEF IN                 24                   FARHANG & MEDCOFF
     OPPOSITION TO STATES’ MOTION                                   4801 E. Broadway Blvd., Suite 311
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     No. 2:18-cv-01115-RSL                                                   (202) 550-0040
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       Exhibit A
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 2 of 99




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  Vetoed Legislation

Nominations & Appointments

Disclosures
Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 3 of 99
    Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 4 of 99




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    Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 5 of 99


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       Exhibit B
Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 7 of 99




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       Exhibit C
                  Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 10 of 99




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                        From the included Readme:
                        This is the first DD Liberator release, tested functional on 5/3/2013 and again on
                        5/5/2013. Design tweaks included from EXP001 and EXP002 experimental results.
                        Changes from EXP002:
                        -Barrel locking lug filet added to reduce stress concentration
                        -.2" hole added to handle to allow assembly without screw. AR-15 grips will fit, but need
                        a .2" hole drilled .4x.4" from corner. Or download DD's modified AR-15 grip. This is
                        done so you don't need a metal screw to hold the grip on.
                        -SN removed.
                        -Hammer body firing pin hole reduced to 140mils to improve firing pin concentricity on
                        primer.
                        -Trigger stiffened.
                        How to legally assemble the DD Liberator:
                        -Print (ONLY) the frame sideways (the shortest dimension is the Z axis). USC18 922(p)(2)
                        (A)*: "For the purposes of this subsection (The Undetectable Firearms Act of 1988) - the
                        term 'firearm' does not include the frame or receiver of any such weapon;"
                        Thus, you can legally print ONLY the frame entirely in plastic, even without 3.7 ounces of
                        steel.
                        -Once the frame is finished, epoxy a 1.19x1.19x0.99" block of steel in the 1.2x1.2x1.0"
                        hole in front of the trigger guard. Add the bottom cover over the metal if you don't want
                        it to show.
                        -Once the epoxy has tried, the steel is no longer removable, and is an integral part of
                        the frame. Now your gun has ~6 ounces of steel and is thus considered a 'detectable'
                        firearm. So now you can print all the other parts.
                        -Print all the other parts.
                        The barrel must be built up in the z axis.
                        The springs must be printed flat on their side.
                        The hammer body should be printed such that the firing pin hole is in the z axis.
                        The hammer should be printed on its side.
                        The trigger must be printed on its side.
                        The spring connecting rod bushing should be printed up in the z axis, to reduce friction.
                        The spring connecting rod should be printed on its side.
                        All pins should be printed on their side to take advantage of intralayer strength.

                        We'll build the trigger first. Take the trigger spring and note that there's a very small
                        lip on one side of the ovular hole. This lip mounts flush to the trigger piece, and gives
                        the spring enough clearance to not drag on the bottom of the inside of the frame. The
                        spring's free ends should point away from the trigger, towards the back of the gun. Mate
                        these two pieces, and then insert into the frame.
                        Next, we'll build the hammer subassembly. Insert the hammer into the hammer body with the
                        striking cylinder facing the front of the frame. Insert the hammer pin to connect the
                        hammer to the hammer body. Now press both coil springs onto the hammer body. When the
                        hammer is cocked, the coil spring diameter should reduce (not expand). Once both coils
                        are pressed on, pull one of the coil eyelets behind the hammer, and then insert the spring
                        connecting rod into said eyelet. Rest the rod on the hammer. Slide the spring connecting
                        rod bushing over the spring connecting rod, then pull the other spring back and insert the
                        spring connecting rod into the eyelet. Pull the hammer back and make sure everything is
                        working well. Pull the hammer back and drop in the nail and then insert the firing pin
                        bushing concentric to the nail's head. This keeps the nail from falling out when the
                        hammer is cocked. Notice that one side of the firing pin bushing is chamfered... that
                        side faces the hammer.
                        Next, drop the hammer into the frame. Note that the hammer secures the trigger.           Insert
                        three frame pins to secure the hammer body.
                        Finally, slide the grip onto the frame and insert the grip pin.          Your Liberator is now
                        ready to go!
                        Before firing a barrel, we recommend heating acetone to boiling and treating the barrel
                        for ~30 seconds to decrease the inner diameter friction, which increases barrel life from
                        1 round to ~10 rounds. Note that we recommend printing multiple barrels and using each
                        only once. Swapping the barrels is simple and fast: rotate the barrel to release the
                        locking cam. Pull up on the barrel. If the barrel cam broke, turn the Liberator upside
                        down to remove the debris. Then drop your new barrel in and rotate it until it locks.

                        *http://www.gpo.gov/fdsys/pkg/STATUTE-102/pdf/STATUTE-102-Pg3816.pdf
Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 15 of 99


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    Comments

     DakotaSmith at 2013-05-07 16:47 CET: 

    The Defense Distributed "Liberator" .380 single shot pistol is a fully 3D-printable firearm.

    In abject violation of the Second Amendment, American lawmakers have for decades willfully, intentionally, and traitorously violated their 
    Oaths of Office. In particular, they have destroyed the Second Amendment to the Constitution of the United States, which reads:

    "A well regulated Militia, being necessary to the security of a free State, the right of the people to keep and bear Arms, shall not be 
    infringed."

    The Militia is not the National Guard. As is clear from any knowledge of history, the Militia is any able-bodied citizen.

    The intent of the Second Amendment is not to protect hunting nor self-defense. It is to empower the governed to overthrow the 
    government should it become tyrannical.

    There is no question as to this intent, and any argument to the contrary betrays only a shocking ignorance on the part of the person 
    making the argument.

    Over the course of the 20th Century, successive generations of would-be tyrants masquerading as Congressmen, Senators, Presidents, 
    and Judges have sought to pull the teeth of the Second Amendment. Today, in abject violation of it, the United States has over 20,000 
    victim disarmament laws.

    We can no longer defend ourselves: neither from tyrants in government, nor terrorists, nor street thugs.

    This is about to change.

    The Liberator is the first 3D-printable gun. You may freely download these plans and print your own. You will have available to you a gun 
    capable of firing a .380 caliber bullet.

    And no one -- not your next door neighbor, nor your mayor, nor your Congressman -- will know that you have it.

    This is the first in what will become an avalanche of undetectable, untraceable, easy-to-manufacture weapons that will turn the tables on 
    evil-doers the world over.

    Share and enjoy. 

     ihazvpn at 2013-05-10 03:38 CET: 

    Thanks. Seeding forever. 

     ymom2 at 2013-05-10 05:14 CET: 

    Nice try blocking this fed lamo
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     kblogic at 2013-05-10 16:21 CET: 

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     AlexLibman at 2013-05-10 22:33 CET: 

    Luddite govtards still think they can censor gun blueprints on the Internet...

    Huge kudos to everyone for sharing and seeding!

    YOU are the pillar of civilization that governments are powerless to destroy! 

     anotheruser1 at 2013-05-11 18:53 CET: 

    All government in america is pure evil, and until they are removed the threat of losing all freedom is very serious. Revolt now! 

     Typhoon2000 at 2013-07-24 15:34 CET: 

    Pro-gun people are seizing on this plastic junk as proof that guns can't ever be taken away from people by the government, which is pretty 
    stupid. Even if you have a whole bunch of actual proper guns, if the feds or the cops decide to take them away, they will do so. The only 
    thing that will slow them down at all is their desire to avoid killing or hurting you in the process: your firepower is not a problem for them, 
    and it really won't be a problem if all you have is a Liberator or similar. 

     ancap4ever at 2015-05-08 05:03 CET: 

    @Typhoon2000

    They are based off of the pistol that were airdropped into France during WW2. French resistance members would use one to take out a 
    German soldier and take the soldier's weapon.
    They could then give the pistol to another person, and kill another German soldier.



    It would be impossible for the government to disarm America, as there are just as many firearms as people. 



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                                              XMR: 
   46E5ekYrZd5UCcmNuYEX24FRjWVMgZ1ob79cRViyfvLFZjfyMhPDvbuCe54FqLQvVCgRKP4UUMMW5fy3ZhVQhD1JLLufBtu
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         1911 (Download)

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         Beretta 92FS (Download)

         Liberator (Download)- The Liberator is a physible, 3D-printable single
         shot handgun, the first such printable firearm design made widely
         available online, designed by Defense Distributed.

                                             ABOUT THIS PROJECT

 CodeIsFreeSpeech.com is a publicly-available Web site for truthful, non-
 misleading, non-commercial speech and information that is protected under the
 United States Constitution. The purpose of this project is to allow people to
 share knowledge and empower them to exercise their fundamental, individual
 rights. CodeIsFreeSpeech.com is a project of Firearms Policy Coalition,
 Firearms Policy Foundation, The Calguns Foundation, California Association of
 Federal Firearms Licensees, and a number of individuals who are passionate
 about the Constitution and individual liberties. We wish to thank Cody Wilson
 and Defense Distributed for their courage, passion, innovation, and
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 United States Constitution, Amendment I

 Congress shall make no law respecting an establishment of religion, or
 prohibiting the free exercise thereof; or abridging the freedom of speech, or
 of the press; or the right of the people peaceably to assemble, and to petition
 the government for a redress of grievances.

 United States Constitution, Amendment II

 A well regulated militia, being necessary to the security of a free state, the
 right of the people to keep and bear arms, shall not be infringed.

 United States Constitution, Amendment IV

 The right of the people to be secure in their persons, houses, papers, and
 effects, against unreasonable searches and seizures, shall not be violated, and
 no warrants shall issue, but upon probable cause, supported by oath or
 affirmation, and particularly describing the place to be searched, and the
 persons or things to be seized.

 United States Constitution, Amendment V

 No person shall be held to answer for a capital, or otherwise infamous crime,
 unless on a presentment or indictment of a grand jury, except in cases arising
 in the land or naval forces, or in the militia, when in actual service in time
 of war or public danger; nor shall any person be subject for the same offense
 to be twice put in jeopardy of life or limb; nor shall be compelled in any
 criminal case to be a witness against himself, nor be deprived of life,
 liberty, or property, without due process of law; nor shall private property be
 taken for public use, without just compensation.

 United States Constitution, Amendment XIV

 Section 1.

 All persons born or naturalized in the United States, and subject to the
 jurisdiction thereof, are citizens of the United States and of the state
 wherein they reside. No state shall make or enforce any law which shall abridge
 the privileges or immunities of citizens of the United States; nor shall any
 state deprive any person of life, liberty, or property, without due process of
 law; nor deny to any person within its jurisdiction the equal protection of the
 laws.

http://www.codeisfreespeech.com/                                                                Page 2 of 3
CodeIsFreeSpeech.com   Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 19 of 99   8/2/18, 12'13 PM



 Section 5.

 The Congress shall have power to enforce, by appropriate legislation, the
 provisions of this article.




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http://www.codeisfreespeech.com/                                                               Page 3 of 3
                Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 20 of 99


   •
         ◦ Print
         ◦ Workbench
         ◦
         ◦ Community



   • Log in

   •
         ◦   Library
         ◦   Challenges
         ◦   Groups New
         ◦   Questions
         ◦   Tutorials
         ◦   Engineers
   •
         ◦
               ◾ Blog
         ◦
               ◾
                    ◾ Log in

Join 5,040,000 engineers with over 3,020,000 free CAD files Join the Community
Join 5,040,000 engineers with over 3,020,000 free CAD files Join the Community
                 Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 21 of 99




AR-15 M16 A1


boaz
January 13th, 2013

M16 Israeli I.D.F Version



I have tried to be as accurate as possible, but the details of some parts may not be 100% accurate.



The model includes all of the parts used to make the standard weapon




                                                                         Load in 3D viewer

                                                                         Load in 3D viewer

                                                                         Load in 3D viewer

                                                                         Load in 3D viewer

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                                                                         Load in 3D viewer

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                                                                         Load in 3D viewer
                  Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 22 of 99




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 Download files   Like   Share
8598 Downloads236 Likes25 Comments

Details

Uploaded:January 13th, 2013
Software:Other, Rendering, SOLIDWORKS
Categories:Industrial design, Military, Tools
Tags:rifle, m16, ar15, ar, 16, assault, 15, gun, guns, arms, weapons, army, technology

236 Likes

View all
                  Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 23 of 99




More by boaz

View all




View Files

Files (21)

AR-15 M16 A1 /
M
Folder
January 20th, 2013



RT.JPG
jpg
April 6th, 2016



2.Final Color Output.png
png
April 3rd, 2013



DS.JPG
jpg
March 31st, 2013



Save Bodies2[2].sldprt
sldprt
January 20th, 2013
                 Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 24 of 99



Fillet55.sldprt
sldprt
January 20th, 2013



M-16 Bolt 5.56.SLDPRT
sldprt
January 20th, 2013



Save Bodies3[2].sldprt
sldprt
January 20th, 2013



PKK.sldprt
sldprt
January 20th, 2013



TDI ARMS.sldprt
sldprt
January 13th, 2013



BORG.sldprt
sldprt
January 13th, 2013



DS (2).JPG
jpg
January 13th, 2013



IDIT.sldprt
sldprt
January 13th, 2013



EW.JPG
jpg
January 13th, 2013
View comments (25)

Comments (25)

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Ponchai Ispersert

ผมชอบมากค� �บ เ�� นความ�� �ใหม�ของผม

28 Nov 2017 9:01 AM



Poh Swee Lay

Can anyone got the assembly to share for AR-15 M16 A1.

Thank you.

20 Sep 2017 2:18 AM



Larry

Where are all the parts?

18 Jul 2017 11:09 AM
                 Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 25 of 99



roy yehu

where is the final part of the assembly?

9 Dec 2016 12:05 PM



yehya mahmoud

very beautiful - nice work

17 Sep 2016 9:38 AM



dart fight

Hello do you have a 3D modeling of the convertion kit 22lr ?
thank you

8 Feb 2016 8:28 AM
Load more

    •   Community
    •   Library
    •   Challenges
    •   Groups
    •   Questions
    •   Tutorials
    •   Engineers

    •   Workbench
    •   Overview
    •   Features
    •   Compare

    • Print
    • Overview
    • Features

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Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 26 of 99




                                                              Downloads




              Here are the files you can download for free. Currently there are three different types of files. First format is
              the SolidWorks E-drawings. This file format will allow anybody to open the files no matter what software you
              have installed. E-drawings is the most user friendly format since you don't have to have any special 3-D
              modeling (CAD) software to look at the files. The second format is the solid model file in *.igs format. You
              must have some sort of 3-D modeling (CAD) software to open this file format. If you are planning on doing the
              machining I have, you will need the *.igs file. But if you just want to open the file to look at it, you can
              download the E-drawing. And the last type of files you can download are the blueprints. I don't make
              blueprints of the solid models I make. So if you need a dimension while working on your project, you will have
              to reference the model. Later on, I hope to make available other files dealing with my projects...including
              sketches, setup sheets, programs, etc. Tim at dumpsterCNC made the 1911 solidmodel *.iges file. Andy at
              Helix60@neo.rr.com made the VZ58 *.iges file.

              My files are free to download, and if you share these files they must remain free!

              Download instructions
              SolidWorks E-drawings: Select the file you wish to download, click Save. To open the file, simply double click
              the *.exe file.

              Solid Model *.igs File: Select the file you wish to download, click Save. Use your 3-D modeling (CAD)
              software to open to file after you unzip it.

              Blueprints: Select the file you wish to download, click Save. Use Adobe to open the file after you unzip it.




                                                       SolidWorks E-drawings
                                                        Select one...              


                                                        Solid Model *.igs Files
                                                   Select one...                           


                                                               Blueprints
                                                     Select one...                     

              The files below are complete solid models of the AR15/M16 and the 1911 firearms. I made the A2 style AR15
              model, and Tom tom_eriksson@hotmail.com made the A1 style AR15 as well as the 1911 model. You can
              download other files Tom has made here. The files below are for visual reference only.

                                                   Complete Firearm E-drawings
                                                    Select one...                      

              I have spent many hours creating these solidmodel files. If you find these files useful and you want to
              show your support for my website, you can make a donation. All donations will be directed towards
              keeping this website going and also towards new projects. After every project I complete, I'll upload
              the files here. So if you want to show your support for this website and to keep these file FREE, you
              can send a donation through the PayPal link below.
Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 27 of 99
Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 28 of 99




        Exhibit E
                                   Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 29 of 99
3D-printed-gun design shared by activists despite judge order - Washington Times                                                                                                                                       8/7/18, 11'41 AM




 Judge's order backfires as activists rush to share 3D gun
 designs




  Cody Wilson, with Defense Distributed, holds a 3D-printed gun called the Liberator at his shop, Wednesday, Aug. 1, 2018, in Austin, Texas. A federal judge in Seattle issued a temporary restraining order Tuesday to stop the
  release of blueprints to ... more >



  By Stephen Dinan and Gabriella Muñoz - The Washington Times - Wednesday, August 1, 2018


  A judge’s attempt to halt the spread of blueprints for 3D-printed guns backﬁred Wednesday as the plans spread across the internet, posted and
  shared by people who said they were determined to strike a blow for free speech, to protect gun rights, or just to thumb their nose at the
  government.

  Activists took to Twitter and Facebook to share links where the plans could be found on ﬁle-sharing services or sites on the dark web.

  One website, CodeIsFreeSpeech.com, posted eight sets of ﬁles and reported more than 100,000 hits and nearly 1.5 terabytes of data
  downloaded by 6 a.m. Wednesday.


  “Just in the past 48 hours, I would be shocked if hundreds of thousands of people don’t possess these ﬁles,” said Brandon Combs, president of
  the Firearms Policy Coalition, which posted the data to CodeIsFreeSpeech.

  In a ﬂurry of legal activity late Tuesday, a judge ordered the federal government to reverse itself and reimpose Obama-era export restrictions
  that limited the availability of the ﬁles. That order was aimed at stopping Defense Distributed, a Texas-based organization, from posting
  blueprints to its website, DEFCAD.com.

  Cody Wilson, the site’s founder, complied, but much of the rest of the internet stepped in to ﬁll the void. “Do your human duty and share,” said
  one Twitter user who linked to the ﬁles on a ﬁle-sharing site.

  “You can’t stop the ﬂow of information,” tweeted another user, duudl3, who created a mirror site to host the ﬁles Mr. Wilson disabled.

  Mr. Combs and duudl3 each said his bandwidth use shot oﬀ the charts with the number of downloads.




https://www.washingtontimes.com/news/2018/aug/1/3d-printed-gun-design-shared-activists-despite-jud/                                                                                                                            Page 1 of 3
                         Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 30 of 99
3D-printed-gun design shared by activists despite judge order - Washington Times                                                                 8/7/18, 11'41 AM


  “I’ve seen this stuﬀ all over, and I suspect by the end of the next couple of days there’s just going to be a saturation. They’re not going to be able
  to do anything about it,” Mr. Combs told The Washington Times.

  The technology of 3D printing and plans would allow people with access to the right machinery and materials to manufacture a working,
  untraceable ﬁrearm in secret. The concept has existed for decades but has just recently begun to reach the mainstream, plowing new ground in
  the debate over gun rights and government regulations.

  Some security specialists worry that the guns could circumvent metal detectors and become a tool for terrorists. Gun control activists say people
  banned from buying guns, such as felons and domestic abusers, also would be able to cheat the law by printing weapons at home.


  Defense Distributed and like-minded groups counter that they are releasing information protected by free speech, not engaging in ﬁrearms
  transactions.

  They also say the plans have been available for years online and there is little the government can — or should — do. Further, the possession of
  undetectable guns has been illegal for decades and most blueprints for 3D guns, including those of Defense Distributed, use at least some metal
  parts to comply with that law.

  Mr. Wilson’s attorneys ﬁled court papers showing a number of other locations where blueprints for at least one home-manufactured ﬁrearm
  were available in 2007, a decade before Defense Distributed’s planned broad release this week.

  Gun control groups, which a day earlier cheered the judge’s ruling as a major step for gun safety, didn’t respond to a request for comment
  Wednesday about the fast spread of the blueprints.

  Washington Attorney General Bob Ferguson, who led the lawsuit, said those still sharing the blueprints online are breaking federal export laws.


  “Anyone who posts downloadable guns to the internet is violating federal law. It is the federal government’s job to enforce those laws, and I urge
  it to enforce them aggressively as to these prohibited items,” he said.

  Mr. Wilson’s site had planned access for blueprints for about 10 ﬁrearms. The plans govern the printing of the component parts, which would
  then need to be assembled.

  Mr. Combs posted plans for eight ﬁrearms assemblies to his website. He said it was too early to say which one was proving most popular and
  that many users appeared to be downloading all of the ﬁles.

  He said people are sending him new designs.

  “Cody was the pioneer, and all credit goes to him and Defense Distributed,” Mr. Combs said. “I just wanted to give the government another
  target, if that’s what they want to do.”

  Government oﬃcials seem conﬂicted on what to do.


  Since 2013, the State Department claimed the blueprints violated export rules, making weapons of war available to foreign actors. Mr. Wilson
  sued, and after a yearslong battle the Justice and State departments reversed and reached a settlement to allow Defense Distributed to move
  ahead with plans to post the blueprints.

  The White House suggested Wednesday that Mr. Trump was blindsided by that decision.

  “The Department of Justice made a deal without the president’s approval on those regards,” White House press secretary Sarah Huckabee
  Sanders said. “The president’s glad this eﬀort was delayed to give more time to review the issue, and this administration supports the decades-
  old legislation already on the books that prohibits the ownership of a wholly plastic gun.”

  Still, it’s not clear what the government can do at this point.

  State Department oﬃcials said their only role was to prohibit export of the blueprints outside the U.S. “The department has no role in domestic
  gun control policies and the broader question of this technology’s potential,” a spokesperson said.


  Backers of 3D printing say any American has had the right to download the ﬁles, and they pointed to Wednesday’s proliferation of sites as
  evidence that the genie is out of the bottle.



https://www.washingtontimes.com/news/2018/aug/1/3d-printed-gun-design-shared-activists-despite-jud/                                                   Page 2 of 3
                        Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 31 of 99
3D-printed-gun design shared by activists despite judge order - Washington Times                                                                8/7/18, 11'41 AM


  Nonetheless, lawmakers on Capitol Hill — mostly Democrats, but some Republicans — are demanding that Mr. Trump do something.

  Sen. Edward J. Markey, Massachusetts Democrat, said he would try to block the conﬁrmation of a key State Department oﬃcial until the
  government returns to the Obama-era export policy.

  The nominee, R. Clarke Cooper, has been tapped to be assistant secretary for political-military aﬀairs, which would oversee the export rules in
  question.


  “Until the president agrees to reverse this policy and prohibit the online publication of these dangerous blueprints, a decision that is entirely
  within his authority, I intend to place a hold on your nomination,” Mr. Markey told Mr. Cooper.

  A former chief of U.S. Capitol Police said the ability to manufacture these weapons would help bad actors circumvent security at places like the
  home of Congress.

  “I know that a failure to permanently stop downloadable guns will increase the challenges of protecting the security of members of Congress,
  their staﬀ and visitors to the Capitol,” he said in an op-ed for USA Today.




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https://www.washingtontimes.com/news/2018/aug/1/3d-printed-gun-design-shared-activists-despite-jud/                                                   Page 3 of 3
Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 32 of 99




        Exhibit F
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 33 of 99




                                                                          Export Regulation Office
                                                                          600 14th ST NW Suite 300
                                                                          Washington, DC 20005




VIA E-MAIL (publiccomments@bis.doc.gov AND DDTCPublicComments@state.gov)

Ms. Hillary Hess                             Mr. C. Edward Peartree
Director, Regulatory Policy Division         Director, Office of Defense Trade Controls Policy
Bureau of Industry and Security              Directorate of Defense Trade Controls
U.S. Department of Commerce                  U.S. Department of State
Room 2099B                                   PM/DDTC, SA-1, 12th Floor
Washington, DC 20230                         Washington, DC 20522



August 3, 2015

REF: RIN 0694–AG32 (BIS) AND RIN 1400-AD70 (DDTC)

RE:     Comments on Proposed Revisions to Certain EAR and ITAR Definitions


Dear Ms. Hess and Mr. Peartree:

On behalf of International Business Machines Corporation (“IBM”), we are submitting these
comments in response to the June 3, 2015 notices published by the Departments of Commerce
and State concerning proposed revisions to definitions in the Export Administration Regulations
(“EAR”) and International Traffic in Arms Regulations (“ITAR”) as stated in the above
reference (“Proposed Rules”). These comments are timely submitted by the due date noted in the
Proposed Rules.
IBM provides information technology products and services to customers in over 175 countries,
and employs more than 379,000 persons across 75 countries worldwide. 2014 revenues were
$92 billion, of which over 60 percent was generated outside the United States. As IBM’s
operations are both vast and diverse, a robust internal control program is required to ensure
compliance with export regulations. Changes to the definitions within the regulations will affect
the execution of the program as various areas would be impacted by the Proposed Rules,
including, but not limited to the following:
        IBM’s engagements involving items subject to the ITAR;
        IBM’s use of cloud services for both internal and external purposes;
    Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 34 of 99




       Employment of foreign persons; and
       IBM’s research and development functions responsible for determining the export
       classification of source code and technology.
IBM thanks both Departments for the opportunity to provide comments on the potential impact
of the Proposed Rules. IBM supports the efforts undertaken by the Departments to improve and,
wherever possible, harmonize the definitions used within the regulations as part of the Obama
Administration’s ongoing Export Control Reform (“ECR”) initiative. It is IBM’s position that
many of the proposed definitions that are set forth in the Proposed Rules are an improvement on
the current EAR and ITAR regulations. In particular, IBM greatly appreciates the proposed
amendments to the ITAR definitions of “defense article,” which would now include software and
“defense services,” thereby clarifying that servicing an item subject to the EAR which has been
installed into a defense item would not be considered an ITAR-controlled activity.
IBM would like to offer the following recommendations for further improvements to the
Proposed Rules.


RECOMMENDATIONS


1. Activities That Are Not “Exports,” “Reexports,” or “Transfers” (EAR § 734.18) (ITAR
   § 120.52)
The Proposed Rules create an exclusion from the definitions of “export,” “reexport,” and
“transfer” for unclassified technology or software secured with end-to-end encryption using
specific cryptographic modules following NIST standards and not stored in specific countries.
The EAR Proposed Rule includes a provision which allows flexibility in the cryptographic
methods used to meet the exclusion by including the statement “other similarly cryptographic
means,” whereas the ITAR Proposed Rule is rigid in its implementation.
IBM is appreciative of the exclusion and believes it will benefit industry by simplifying
compliance with respect to cloud storage solutions and email transmissions; however, the use of
cloud is much more pervasive and includes cloud-based software-as-a-service (SaaS) solutions
and platform-as-a-service (PaaS) solutions, among others. As a result, additional exclusions are
necessary to allow more freedom of action in this rapidly growing space. There is also a concern
with the ITAR’s proposed language, as it does not allow for industry to determine the best
methods for protecting data. In addition, the referenced NIST guidance and certification
requirements were not easily found.
RECOMMENDATION: IBM recommends that the proposed exclusion language in the EAR
be adopted for both regulations. In addition, information on the referenced NIST guidance and
certification requirements needs to be readily accessible on the Departments’ web sites so users
are more easily able to find the information. Lastly, IBM recommends that additional exclusions
or exceptions be adopted in both regulations that would benefit cloud service providers and users
    Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 35 of 99




beyond the end-to-end encryption solutions for storage and email transmissions. Specifically, it
would be helpful if two additional provisions were included:
   a. Exclusion for the intracompany use of cloud solutions by foreign nationals directly
      employed by entities which have implemented a robust compliance program; and
   b. Exclusion in the end-to-end encryption requirement for the decryption of data by the
      cloud user to perform operations within the cloud environment.
2. Activities That Are Not “Exports,” “Reexports,” or “Transfers” (ITAR § 120.52)
The ITAR Proposed Rule includes a provision which allows authorized foreign persons to hand
carry technology and software subject to the ITAR; however, each use of this provision by the
authorized foreign person must be documented.
In order for a foreign person to be authorized to obtain the technology and software in the first
place, the exporter would have had to complete the export licensing process and been granted an
approval. The approvals contain various provisos for use of the authorization, with which the
exporter would be responsible for ensuring compliance. Adding a proviso independent from the
licensing process may cause confusion for the exporter as both the license and the regulations
would have to be consulted.
RECOMMENDATION: IBM recommends that any documentation requirements should be
included within the licensing provisos.


3. Activities That Are Not “Deemed Reexports”

   A. Requirement to Be “Certain” (EAR § 734.20(a)(2))
In the BIS Proposed Rule, a “deemed reexport” does not occur if the “technology” or “source
code” is released to a foreign national, provided the entity has received it under an export
authorization (i.e., license, license exception, or NLR) and, per subparagraph (a)(2), the entity
must be “certain” about the foreign national’s most recent citizenship.
The term “certain” indicates that the exporter must have the information verified to a level
without any doubt. IBM is concerned with the amount of documentation required to achieve this
standard, as well as the level of investigation needed to remove any uncertainty. Under normal
hiring practices, identity and employment verification relies on standard documentation
requirements (i.e., passport, permanent resident cards, and visas). This is the standard which
export regulations should follow so no additional administrative burden is placed on the exporter.
RECOMMENDATION: IBM recommends the removal of the “certain” standard from the
proposed language and instead to the use of a knowledge standard that is based on
documentation obtained during normal hiring practices.
    Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 36 of 99




    B. Requirement to Screen for “Substantive” Contacts (EAR § 734.20(c))
Under the proposed section, subparagraph (c) allows for an exclusion to nationals outside of
Country Group A:5 as long as various conditions have been met. Under (c)(5)(ii)(B) – (D), the
requirements include the need to screen the employee for “substantive” contacts with countries
listed in Country Group D:5, with records maintenance at a minimum of 5 years or the duration
of the employment.
This requirement is problematic in that “substantive” is an undefined term and is therefore, open
to interpretation by both the exporter and the regulator. Secondly, normal business practices do
not invoke a continuous screening of an individual once they have become an employee. As a
result, this requirement would add administrative burden as well as a cost for conducting the
additional screening throughout the span of the employee’s tenure at the company. Thirdly, there
is no carve out for contact with D:5 countries on behalf of the employer who may lawfully
conduct business operations within the specified countries.
RECOMMENDATION: IBM recommends removal of the ongoing screening requirements
from the exclusion. If this is not possible, IBM instead recommends the introduction of an
exclusion for contact with D:5 countries as part of the individual’s defined work scope.


4. “Peculiarly Responsible” (EAR § 772.1) (ITAR § 120.46)
The proposed definition of “peculiarly responsible” is a welcome addition to the regulations;
however, it now modifies the terms which are currently included under the existing “required”
definition, resulting in the introduction of the “catch and release” construct similar to that which
was implemented for the term “specially designed.” “Peculiarly responsible,” though not
defined, is a well understood concept by industry and easily explained to technical engineers and
developers. The “catch and release” mechanism introduces additional complexity in that those
technical personnel will now require a much broader understanding of the regulations to
determine what may be controlled only for specific reasons, what may be classified as EAR99 or
classified under a commodity jurisdiction, what the intent for which the item was developed, and
if the item is identical to information used with items already in production. This additional
complexity will complicate the classification exercise, require the inclusion of additional persons
to perform this exercise, and increase the risk of classification errors by well-intentioned
technical personnel who are not expert in the export regulations.
RECOMMENDATION: IBM recommends removal of the “catch and release” construct in the
definition and limit the definition to “the technology or source code responsible for allowing an
enumerated item to exceed the controlled performance levels, characteristics or functions.”


5. “Release” (EAR §734.15; ITAR §120.50)
The proposed definition of “release” in the Proposed Rules under subparagraph (a)(1) includes
“visual or other inspection” by a foreign person which reveals a controlled defense item or
    Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 37 of 99




“technology” or “source code” subject to the EAR. The newly defined term fails to indicate
what level of access is subject to the control, which has been a historical area of confusion for
industry. Specifically, does the “release” include both theoretical access and actual access, or is
it limited to when an identifiable release has occurred? As an example, if a foreign person is
given general access to a server which contains a database of controlled technical data,
theoretical access has occurred; however, it is not until that individual visually inspects the
contents of the database that controlled technical data has been provided.
RECOMMENDATION: IBM recommends both definitions be revised to indicate that “release”
only occurs when EAR or ITAR controlled “technology” or “source code” has been visually
inspected.


6. “Transfer” (In-Country) (EAR § 734.16) and “Retransfer” (ITAR § 120.51)
The proposed EAR definition of “transfer” and the proposed ITAR definition of “retransfer”
include a change in end use as part of the defined term. This is an expansion on the current reach
of the regulations. To determine a change in end use would require an exporter to continuously
monitor how the exported item is being used by the third party. In a traditional sales
environment, an exporter would not have visibility to how an exported item is being used unless
the exporter and recipient were in a joint agreement which extends the relationship past the point
of sale. This is not a typical sales model, and this level of knowledge would not be attainable
during the normal course of business. Once a traditional sale is complete, the information on
how the product is being used is not available.
RECOMMENDATION: IBM recommends the definitions be revised to remove a change in
end use. Alternatively, the definition should be modified to indicate the obligation for the
“transfer” or “retransfer” is on the ultimate consignee, not the original exporter.


7. “Defense Services” (ITAR § 120.9)
Under the proposed definition of “defense service,” the Note to paragraph (a) lists various
activities which are not included as a “defense service.” The exclusions, specifically under
number 3, include the servicing of items subject to the EAR, except as described in paragraph
(a)(5) of this section. However, under (a)(5), the furnishing of assistance on a defense article or
an item specially designed for a defense article to the government of a §126.1 listed country is a
controlled defense service. As (a)(5) clearly defines that the items must be a defense article or an
item specially designed for a defense item, the items would not be “subject to the EAR.” This
automatically disqualifies the activity described in exclusion number 3 to the Note to paragraph
(a). As a result, the reference to the exclusion in (a)(5) is not required.
RECOMMENDATION: IBM recommends the removal of the reference to the (a)(5) exclusion
in number 3 to the Note to paragraph (a).
    Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 38 of 99




8. “Public Domain” (ITAR § 120.11)
Under the ITAR Proposed Rule, eligibility for the release into the “public domain” of “technical
data” or software hinges on a requirement to obtain a pre-approval through one of several listed
U.S. government sources. In addition, in Note 1, a user is ineligible to further export, reexport
or transfer information in the “public domain,” if that user has “knowledge” that the information
was placed in the “public domain” without obtaining the required authorizations.
The ability to place “technical data” or software in the “public domain” is protected under the
First Amendment of the Constitution (i.e., freedom of speech). Placing pre-publication
requirements would be a violation of an individual’s fundamental rights.
Further, depending upon the interpretation of Note 1, this Note potentially places an unnecessary
burden and a risk of violation on persons which would like to further export, reexport or transfer
information from a published source. The Department arguably could take the view that due
diligence in this context includes verification of an existing authorization. Such an interpretation
would place a burden on the user for information which has been placed in a medium where the
data is considered to be freely available without restriction. In addition, without performing due
diligence, any future dissemination of the data puts the user at risk of violating the regulations.
RECOMMENDATION: IBM recommends that the pre-publication requirement on information
being released into the “public domain” as well as Note 1 be removed from the final rule. If
Note 1 is maintained, IBM recommends that the Department specify that there is no affirmative
duty on the part of users to inquire about the authorization status of information found in the
“public domain.”
                                            *    *    *
In addition to the specific recommendations previously described, IBM believes that definitions
should be consistently listed in the definitions sections of each regulation (i.e. EAR § 772 and
ITAR § 120). Interspersing some definitions within the regulatory text and others within the
definition sections causes confusion for industry and increases the risk of error. Placement
consistency will help to alleviate that issue.
IBM feels these are the most critical changes necessary to ensure the Proposed Rules are able to
be easily implemented and understood. We thank you for the opportunity to comment.




Lillian M. Norwood
Manager, Export Regulation Office
Government & Regulatory Affairs
IBM Corporation
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 39 of 99




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August 3, 2015

C.Edward Peartree
Director, Office of DefenseTrade Policy
Directorate of DefenseTrade Controls
U.S. Department of State
Washington, D.C.

Hillary Hess
Director. RegulatoryPolicy Division
Office of ExporterServices
Bureau of Industry & Security
U.S.Deportment of Commerce
Washington, D.C.

Regulation IDs: RIN 1400-AD?Oand RIN 0694-AG32

Subject          Commentson ProposedRevisionsto Definitionsin the International Traffic in
                 Arms Regulationsand the ExportAdministrationRegulations

Dear Mr. Peartree and Ms. Hess:

GeneralElectric Company {GE)submits the following comments in responseto the Department of
State, Directorate of DefenseTrade Controls' (DDTC's)and the Deportment of Commerce,Bureau of
Industry & Security's(BIS's}June 3, 2015 ProposedRuleson Revisionsto Definitions in the
International Traffic in Arms RegulationsOTAR)and the ExportAdministration Regulations(EARi.(80
Fed.Reg.31,525 and BOFed.Reg.31. 505}(ProposedRules}.GEwelcomes the opportunity to
comment on the ProposedRules.

COMMENTSPERTAININGTO THE PROPOSEDDEFINITIONSOF "EXPORT"

Commentsrelated to the reviseddefinitionof the term "Export"in /TAR§120.17 and EAR§734.13
and Activitiesthat are Not Exports,Reexports,Releases,Retransfers,or Transfersin /TAR§120.52
and EAR§734.18

GEsupports the proposed exclusionsfrom the definitions of export for data that is secured by
encryption as described in the ProposedRules. This mechanism will provide some additional
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 40 of 99



GECommentson DefinitionsRule                                                                                2


flexibility for exporterswho operate in multinational ITenvironments without compromising the
security of the controlled data. In addition, the ability to store data outside of the U.S.will result in the
ability to use lower-cost cloud options than U.S.-onlycloud storage solutions. The ability to host the
data closer to the customer will also improve access times globally. Thesebenefits ore substantial
and the proposals representa significant step for the U.S.Governmentto recognizethat national
bordersare not the most important considerationfor data security.

However,GEdoes hove severalconcernsabout the proposalsas currently drafted. First,the
requirement to use end-to-end encryption will be costly, difficult to implement and will reduce
application functionality in systemsthat have reporting or analytic sub systems. In practice, the end-
to-end encryption requirement will limit the utility of the proposal for storage of data and possibly
bilateral exchange of data and will not allow the proposal to be used for other data uses. Today GE
usesend-to-end encryption only in specific use cases becauseof the complexity involved in having
the employeeencrypt the data with a private key. We typically utilize environments that hove strong
external data security protections but do not normally require the use of end-to-end encryption.
Thereare many other ways to protect data without the use of end-to-end encryption. If the final
rules broadened this requirement to require the use of secureencryption to protect the data at 011
times without a specific requirementfor end-to-end encryption, it would hove far more utility.

Second,GEis concerned that the proposeddefinition of "end-to-end encryption" requires the means
to occessthe data/keys not be given to any party other than the intended recipient. In this respect,
the definition goes well beyondwhat is required to ensure that the data is not releasedto a non-U.S.
person. It would be far preferable to limit the requirement not to share the data/keys with non-U.S.
persons;sharing with a U.S.person ITprofessionalinside the U.S.should not void the ability to use
the provision.

Third,GEutilizesSSLInspectionToolsthat decrypt data in transit. scan it for malicious code, and then
re-encrypt the data with a dummy token that allows it to be passedon to the intended recipient.
Without this decryption process,the malicious code inspection could not occur, potentially creating
data security risks. While we have the ability to prevent data from going through one of the SSL
inspectiontools, our ability to prevent the dato from going through another party's inspection tools is
uncertain.

Fourth,with regard to the encryption standard that is authorized,GEprefers the proposed
formulation in the EARversus the ITARin that it allows. in addition to cryptographic modules
compliant with FIPS140-2 and supplementedby procedures/controlsin accordance with NIST
publications."other similarly effective cryptographic means." Thisstandard will allow exporters to
utilize a brooder range of tools that will provide strong protection to controlled data. In fact. it is
quite possibleto be more secure than FIPS140-2 or to be FIPS140-2-equivolentwithout being FIPS
certified. The NISTcertification is sometimesconstrained by time. ond some vendors also do not
wish to incur the cost. It can toke six to nine months and several hundred thousand dollars to be FIPS
140-2 certified. Somesoftware vendors.while clearly meeting the standard in practice, do not spend
the time and money on such a certification. GEtherefore urges the agenciesto harmonize around
the EARformulation since companiesthat work with both ITARand EARdata will be driven to the
most restrictive standard.
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 41 of 99



GECommentson Definitions Rule                                                                             3


The ProposedRulesrestrict the countries in which controlled data can be stored, prohibiting storage
of controlled doto in EARCountry Group D:5and Russia and ITAR126.1countries. GErequests
clarification on whether data that is sufficiently encrypted to meet the requirements outlined in this
ProposedRuleand that is "routed through". rather than "stored in", an EARCountry Group D:S
country, Russia,or an ITAR§126.1 country similarly would not be releasedfrom control under EAR
§734.18or ITAR§120.52.

Commentson definitionof "Exportof TechnicalData" in /TAR§120.17(aJ(6J

Thissection states:
§120.17 Export

       120.17la)(Gl- "Releasingor otherwise transferring information such as decryption keys,
       network accesscodes,passwords,or software, or providing physicalaccess,that would
       allow accessto other technical data in clear text or software to a foreign person regardless
       of whether such data has been or will be transferred .. ."

We recommendthat the underlinedlanguage be revisedto align the ITARdefinition with the EAR
definition,by incorporating conceptsof "knowledge"and "actual transfer" into the definition. We
suggestthe following rewrite:

       120.l 7(aU6)- "Releasingor otherwise transferring decryption keys,network accesscodes.
       passwords,software or other information with knowledge that such provisionwill result in the
       transfer of other technical data in clear text (i.e.• in unencrypted form) or software !i.e., in
       sourcecode format! to a foreign person."

COMMENTS PERTAINING TO THE PROPOSED DEFINITIONS OF ''TECHNICAL DATA" AND
"REQUIRED"

Comments on ITAR Proposed Rule related to use of the term "technical data" in defining
"required"in §120.46

GEbelievesthat ITAR§120.46(0)may be confusing to many usersbecauseit indirectly usesthe term
"technical data" to define the term "technicot data." In §120.lO(a)(l),"technical data" is defined in
terms of information required for certain defined activiUes. But tn §120.46(0),"required" is proposed
to be defined as technical data peculiarly responsiblefor certain controlled parameters. Sincethe
term "required" is used in the context of identifying which information will be controlled as technical
data under the ITAR.GEbelievesthe definition would be clearer if it were modified as follows.
(underscoredto show changesl:
        "As applied to technical data, the term required refersto only that portion of information that
       is peculiarly responsiblefor achieving or exceedingthe controlled performance levels,
       characteristics,or functions. Such required information may be shored by different products."
Conformingchanges should also be made in each of Notes 1, 2 and 3 to paragraph (al.
         Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 42 of 99



GECommentson Definitions Rule                                                                          4



Commentson ITARProposedRulerelatedto useof clarifyingexamplein defining"required"in
§120.46

In the EAR.the definition of "required"includes an example to help darify that certain technology,
although used in a controlled item, is not intended to be controlled becauseits use relates to the
achievement of characteristicsthat ore common to other commodities that ore not controlled. GE
believesthat the ITARshould include a similar example so that information that may be useful in the
development of a defense article but which has broader civil and commercial applications is not
controlled. We propose that on example such as the following be included in §120.46lal:
          "... performance levels,characteristics,or functions. Such "required" information may be
          shared by different products. For example,assume product "X" is controlled if it is capable of
          operating for sustained 30 second inverted flight.and is not controlled if is merely designed
          to sustain on emergencyflight inversionfor a few seconds.If the information used in
          development includes technologies"A", "B", and "C" which allow inverted flight as on
          emergency measure but not for more than 10 seconds,then technologies "A", "B", and "C"
          are not "required" to developthe controlled product "X." If technologies"A", "B", "C", "D", and
          "E" ore used together. a manufacturer can develop a product "X" that is capable of operating
          for sustained 30 second inverted flight. In this example,technologies"D" and "E" ore
          "required" to make the controlled product."

Commentsrelatedto useof the term "peculiarto" in defining"required"

GEbelievesthat using the phrase "peculiarto" in the notes to the definition of "required" !Note 1 to
paragraph lal in the ITAR.and Note 1 to the definition of ·required" in the EARiis confusing becauseof
its similarity to the defined term "peculiarlyresponsible." If it is intended to mean the same thing,
then GEsuggests replacing the phrase"peculiar to" with "peculiarly responsiblefor." If the intended
meaning is different than the specialized"peculiarly responsiblefor" term, we would alternatively
recommend replacing "peculiar to" with "unique and specificto," in order to ovoid confusion.

Commentsrelatedto the definitionof "peculiarlyresponsible"

GEbelievesthat the catch and releaseapproach token to define "peculiarly responsible"is one which
industry will find familiar and helpful. However.we ore concernedthat strictly following the model
used in the definition of "speciallydesigned"results in over-regulationof information used in
applications that are not military in nature. We are particularly concernedwith information that has
no relationship to the parameters (e.g.,performance levels,characteristics,functions or other
essencesuch as being a bomber)that cause the item to be controlled.To align this catch and release
mechanism with the concept expressedin the example to the EARdefinition of "required" (i.e.•A, B,c.
D and El,GEproposesthe following 2 changes:
    ll    Changethe "catch" paragraph of the definition as follows: "... is "peculiarly responsiblefor
          achieving or exceedingthe controlled performance levels,characteristics,or functions" if it is
          used in or for use in the development ... or refurbishing of the controlled parameters or
          portions of the item that incorporate the controlled parameters of a [defense article/item
          subject to the EAR]unless... "
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 43 of 99



GEComments on Definitions Rule                                                                          5


   21 Add the following wording as releaseparagraph no. 2: "ft is directly related to an item that is
      a part. component. accessory.attachment or software used in or with the defense article or
      item subject to the EARthat is the object of the first paragraph of this [Note/Definition];"

In addition, under the strict limitations of releaseparagraph no. 3, which require information to be
both identical and used specificallyin production items as conditions for release.a simple dimension
difference between o bracket having no military functionality that is used on a military item and
another bracket used on a commercial item (non-production)will be controlled even though all
information and data used to design the dimensional differencesthemselvesore commonly used in
civil, non-military designs. Thusa license might be required to have this simple bracket made. GE
proposesincorporating the ·or equivalent" concept from the ·specially designed"definition by
modifying release paragraph no. 3 and adding a new Note as follows: "Is identical or equivalent in
form and fit to information used in or with a commodity or software that ... "; "Note 1 to release
paragraph no. 3: With respect to information, "equivalent" means its differencesrelate solely to the
form and fit of the commodities it is used with."

Commentsrelated to PotentialConflictbetweenNotes2 and 3 to paragraph (aJof §120.46

GEbelievesthere is a potential conflict between Notes 2 and 3 to ITAR§120.46.a.If o component
subject to the EARand under development(not in production) is incorporated or installed in a
DefenseArticle, Note 2 indicatesthat the jurisdictional status of technical data directly related to
development of that component is the same as the component and is not controlled under the USML.
But under the catch and releasemechanismof Note 3, the same technical data would be "peculiarly
responsib'le for achieving or exceeding the controlled performance levels,characteristics,or
functions" becauseit is used in or for use in the development of the defensearticle into which the
component is incorporated and there is no applicable releaseparagraph. As GEbelievesthe U.S.
Government'sintent is to exclude technical data unlessit is directly related to the controlled defense
article, and not merely used in the article, GEsuggeststhat the foltowing words be inserted in the
beginning of Note 3: "Exceptas describedin Note 2 to paragraph !al, technical data is "peculiarly.... "

Commentson ITARProposedRulerelated to definitionof the term "knowledge"

In Note 3 to paragraph (al of §120.46(0).the term "knowledge" is used as on element for releasing
technical data under releaseparagraphs 4 and 5. The use of this term for such release purposesis
similar to its use in §120.41l"speciollydesigned")where Note 2 to Paragraphslbl(4l and ISidefines
knowledge. But that definition of "knowledge"is expresslylimited to §120.41. GErecommends
duplicating that definition as o new Note to Note 3 to paragraph (al of §120.46(01.GEdoes not
believe,however.that "knowledge"should be a separate Port 120 definition, as "knowledge" has a
number of other uses in the ITAR,such as in Part 127, that hove come to be understood for other
specializedpurposes.

Commentsrelated to placementof the definitionof "peculiarlyresponsible"

Commentswere requestedon the placement of the definition of "peculiarly responsible"in a Note to
the definition of "required" versusas a stand-alone definition. GEagreeswith DDTC'schoice to limit
its applicability to the concepts contained in §120.46. The definition of "peculiarly responsible"was
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 44 of 99



GECommentson DefinitionsRule                                                                         6


obviouslygiven a lot of thought and written far the description of controlled technical data. The
other place where the concept of "peculiarly responsible"is used is in the definition of "specially
designed." The "speciallydesigned"definition usesthe term to describepropertiesof commodities or
software to determine whether items having those properties are "speciallydesigned." If a common
definition were created. in one place it would describean item (technicaldatal and in the other a
non·item (properties!.We are concerned that this will cause confusionfor several reasons. First,
there would be two distinct catch and releasemechanismsoperating within the "speciallydesigned"
definition.which is already complex and difficult to understand (oneto determine if on item is caught
under the "speciallydesigned"part (a)(ll catch test, and the other for the "speciallydesigned"part {bl
releasetest). Second.use of the definition in "speciallydesigned"would result in the anomaly of
having some of the releasescurrently operating under port (bl of "speciallydesigned"and adopted
for the "peculiarly responsible"releases.applying to end items and materials,where those part {bl
"speciallydesigned" releaseswere originally intended to not apply to end items or materials.

GEalso recommendsthat the definition of "peculiarly responsible"be removed from Part 772.1of the
EAR,and placed as Note 3 to the definition of "required."

COMMENTSPERTAINING
                 TO THE PROPOSED
                               DEFINITIONOF "DEFENSE
                                                   SERVICES"

While GEsupports the clarifications and changes proposed by ODTCto the definition of "defense
services"as major improvements to the earlier proposed definition, we believethat additional
clarifications ore necessarybefore o final rule is implemented.

Commentson ITARProposedRulerelated to §120.9(al

Useof knowledgeof technicaldata to determinewhethera defenseservicehas beenprovided.GE
is deeplyconcerned about the attempt to define defense servicesbasedon the "knowledge"of
relevant technical data by the U.S.person. It is highly problematic to establish this standard based
on what an engineering resourcemay have contained in his/her brain.This could set up truly difficult
enforcement casesthat do not hinge on what was actually provided to the non·U.S.entity that
receivedthe service but the knowledgeof the engineer or servicetechnician involved in providing the
service. GEsubmits the knowledgeof the individual involved should not be dispositivein determining
whether a "defenseservice"has been provided, but rather the rules must focus on what benefits the
non-U.S.entity received related to the defense article(sl.

ITARProposedRuleUseof the term "participate."If the DDTCdoes not remove the knowledge
requirement from the definition as suggestedabove,GEhas additional concernsabout the proposed
approach. Specifically,pursuant to Note 1 to paragraph {ol(ll a personis deemed to hove
"knowledge of U.S.-origintechnical data" directly related to a defensearticle if the person
participated in the development of o defense article. GEbelievesthat using participation as the
threshold for determining whether a person has knowledge that risesto the level needing control as
a defenseservicewould result in the regulation of a broader set of personsthan is necessary. A plain
dictionary meaning of the word "participate" is "to toke part in an activity." Underthis definition,
"participation" can include remote and indirect involvement insignificant to the actual development
activities,including medical. logistical,translation, financial, legal, scheduling,and administrative
services. GEproposesthat the scope of deemed knowledge be narrowed to those activities that ore
directly related to the developmentactivities. Oneway to narrow this scope would be to modify the
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 45 of 99



GECommentson Definitions Rule                                                                         7


secondsentenceof Note 1 to paragraph (o)ll) to state: •.. . However,o person is deemed to hove
knowledgeof U.S.-origintechnical data directly related to a defensearticle if the person engaged in
activities directly related to the development of a defense article ... "

ITARProposedRuleReferenceto DefenseArticlesin the same USMLparagraph. Note 1 to
paragraph (ol(l) would deem a person to have "knowledge of U.S.-origin technical data" if their prior
activities related to development of any defense article describedin the some USMLparagraph as
the article that is subject of the assistance. GEbelieves this is also too brood becauseit would
include involvement in the developmentof prior items that may hove no relevance to the present
assistance. For example, a person may hove been involved in development of o gos turbine engine
design 30 years ago (suchas the J79) involving technologiesthat have been supersededby several
generationsof new engine designs. That involvement would provide little to no applicability to on
advancedengine such as the F135. In addition, given the length of time, the burden on both the
company and the individual to consider"participation" that is so remote in both time and relevance
to the current assistance (and may require research into the actual activity for which records and
memories may be scant) exceedsany benefit that U.S.Governmentmight obtain in regulating that
assistance. GEproposesnarrowing the scope of the defense articles used for comparison under this
provisionto those that hove direct relevance to the activity. Oneway to narrow this scope would be
to further modify the second sentenceof Note 1 to paragraph (aHll to state: "... However.a person
is deemed to have knowledge of U.S.-origin technical data directly related to a defense article if the
person engaged in activities directly related to the development of portions or properties of a defense
article that hos the same properties, and is described in the some USMLparagraph as, ... the
defensearticle that is subject of the assistance. . ."

Commentson ITARProposedRule related to clarification regarding the exclusionsin Note to
paragraph(al

Note to paragraph (a),item no. 2 adds little guidance and may cause confusion. This item no. 2
states that performance of servicesby a U.S.person in the employment of a foreign person is not a
defenseservice "except as provided in this paragraph [i.e.,120.9(0))".Essentially,paragraph (al
providesa detailed description of what activities ore defenseservices,and this item no. 2 states the
obviousthat if an activity is not described in paragraph (al it is not a defense service. GE
recommendsthat DDTCinclude examples or make a clearer statement of parameters that would be
outside the scope of the description in paragraph (a). One approach could be to modify item no. 2 to
state: "Performanceof servicesby o U.S.person in the employment of a foreign person related to the
production of a defensearticle without having the requisite knowledgedescribedin Note 1 or Note 2
to paragraph (a)(l)."

COMMENTSPERTAINING
                 TO THE PROPOSED
                               DEFINITIONSOF "PUBLICDOMAIN"

Commentson ITARProposedRulerelatedto definitionof "publicdomain"in ITAR§120.11

GEbelievesthat the requirement in ITAR§120.lllbl that the U.S.Governmentauthorize all technical
data or software that may be subject to the ITARprior to release into the public domain may impose
a prior restraint on the publication of privately generated unclassifiedinformation and violate the
FirstAmendment of the U.S.Constitution. GErecommendsthat §120.ll(bl be revisedto apply only to
specific types of information, such as government-funded or classifiedinformation.
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 46 of 99



GECommentson DefinitionsRule                                                                          8




Separatefrom the First Amendment concerns.GEquestions the practicality of the proposed ITAR
§120.ll(bl requirement:

      1. How will the Directorateof DefenseTrade Controls.Office of SecurityReviewor other
         relevant U.S.Governmententity ensure authorization requestsore processedpromptly?
      2. What factors will the U.S.Governmentrely on to determine whether authorization will be
         given for the release of technical data or software into the public domain?
      3. How do exporters know which U.S.Governmententities hove the authority to issuethe
         requisiteapproval for releaseof which technical data or software into the public domain
         under §§120.ll(bl(3) or 120.ll(b)(4}?

If DDTCproceedswith this proposed requirement notwithstanding the significant Constitutional and
practical concerns.GErequestsfurther clarity on the potential scope of §120.ll(bl's requirement.
Note 1 to §120.11states that §127.1(0)16)    prohibits the unauthorizedexport, reexport, retransfer or
pubic releaseof technical data or software with knowledgethat the technical data or software was
made publicly available without the approval required in §120.ll(bl. but it does not address how
technical data or information placed in the public domain without authorization prior to the effective
dote of this rule will be handled. It is simply unrealistic to require all technical data or software
currently in the public domain without expressU.S.Governmentauthorization to receive U.S.
Governmentauthorization prior to further release.export, or rexport. GErecommends.at a
minimum. the inclusion of a grandfathering clause to exempt technical data or software in the public
domain prior to the effective data of the rule from §120.ll(bl requirement and §127.1(01161.

Finally,GErequestsa 6-month transition period to implement the required changes if the proposed
change is finalized given the widespread effects of such a requirement.

COMMENTS PERTAININGTO THE PROPOSEDDEFINITIONS OF "PERMANENTAND REGULAR
EMPLOYEE"

CommentsEARProposed Rulerelated to definitionand useof "permanentand regular employee"
in EAR§§734.20 and 750.7

GEdisagreeswith the proposed definition and use of the phrase "permanent and regular employee"
in §§734.20and 750.?(a)to require employment for one year or longer. In practice. the term
"permanent and regular employee"generally is applied to contract or contingent workers in foreign
facilities. Mandating a period of one year or longer for the relationship significantly compromisesthe
ability of a non-U.S.defensecompany to toke advantage of the provisionsthat use this phrase.Many
companies do not employ contract workers for periods of o year or longer because doing so con
create o risk under labor and employment law that the contract worker would toke legal action to
acquire the benefits and other rights of employees.

Thefive specific criteria enumerated under §734.20(dll21    are adequate to ensure appropriate control
of EARdata in that the worker must: Iii work at the company's facilities: (iii work under the company's
direction and control; (iii)work full time and exclusivelyfor the company; (iv)execute nondisclosure
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 47 of 99



GECommentson Definitions Rule                                                                      9


certifications for the company and (vi not be taking direction from the staffing company. Why is it
necessaryfor the relationship to be "long term" if those criteria are satisfied? The compony engaging
the contract employeewill be responsiblefor the conduct of the worker regardless. The company
con decide the length of relationshipthat would be appropriate given these competing
considerations.

Moreover,the timing requirement does not necessarilyapply or make sensein other contexts. What
if a company hiresan individual for permanent employment and the employeequits after 30 days?
There ultimately would be no "long term" relationship under those circumstanceseither. yet it is not
clear in the proposeddefinition and use of the phrase whether the employeewould fall under the
·permanent ond regular" definition after being hired.

GEalso requestsfurther clarification on how the proposed use of the phrase "permanent and regular
employee"in §750.7may impact existing licenses. BIStypically limits employeesauthorized to
receivecontrolled data through the inclusion of conditions with the licensebut does not put a
restriction on the amount of time an employeemust be working at a facility. If the proposed changes
to §750.7(alare finalized,what happens to employeesunder existing licensesthat do not meet the
specified"permanent and regular employee"definition but were not explicitly limited in the license
conditions?

GEstrongly urges BISto change the proposed language as follows:

       §734.20 Activitiesthat are not "deemedreexports."
              (bl Releaseto A:5 nationals...
                      (1) * * *5 nationals...
                      (2)Theforeign national is a regular aFtEIpermaFteFtt
                                                                        employee...
              (cl Releaseto other than A:5 nationals...R
                      (11* * *e/eoseto other than A:5 nationals.
                      (2)Theforeign national is a regular aFtEIpermaFteFtt
                                                                        employee...
              (di Definitions.Definitions.
                       (1)   * * *
                       (2)"PefffisF1eF1tSFI&is on individual who:
                              (al Is permaAeAtly (i.e., fer Ftet less thaR a year! eAEI directly
                              employed by an entity, or
                              lb) Is a contract employeewho:
                                        {i) Is in a leAg term contractual relationship with the
                                        company...

        §750.7(a)... A BISlicenseauthorizing the releaseof technology to on entity also authorizes
        the releaseof the same technology to the entity's foreign nationals who are permaReFttaFta
        regular employees(and who are not proscribedpersonsunder U.S. law)...
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 48 of 99



GECommentson Definitions Rule                                                                            10



COMMENTSPERTAINING
                 TO THE PROPOSED
                               DEFINITIONSOF "ACTIVITIES
                                                       THATARENOTDEEMED
REE)(PORTS"

Commentsrelated to definitionof "Activitiesthat are not "deemedreexports"in EAR§734.20(cJ

GEbelievesthe requirement in §734.20(c)(S)(ii)IB) to screen for contacts in Country Group D:5is too
brood. Country Group 0:5 includes countries such as China and Vietnam where, like many
multinational companies.GEhas major manufacturing operations and installation bases. As a result,
many employeesore likely to hove "substantivecontact" (asdefined in §734.20(d)ll))with these
countries (e.g.•"recent or continuing contact with agents, brokers, and nationals of such countries,"
"maintenanceof businessrelationshipswith personsfrom such countries"Ias a normal course of
business(not including technology or source code transfers!. Implementation of the proposed
requirement in §734.20(cl(SJ(ii1(B)
                                  therefore would consume tremendous amounts of resources
without yielding substantive screening results mitigating the targeted risksof diversion.

GEsuggeststhat the requirement in §734.20(cl(S)(ii)1BJ
                                                     to screen for contacts in Country Group D:5 be
revisedto more specificallyaddressthe potential risk of diversion- e.g.,change the requirementto
screenfor contacts in to Country Group E:1.or change the proposed language to:

        §734.20Activitiesthat are not "deemedreexports."
                 (d)Definitions.Ill "Substantivecontacts" includes reg1:1lar
                                                                          travel te ee1:1Atries
                                                                                             iA
Ce1:1AtryGre1:1p  0:5: recent er eeAtiAt:tiAg
                                            eeAteetwith ageAts,13relters, aAd netienalsef s1:1eh
           continued demonstrated allegianceto such countries; maiAteAaAeeef e1:1siAess
ee1:1Rtries;
reletienships'.'lithperseAsfrem s1:1eh             maintenance of o residencein such countries;
                                         ee1:1ntries;
receiving salary or other continuing monetary compensation from such countries; or acts otherwise
indicating a risk of diversion.

In addition, GEfinds the requirement in §734.20(cl(Sl(ii)(D)
                                                          to maintain recordsfor the longer of five
years or the duration of individual'semployment with the entity to be overly prescriptiveand
burdensome. GEsuggeststhat BISchange the proposed language to:

        §734.20Activitiesthat are not "deemedree,cports."
              (cl Releaseto other than A:5 nationals.
                        (5) *   *   *
                                    Iii)* * *
                                            !DI Maintains records of such screeningsfor the lengeref fi,.,e
                                            years er the d1:1r-atieAef the indi·.iid1:1al's
                                                                                        empleymentwith
                                            the entity; five years after the release of "technology" or
                                            "source code" takes place.

It is also worth noting that the requirementsof §734.20(c)!Sl(iillB)
                                                                  and 734.20(c)(S)(ii)(D1
                                                                                       seem more
restrictive than the riders and conditions with licensesthat would cover the same foreign national
employeesfrom Country Group D:5. If the foreign entity can demonstrate effective compliance
to §§734.20(c){3J                                          and 734.20lcl!Sl[ii1(D)
                  and 734.20(cll4),then §§734.20lcll5J(ii)1Bl                   have very little value
             Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 49 of 99



  GECommentson Definitions Rule                                                                         11


  considering the extra burden beyond a typical license. Given the personaldata privacy lows in
  Europeand Canada.compliance with §§734.20(cl(Sl!iil!B1  and 734.20(cl(SJ(ii](D1
                                                                              is even more difficult.

  * * * * *

 We appreciate the opportunity to provide comments on the Proposed Rules. If you have any
 questions or require additional information concerning this submission, please contact the
 undersignedat (202)637-4206 or by email at: kathleen.palma@ge.com or George Pultz at (7811594-
 3406 or by email at: Qfil[Qe._p
                               ultz@_ge.com.

  Sincerely,
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  Kathleen Lockard Palma         '
  Internat iona l Trade Comp lia nce
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 50 of 99



                                                 1

                                                      July 15, 2015

To:            DDTCPublicComments@state.gov
               publiccomments@bis.doc.gov

From:          Bill Root, waroot23@gmail.com; tel. 517 333 8707

Subject:       ITAR Amendment - Revisions to Definitions: Data Transmission and Storage
               EAR Revisions to Definitions - RIN 0694-AG32

The June 3, 2015 proposed rules from the State and Commerce Departments are intended to
harmonize and clarify ITAR and EAR definitions while improving national security. These
comments describe many respects in which they go in the opposite direction. The six most
important ones are those numbered 1 to 6 below. Those numbered 7 to 10, while less important,
are still significant. At the end is an analysis of what could happen if no changes are made.

1.      Prior Restraint of Public Domain Exclusion from Export Controls
The ITAR proposed requirement for USG authorization to put information into the “public
domain” in 120.11(b) is a reversal of actions 30 years ago to comply with the free speech first
amendment to the Constitution. EAR proposals would change “are already published or will be
published” to “are published” in what is “not subject to the EAR” in 734.3(b)(3)(i) and delete
“The EAR do not cover technology ... that is made public by the transaction in question” now in
734 Supplement 1. So, ITAR would explicitly challenge the Constitution and EAR would
remove language which now complies with the Constitution. Remedies: Delete 120.11(b); do not
revise 734.3(b)(3)(I); and do not delete 734 Supplement 1.

2.     Deletion of Clarifications
The many clarifying questions and answers concerning publicly available information in EAR
734 Supplement 1 would be deleted. Remedies: Do not delete 734 Supplement 1 (a few revisions
to update that Supplement are included in #10 below).

3.      Over-riding “Required”
ITAR 120.46 would add the EAR and Wassenaar definition of “required” as
        “only that portion of technical data that is peculiarly responsible for achieving or
        exceeding the controlled performance levels, characteristics, or functions.”
However, per proposed Note 3, those words would ambiguously be met if technical data are for
development, production, or use of a defense article unless subject to three releases now in the
definition of “specially designed.” EAR would add to 772.1 a definition of “peculiarly
responsible” having the same effect as ITAR Note 3. “Peculiarly responsible” wording now
appears not only in the definition of “required” but also in the definition of “specially designed.”
So, the June 3 proposals largely over-ride the substance of the “required” definition in ITAR and
in the hundreds of existing uses of “required” and “specially designed” in the EAR. Remedy:
Limit 120.46 Note 3 and 772.1 definition of “peculiarly responsible” to License Exceptions (for
details see #10 below).
     Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 51 of 99



                                                   2


         4.      Violations of NSDD 189
A 1985 National Security Decision Directive (NSDD) 189 specifies:
         “where the national security requires control, the mechanism for control of information
         generated during federally-funded fundamental research in science, technology and
         engineering at colleges, universities and laboratories is classification. ... No restrictions
         may be placed upon the conduct or reporting of federally-funded fundamental research
         that has not received national security classification ...”
The June 3 120.49, 734.8, and 734.11 proposals expand existing pre-publication review
restrictions on federally-funded fundamental research other than classification. Remedy: Delete
all restrictions on federally-funded fundamental research in 120.49, 734.8, and 734.11 (for
details see #10 below).

5.       Inadequate Control of Munitions Production
Instead of expanding unconstitutional and unenforceable controls on what is publicly available
and increasing ambiguity on what technology is controlled, the United States should comply with
the vastly more important multilateral controls on munitions production (WA ML 22.b.1) and
missile production (MTCR 1.B.1). Several decades ago, a UK firm, Matrix Churchill, after
consulting with the UK government, exported to Iraq, without a license, equipment not requiring
a license but used to produce munitions. Parliamentarians severely criticized the UK
government, which survived a motion of no confidence by just one vote. The UK had failed to
include on its control list the following COCOM Munitions List item 22.b.1, which remains on
the Wassenaar Munitions List to this day:
         Design of, assembly of components into, and operation, maintenance, and repair of
         complete production installations for Munition List items even if the components of such
         production installations are not specified.
ITAR 120.9 defense services cover “furnishing assistance to foreign persons in the production of
defense articles.” This is relevant. But, in 1980, DOD concluded that such general wording was
insufficient. So, I led a negotiation which added ML 22.b.1. The Matrix Churchill case proved
that DOD was right. Even so, in the intervening 35 years, neither State nor Commerce has seen
fit to incorporate into a U.S. export control list WML 22.b.1, b.2, or b.5. WML 22.b.2 reads:
         Technology required for development or production of small arms even if used to
         produce reproductions of antique small arms.
WML 22.b.5 reads:
         Technology required exclusively for incorporation of biocatalysts specified in ML7.i.1
         into military carrier substances or military materials.

In 1987, the Missile Technology Control Regime was established. Its main objective was to
control production of missiles. Once again, ITAR defense services language was relevant. But
U.S. negotiators wanted something more specific, called “production facilities,” defined as:
        Production equipment and specially designed software therefor integrated into
        installations for development or for one or more phases of production.
Item 1.B.1, “production facilities” for missiles, has been on the MTCR list for almost three
decades. But it still has not made it onto a U.S. export control list.
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 52 of 99



                                                 3

Remedies: add new ECCN 9B110 “Production facilities” for “development” or “production” of
“missiles”; revise 9E018 heading to read “Technology” from Wassenaar Munitions List; and add
9E018 sub-items for WML 22.b.1, b.2, and b.5.

6.      Discrepancies in prohibited countries between ITAR and EAR
The ITAR list of prohibited countries in 126.1 is supposed to be replicated in EAR Country
Group D:5. A footnote to D:5 states that, if there are any discrepancies between the two lists, the
State Department list shall be controlling. On January 29, 2015, BIS added an embargo of
Crimea to EAR 746.6, except for food and medicine, but did not add Crimea to D:5. DDTC has
not yet added Crimea to 126.1. It makes no sense to prohibit to Crimea toothpaste and paper
clips, but not items on the USML. On May 29, 2015, the State Department removed Fiji from
126.1. D:5 still includes Fiji. Remedies: add Crimea to 126.1 and to 740 Supplement 1 Country
Group D:5 and delete Fiji from D:5.

7.      Establish new ITAR sections of part 120 to read:

        Subject to ITAR
(a)     Except for items excluded in paragraph (b) of this section, the following items are subject
        to the ITAR:
(1)     All USML-controlled “commodities,” software, and “technology” (i.e., all “defense
        articles” and “defense services”) located in the United States, including in a U.S. Foreign
        Trade Zone or moving in-transit through the United States from one foreign country to
        another; and
(2)     All U.S.-origin “defense articles” and “defense services” wherever located;
(b)     The following are not subject to the ITAR:
(1,2,3,4)       (From proposed 120.6(b)(3)(i, ii, iii, iv), re public domain, fundamental research
                changing 120.46 to 120.49), scientific principles, and patents, and delete 120.6
                Note to paragraph (b).
                (a) and (b)(1-4) would harmonize with EAR 734.3(a)(1), (a)(2), and (b)(3).)
(5)     Basic marketing information on function, purpose, or general system descriptions of
        defense articles;
(6)     Telemetry data per XV Note 3.
                        ((b)(5) and (6) would harmonize with 120.10(b) exclusions from
                “technical data.”)

     Commodity
Commodity means any item except software or technology.
     (This would harmonize with the EAR definition of “commodity.”)

      Technology
Technology means “technical data” or “defense services”
      (This would harmonize with EAR and Wassenaar.)
     Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 53 of 99



                                                  4

8.     Revise ITAR 120.6, 120.9, and 120.46 and EAR 772.1 definition of “peculiarly
       responsible,” as follows:

120.6 Defense article, revise to read:
Defense article means any commodity, software, or technical data controlled on the United
States Munitions List.

120.9 Defense services:
In (a)(1) change “directly related to” to “required for”;
In Note 1 to paragraph (a)(1) change “directly related to” to “required for” (twice).
        (This would harmonize with EAR and Wassenaar.)

120.46 Required:
In (a), change “technical data” to “technology” (three times);
In Note 2 to paragraph (a):
         change “technical data” to “technology” (twice);
         change “enumerated” to “controlled”;
         change “to which it is directly related” to “for which it is required”; and
         change”directly related to” to “required for”;
Revise Note 3 to paragraph (a) to read:
         “Technology” “peculiarly responsible for achieving or exceeding the controlled
         performance levels, characteristics, or functions” is, nevertheless, not controlled if:
         (1, 2, 3, 4, 5 from proposed Note 3)
                           (Recommended changes in paragraph (a), in Note 2 to paragraph (a), and
                  to remove from Note 3 that technical data for a defense article is controlled
                  regardless of the performance level, characteristic, or function would harmonize
                  with EAR and Wassenaar.
                           Changing “enumerated” to “controlled” in Note 2 would retain on the
                  USML technical data specifically described there using catch-all language
                  excluded from enumerated.
                           The recommended retention in Note 3 of decontrol parameters would
                  harmonize with the recommended portion of the BIS proposed definition of
                  “peculiarly responsible.”)

772.1 peculiarly responsible, revise to read:
       “Technology” “peculiarly responsible for achieving or exceeding the controlled
       performance levels, characteristics, or functions” is, nevertheless, not controlled if:
       (1, 2, 3, 4, 5, 6 from proposed definition)

9.     In subcategories for technical data and defense services on the USML, change
              Technical data (see 120.10 of this subchapter) and defense services (see 120.9 of
              this subchapter) directly related to the defense articles described in ...
       to
      Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 54 of 99



                                                  5

                    Software “specially designed” for and “technology” “required” for
               “commodities” (and software) controlled by ...

10.     Revise ITAR 120.11 and 120.49 and EAR 734.3, 734.7, 734.8, 734.11, Supplement 1 to
        part 734, and 740.9(c), as follows:

120.11 public domain:
       In (a) insert following new (a)(1) and renumber (2) through (5) as (3) through (6):
       (1)      Sales at a price not exceeding the cost of reproduction and distribution;
       Delete 120.11(b)

120.49 fundamental research
       In (a)(1), delete “located”
       Add the following new Note 3 to paragraph (a):
                       Pursuant to NSDD 189, where the national security requires control of
               information generated during federally-funded fundamental research in science,
               technology, and engineering at colleges, universities, and laboratories, the
               mechanism for control is classification. No restrictions may be placed upon the
               conduct or reporting of federally-funded fundamental research that has not
               received national security classification.
       Delete and Reserve 120.49(b) (on prepublication review) and delete the three Notes to
       paragraph (b)
                       (Proposed Note 2 to paragraph (a) provides adequate guidance for
               privately sponsored fundamental research. Recommended Note 3 to paragraph (a)
               provides adequate guidance for federally-funded fundamental research.)

734.3(b)(3)(i):
        change “Are “published”,” to “Are already published, or will be published”; and
       add: “(the EAR do not cover technology that is already publicly available, as well as
                technology that is made public by the transaction in question)”

734.7 Published
       In (a) insert following new (a)(1) and renumber (2) through (5) as (3) through (6):
       (1)      Sales at a price not exceeding the cost of reproduction and distribution;

734.8 fundamental research
       after the semi-colon at the end of (b)(1), add “or”
       at the end of (b)(2), change “; or” to a period
       delete (b)(3); delete Note 2 to paragraph (b); insert following new (c), reletter (c) to (d)
       (c)     Pursuant to NSDD 189, where the national security requires control of
               information generated during federally-funded fundamental research in science,
               technology, and engineering at colleges, universities, and laboratories, the
               mechanism for control is classification. No restrictions may be placed upon the
    Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 55 of 99



                                                6

               conduct or reporting of federally-funded fundamental research that has not
               received national security classification.

734.11 Government-sponsored research covered by contract controls
       Delete

734 Supplement 1 Questions and answers - technology and software subject to the EAR
      Retain, rather than delete as proposed
      Delete Question A(4) Research under DOE grant requiring prepublication DOE clearance
      Delete Answer to A(6) and substitute:
                       No, provided that:
              the government has not classified any of its content;
              you did not include, or otherwise use, any classified information in its
              preparation;
              your intent is to make it available generally to the public;
              during its preparation, you agreed to no private pre-publication review; and
              you have not sold it, or advertised it for sale, at a price exceeding the cost of
              reproduction and distribution.
      Delete Answer to D(11) and substitute:
              Yes, provided that:
              the government has not classified any of its content;
              you did not include, or otherwise use, any classified information in its
              preparation;
              your intent is to make the research available generally to the public;
              during its preparation, you agreed to no private pre-publication review; and
              you have not sold it, or advertised it for sale, at a price exceeding the cost of
              reproduction and distribution.
      Delete Answer to E(1) and substitute:
                       Pursuant to 120.49 Note 3 to paragraph (a) and 734.8(c) (as recommended
              above), the only permissible restriction on federally-funded fundamental research
              is classification. You should ask the DOD sponsor to withdraw the prepublication
              review requirement.

Delete 740.9(c) beta test software
       (The expressions “intended for distribution to the general public” and “free-of-charge or
       at a price that does not exceed the cost of reproduction and distribution” make this “not
       subject to the EAR,” so that no license exception is needed.)

Analysis

Imagine you are a journalist writing a story on the impact of U.S. bombers in Iraq and Syria. You
read in Note 1 to paragraph (a) of 120.46, on “required,” that “any technical data, regardless of
significance, peculiar to making an aircraft a bomber” is controlled. Almost anything you write
about a bomber could be construed as somehow related to making it. You clearly intend to put
    Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 56 of 99



                                                 7

your story in the public domain. But you note removal of sales at newsstands from the definition
of public domain. Moreover, you read in 120.11(b): “Technical data or software, whether or not
developed with government funding, is not in the public domain if it has been made available to
the public without authorization from (a U.S. government official).” So you seek such
authorization. You then discover that, for similar reasons, not only newspapers in general but
also other media, advertising agencies, and academic researchers are also seeking such
authorizations, often for their entire content, out of an abundance of caution. The government is
overwhelmed and cannot respond within the deadlines demanded by the applicants. Moreover,
the courts cannot cope with the deluge of lawsuits alleging unconstitutional prior restraint of free
speech. So, reporters, advertisers, and researchers, not wishing to stop their vocations nor to
significantly delay publishing, advertising, or sharing research results with the public, feel
obliged to make their information publicly available without government authorization. They
would thereby incur the risk of “administrative, civil, and possible criminal penalties under other
law,” per 734 Supplement 1 E(2). This quotation would be deleted but would probably still be
applicable.

The proposed 772.1 definition of “peculiarly responsible” would ambiguously over=ride the
substance of the existing Wassenaar and EAR definition of “required” and a key part of the EAR
definition of “specially designed.” Those terms are used in hundreds of places in the CCL. The
ambiguities would cause incredible confusion in industry. Exporters would inevitably make
varying interpretations. These are national security rules. Such confusion would be a significant
threat to national security. That threat can easily be avoided by simply retaining the existing
definitions of “required” and “specially designed” unchanged.
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 57 of 99
                     Ad Hoc Coalition for Effective Export Control Reform
                        1717 Pennsylvania Avenue, N.W. – Suite 1025
                                   Washington, DC 20006


August 3, 2015

VIA E-MAIL (publiccomments@bis.doc.gov AND DDTCPublicComments@state.gov)

Ms. Hillary Hess                                Mr. C. Edward Peartree
Director, Regulatory Policy Division            Director, Office of Defense Trade Controls Policy
Bureau of Industry and Security                 Directorate of Defense Trade Controls
U.S. Department of Commerce                     U.S. Department of State
Room 2099B                                      PM/DDTC, SA-1, 12th Floor
Washington, DC 20230                            Washington, DC 20522

REF: RIN 0694–AG32 (BIS) AND RIN 1400-AD70 (DDTC)

RE:     Comments on Proposed Revisions to Certain EAR and ITAR Definitions

Dear Ms. Hess and Mr. Peartree:

        The Ad Hoc Coalition for Effective Export Control Reform (“CEECR”)1 appreciates the
opportunity to comment on the proposed rules published by the U.S. Department of Commerce,
Bureau of Industry and Security (“BIS”) and the U.S. Department of State, Directorate of
Defense Controls (“DDTC”) on June 3, 2015 (80 Fed. Reg. 31505 and 80 Fed. Reg. 31525,
respectively) concerning proposed revisions to certain definitions in the Export Administration
Regulations (“EAR”) and the International Traffic in Arms Regulations (“ITAR”) (individually,
the “BIS Proposed Rule” and the “DDTC Proposed Rule,” and collectively, the “June 3 Proposed
Rules”).

       The CEECR believes that the expressed aims, scope, and substance of the June 3
Proposed Rules are linked to those set forth in the proposed rule on Wassenaar Arrangement
2013 Plenary Agreements Implementation that BIS published on May 20, 2015 (80 Fed. Reg.
28853) (RIN 0694-AG49) (the “May 20 Proposed Rule” or the “Wassenaar Arrangement
Implementation Rule”). Accordingly, Section XI contains comments relating to the May 20
Proposed Rule for consideration by BIS.


1
  The Ad Hoc Coalition for Effective Export Control Reform (“CEECR”) includes the following
individuals: Geoffrey M. Goodale, Managing Member, Trade Law Advisors, PLLC (Washington, DC);
Andrea Fekkes Dynes, Staff Vice President and Associate General Counsel, General Dynamics (Falls
Church, VA); Kay C. Georgi, Partner, Arent Fox LLP (Washington, DC); Gwendolyn W. Jaramillo,
Partner, Foley Hoag LLP (Boston, MA); Jonathan M. Meyer, Attorney-at- Law (New York, NY); Jason I.
Poblete, Partner, Poblete Tamargo LLP (Washington, DC); Christopher B. Stagg, Partner, Stagg Noonan
LLP (Washington, DC); Roland L. Trope, Partner, Trope & Schramm LLP (New York, NY); Michael L.
Burton and Douglas N. Jacobson, Members, Jacobson Burton PLLC (Washington, DC) (on behalf of
TRW Automotive U.S. LLC d/b/a ZF TRW and other firm clients). The comments set forth in this
submission are fully supported by these individuals, but they do not necessarily reflect the views of the
entities by which they are employed or whom they represent.
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 58 of 99




        The CEECR applauds the U.S. Government’s efforts to amend the EAR and the ITAR as
part of the Obama Administration’s ongoing Export Control Reform (“ECR”) initiative. It is
quite apparent from the text of the June 3 Proposed Rules, from comments that agency officials
have made regarding on the June 3 Proposed Rules, and from the experience of our members in
analyzing the June 3 Proposed Rules that much thought went into the proposed definitions that
are referenced in the June 3 Proposed Rules.

        In our view, many of the proposed definitions that are set forth in the June 3 Proposed
Rules represent significant improvements over earlier versions of proposed definitions that have
previously been issued by BIS and DDTC. However, it is the CEECR’s view that the proposed
definitions for certain terms under the EAR and ITAR could be further improved by making the
changes or clarifications that are recommended below.

I.     “Export” and “Reexport” Under the EAR and the ITAR

       A.      “Subject to the EAR” in Proposed EAR § 734.13 and EAR § 734.14

         In the BIS Proposed Rule, the term “subject to the EAR” is not referenced in the
proposed definition of “export” under EAR § 734.13, whereas that term has been used in
connection with the current definition of “export” under the existing EAR. For purposes of
clarity, the CEECR recommends that the term “subject to the EAR” be added in the applicable
places in the proposed definition for “export” under EAR § 734.13. Specifically, we propose
that the term “of items subject to the EAR” be inserted after the words “shipment or
transmission” in subsection (a)(1). We also propose adding the words “subject to the EAR”
before the words “to a foreign national” in subsection (a)(2), before the words “in clear text” and
the words “to a foreign national” in subsection (a)(6), and before the words “to a foreign
national” in subsection (b).2

     Similarly, we recommend adding the term “subject to the EAR” and additional changes to
proposed EAR § 734.13(c) so that the text would read as follows.

     The export of an item subject to the EAR that will transit through a country or countries
     to a destination country, or will be transshipped in a country or countries to a
     destination country, or are intended for export to the new destination country, is deemed
     to be an export to the new destination country and not to the countries of transit or
     transshipment.

This recommended text also has the benefit of adding clarity by substituting the term
“destination country” for the term “new country” that exists in the proposed definition referenced
in the BIS Proposed Rule and by adding the phrase or replacing the term “new country” in
several places in sections 13(c) and 14(c) with the “and not to the countries or transit or
transshipment” at the end of the proposed definition.



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  See also Section I.B.1 for additional recommended changes to proposed EAR § 734.13(a)(6) and related
proposed EAR § 734.14(a)(4).

                                            Page 2 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 59 of 99




        For the reasons discussed above, the CEECR also recommends that conforming changes
along the lines discussed above be made to the applicable parts of the proposed definition of
"reexport" in proposed EAR § 734.14. Specifically, the CEECR proposes that the term “subject
to the EAR” be added after the words “shipment or transmission” in subsection (a)(1), before the
words “to a foreign national” in subsection (a)(2), and before the words “to a foreign national” in
subsection (a)(4). We note that subsections 734.14(b) and (c) already include the phrase “subject
to the EAR”, as we have proposed should be the case in the corresponding subsections of
proposed section 734.13.

       B.      Proposed New Definition for Export – Release or Transfer of Decryption
               Keys, Network Access Codes, Passwords, etc.

               1.     Proposed EAR § 734.13(a)(6)
                      (And Conforming Changes to Proposed EAR § 734.14(a)(4))

       Under the BIS Proposed Rule, the proposed definition for “export” under EAR §
734.13(a)(6) reads as follows:
         (6) “releasing or otherwise transferring decryption keys, network access
         codes, passwords, ‘software,’ or other information with ‘knowledge’ that such
         provision will cause or permit the transfer of other ‘technology’ in clear text
         or ‘software’ to a foreign national.” (emphasis added).
The CEECR understands that the BIS does not intend to include in the definition of export the
mere act of releasing decryption keys, network access codes, passwords, ‘software,’ or other
information but rather intends to focus on those situations where an individual undertakes such
an act with knowledge that it will cause and result in a transfer of the EAR-controlled technology
or software. However the word “permit” is overly broad as any release of decryption keys,
network access codes, passwords, ‘software,’ or other information could technically “permit”
such access.

        The CEECR also believes that the terms “cause or permit” may be overly broad with
regard to access issues and do not match the “result in” terminology in proposed EAR § 764.2(l).
We believe the terms “cause or permit” could be interpreted more broadly than BIS intends, to
include scenarios in which, for example: (a) a person has a decryption key stored in a briefcase
in the same room as a foreign national who does not even know that the decryption key is in the
briefcase because this might in theory “permit” the foreign national to have access to the
decryption key; or (b) during a factory tour a foreign person receives access to an area adjacent
to an area containing controlled information and breaks into the area containing controlled
information. Under the latter scenario, taking the person on the factory tour may be one of the
“causes” of the break-in, but it is certainly not a “sufficient cause.” As such, the CEECR favors
using the term “result in” instead of “cause or permit.”

        In addition, the CEECR believes that using the qualifier “in clear text or ‘software’”
within proposed paragraph (a)(6) could result in some confusion. This is because some exporters
might not think drawings, diagrams, specifications or other non-prose information is included
within the term “clear text” or “software.” In the preamble to the BIS Proposed Rule, BIS has

                                           Page 3 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 60 of 99




indicated that “[t]he meaning of ‘clear text’ in the proposed definition is no different than an
industry standard definition, e.g., information or software that is readable without any additional
processing and is not encrypted. Comments are encouraged regarding whether a specific EAR
definition of the term is warranted and, if so, what the definition should be.” While the term
“clear text” may have an industry definition within the computer/information security industry,
we are uncertain that it has a uniform meaning in that industry, or that its meaning is generally
known within other industries.

       For the reasons discussed above, the CEECR recommends that proposed EAR §
734.13(a)(6) be revised to read, in relevant part, as follows:


         (6) “releasing or otherwise transferring decryption keys, network access
         codes, passwords, ‘software,’ or other information with ‘knowledge’ that such
         provision will result in cause or permit the transfer of other ‘technology’ in
         unencrypted format clear text or ‘software’ in source code format to a foreign
         national.” 3
Alternatively, if BIS wishes to retain the term “clear text” in proposed EAR § 734.13(a)(6), the
CEECR proposes that BIS define the term “clear text” to mean “information that is readable
without further decryption.” In addition, the CEECR recommends that BIS provide additional
clarification regarding the term “software” since BIS is proposing to exclude from the definition
of “export” transfers of object code to foreign nationals. See proposed EAR § 734.13(a)(2).

        Furthermore, for all of the reasons discussed above, the CEECR recommends that
conforming changes along the lines of those proposed above be made to the proposed definition
of “reexport” in proposed EAR § 734.14(a)(4).

               2.      Proposed ITAR § 120.17(a)(6)
                       (And Conforming Changes to Proposed ITAR §120.19)

        Like the expansion of the definition of “Export” under the EAR, the new proposed ITAR
§ 120.17(a)(6) addresses the release or transfer of decryption keys, network access codes,
passwords, software to a foreign person. However, the proposed ITAR definition differs
significantly from the proposed EAR in the following two respects. First, unlike the EAR, the
ITAR definition includes in the definition of “Export” the mere act of “providing physical access
that would allow access to other technical data.” Second, unlike the EAR, the ITAR definition
includes in the definition of “Export” situations where no technical data has been or will be
transferred to a foreign person. In the preambles to the referenced proposed rules, both DDTC
and BIS have requested input from the public regarding the different formulations for this
control.




3
 See also Section I.A. for additional recommended changes to proposed EAR § 734.13(a)(6) and related
EAR § 734.14(a)(4).

                                            Page 4 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 61 of 99




        The CEECR believes that the proposed revised definition for “Export” in ITAR §
120.17(a)(6) is overly broad because, as written, it captures scenarios where a foreign person has
been provided mere physical access to decryption keys, network access, or passwords but no
actual transfer of ITAR-controlled technical data occurs. See similar discussion above relating
to EAR § 734.13(a)(6) for examples of situations where mere physical access does not result in
any export of controlled information, as a matter of fact. As written, the definition would
capture all situations where “access” was provided (perhaps by mistake), regardless of other facts
such as period of time involved (unfettered long-term access versus short-term access) and the
reality of whether technical data was actually transferred to a foreign person as a matter of fact.

       For all the reasons discussed above, the CEECR recommends that proposed ITAR §
120.17(a)(6) be revised to read as follows:
         (6) Releasing or otherwise transferring information such as decryption keys,
         network access codes, passwords, software, or other information with
         knowledge that such provision will result in the transfer of other in
         unencrypted format or ‘software’ in source code format to a foreign person.

Furthermore, for all of the reasons discussed above, the CEECR recommends that conforming
changes along the lines of those proposed above be made to the proposed definition of
“reexport” in ITAR § 120.19.

II.    “Release” Under the EAR and the ITAR

       A.      Proposed EAR § 734.15

        The CEECR commends BIS for seeking to create a new definition for the term “release”
under proposed EAR § 734.15. As noted in the preamble to the BIS Proposed Rule, the
proposed new definition of “release” would only apply to inspections of an item or applications
of knowledge or technical experience that “actually reveal controlled technology or source code”
to a foreign national. See 80 Fed. Reg. 31505, 31508 (June 3, 2015). The preamble goes on to
explain that “merely seeing equipment does not necessarily mean that the seer is able to glean
any technology from it and, in any event, not all visible information pertaining to equipment is
necessarily ‘technology’ subject to the EAR.” We believe the language in the definition of
release is reasonably clear when read together with the preamble to the proposed rule.

       However, after the new definition becomes effective, it may not be completely clear
when reading the definition alone what BIS intended by the term “inspection”, and by the two
references to conduct that “reveals” technology or source code subject to the EAR to a foreign
national. To ensure the language in the EAR is clear on its face, without also having to find and
review the preamble to the proposed rule, we recommend that BIS take the following actions:

       (a)     replace the phrase “visual or inspection” with “visual or other examination” or
       “close inspection by visual or other means”; and

       (b)     to replace the two instances of the term “reveals” with the term “actually reveals”
       or “actually conveys”.

                                           Page 5 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 62 of 99




In addition, for the reasons discussed above under section I.A, the CEECR proposes adding the
words “subject to the EAR” after the words “by a foreign national of items” in proposed EAR
§ 734.15(a)(1) and before the words “in the United States or abroad” in proposed EAR
§ 734.15(a)(2).

B.     Proposed ITAR § 120.50

        The CEECR agrees with the decision by DDTC to create and define the term “release”
under proposed ITAR § 120.50 and for taking actions to make that definition consistent with the
definition of “release” under proposed EAR § 734.15. For the reasons discussed above, the
CEECR also recommends that conforming changes along the lines discussed above relating to
EAR § 734.15 be made to the applicable parts of proposed ITAR § 120.50, except that the term
“subject to the EAR” language should not be added anywhere in proposed ITAR § 120.50.

III.   “Activities that are not exports reexports, or transfers” Under the EAR and ITAR

       A.      Proposed EAR § 734.18

        Under proposed EAR § 734.18(a)(4), certain activities are excluded from the proposed
definitions of export, reexport and transfer, including:

       (4) sending, taking, or storing technology or software that is:

               (i) Unclassified;

               (ii) Secured using end-to-end encryption;

               (iii) Secured using cryptographic modules (hardware or software) compliant with
               Federal Information Processing Standards Publication 140-2 (FIPS 140-2) or its
               successors, . . . ., or other similarly effective means; and

               (iv) Not stored in a country listed in Country Group D:5 (see Supplement 1 to part
               740 of the EAR) or in the Russian Federation. (emphasis added).

The CEECR recommends that BIS clarify its intention that an electronic transmission (e.g., an e-
mail) which may transit a country in Country Group D:5 or in the Russian Federation, and which
otherwise meets the requirements of subsection (4), falls within the scope of activities that are
not exports, reexports, or transfers. Specifically, such electronic transmissions are not “stored”
in a country listed in Country Group D:5 or the Russian Federation. Thus, for example, a party
sending an email that contains technology subject to the EAR, using end-to-end encryption and
meeting the other requirements of subsection 4 can rely on such an electronic transmission not to
constitute an export, reexport or transfer provided the party does not know that the email server
is located in Country Group D:5 or in the Russian Federation.




                                          Page 6 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 63 of 99




       B.      Proposed ITAR § 120.52

        Under proposed ITAR § 120.52, certain activities are excluded from the proposed
definitions of export, reexport and transfer, including:

       (4) sending, taking, or storing technical data or software that is:

               (i)Unclassified;

               (ii) Secured using end-to-end encryption;

               (iii) Secured using cryptographic modules (hardware or software) compliant with
               Federal Information Processing Standards Publication 140-2 (FIPS 140-2) or its
               successors, supplemented by software implementation, cryptographic key
               management and other procedures and controls that are in accordance with
               guidance provided in current U.S. National Institute for Standards and
               Technology publications; and

               (iv) Not stored in a country proscribed in §126.1 of this subchapter or the Russian
               Federation. (emphasis added)

The CEECR recommends that DDTC clarify its intention that an electronic transmission (such as
an email) which may transit a country proscribed in §126.1 of this subchapter or the Russian
Federation, and which otherwise meets the requirements of subsection (4), falls within the scope
of activities that are not exports, reexports, or retransfers. Specifically, such electronic
transmissions are not “stored” in a country proscribed in §126.1 of this subchapter or the Russian
Federation. Thus, for example, a party sending an email that contains unclassified technical data,
using end-to-end encryption and meeting the other requirements of subsection 4 can rely on such
an electronic transmission not to constitute an export, reexport or transfer provided the party
does not know that the email server is located in a country proscribed in ITAR § 126.1 or in the
Russian Federation.

IV.    “Activities that are not ‘deemed reexports’” Under the EAR

       A.      The Term “Is Certain” in Proposed EAR § 734.20

       In the BIS Proposed Rule, proposed EAR § 734.20(a)(2) states that a “deemed reexport”
does not occur if an entity:

       [i]s certain that the foreign national’s most recent country of citizenship or permanent
       residency is that of a country to which export from the United States of the “technology”
       or “source code” at issue would be authorized by the EAR either under a license
       exception, or in situations where no license under the EAR would be required.”
       (emphasis added)




                                           Page 7 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 64 of 99




Significantly, the term “certain” is not defined in the current EAR or in the BIS Proposed Rule,
and as such, use of the term may cause confusion. Moreover, as a practical matter, it is not
generally possible for companies to achieve 100% certainty about the citizenship or residency
status of nationals of their own country, let alone dual or third country nationals.

        The CEECR does not believe that the intent of BIS was to set an impossibly high
standard or to create a strict liability standard under which a company may be found liable for
improperly reexporting to a dual/third country national even if the company reasonably relies on
ordinary identification documents, passports, visas, etc. to determine the nationality or residency
of an individual. However, if that was BIS’s intent, we do not believe that such a strict liability
standard is appropriate. Non-U.S. entities that receive controlled items and technology should be
allowed to use ordinary means of determining the citizenship or residency of an individual.
Requiring them to achieve “certainty” could effectively stifle cooperation with close allies
because it would make it far harder for companies inside close U.S. allies U.S. to collaborate
with U.S. companies on export-controlled projects, which collaboration it is a major objective of
export reform to promote.

       For the reasons discussed above, the CEECR recommends that the term “has knowledge”
be substituted for the term “is certain” in applicable places in proposed EAR § 734.20(a)(2).
The CEECR believes that the term “has knowledge” is more clear (and consistent with other
portions of the EAR) than the term “is certain” and is more in line with the objectives of BIS.

       B.      Proposed EAR §§ 734.20(b)-(c)

        Proposed subsections (b) and (c) of proposed EAR § 734.20 exclude from the concept of
“deemed reexport” other releases of technology or source code, by an entity outside the United
States, to foreign national employees, if the employee is a national only of a country in Country
Group A:5, or if certain specified clearances, screening measures or safeguards are in place. One
of the requirements for the subsection (b) and (c) exclusions from the concept of “deemed
reexport” is that the “release of ‘technology’ or ‘source code’ takes place entirely within the
physical territory” of a country in Country Group A:5, or the country in which the entity
releasing the technology or source code “is located, conducts official business, or operates.”

        Modern electronic communications often involve conduct falling within the definition of
“release” that occurs in more than one location. It will often be the case that a release of U.S.-
origin technology or software could be said to take place partially within the United States and
partially within the country in which the foreign person employee is located. In each case we
believe that it would be consistent with the purposes of these exceptions, and would make them
more practical and straightforward to apply, if the restriction on the location of the release also
included the physical territory of the United States. For these reasons, the CEECR proposes that
the words “or within the physical territory of the United States” be added at the end of each of
subsections (b)(4) and (c)(3) of proposed EAR § 734.20.




                                           Page 8 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 65 of 99




V.     “Knowledge” and “Violations” Under the June 3 Proposed Rules

       A.      Proposed EAR § 764.2(l)

        Under proposed EAR § 764.2(l), it is stated that the “release” or transfer of data security-
related information (e.g., decryption keys, network access codes, or passwords) “with
‘knowledge’ that the release will result, directly or indirectly, in an unauthorized export,
reexport, or transfer of the ‘technology’” will constitute a violation to the same extent as a
violation in connection with the export of the controlled “technology” or “software.” The
CEECR supports the inclusion of a knowledge qualifier in this proposed new CEECR of the
EAR.

        However, the CEECR notes that the terms “directly or indirectly” may be confusing
when speaking of decryption keys and access issues. This is because transferring or releasing an
encryption key or granting access is inherently only an indirect way to export technology or
software. Use of the term “indirect” here raises numerous questions, such as (a) whether failing
to secure all possible vulnerabilities against hackers (an impossibility) would in and of itself
constitute a violation (because there is knowledge that this could “indirectly” result something),
and (b) whether failing to properly train an employee who falls victim to a “phishing” attack is a
violation (because there is knowledge that a foreign national might “indirectly” use the attack to
steal export controlled technology or software). Accordingly, the CEECR proposes that the
terms “directly or indirectly” be deleted from proposed EAR § 764.2(l).

       B.      Inconsistency of Statements on “Knowledge” in the Preamble and the BIS
               Proposed Rule

        The BIS Proposed Rule indicates that the term “knowledge” within the definition of
“export” would limit the scope of the term “export.” However, in the preamble to the BIS
Proposed Rule, BIS raises the issue of whether a party that acts without “knowledge” may still
be guilty of violations. BIS states that the proposed rule would:

       Add text prohibiting the release or other transfer of information (e.g., decryption keys,
       passwords or access codes) with knowledge that such release or other transfer will result
       in an unauthorized export, reexport or transfer of other technology or software. This
       addition provides specific grounds for bringing charges with respect to one particular
       type of misconduct. However, existing EAR provisions, including the prohibition on
       causing, aiding or abetting a violation of the EAR or license, authorization or order could
       be used to bring charges for that same type of misconduct.

80 Fed. Reg. at 31513 (emphasis added).

        The CEECR is concerned that the underlined language above is in tension with the stated
intent to use a knowledge qualifier within the proposed definitions of “export” and “reexport” set
forth in the BIS Proposed Rule. The above language appears to say that the “same type of
conduct” that is not a violation because there is no “knowledge” of a transfer could nevertheless
be considered “causing, aiding or abetting a violation.” Our understanding is that BIS’s intention

                                           Page 9 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 66 of 99




was to say that “causing, aiding or abetting a violation of the EAR or license, authorization or
order could be used to bring charges for other or related conduct even if there is no “knowledge”
that a transfer will occur with respect to transfer of a particular technology or software.”
Accordingly, the CEECR requests that BIS provide clarification on this issue in the final rule.

       C.      Proposed ITAR §§ 127.1 (a)(6) and §127.1 (b)(4)

        The DDTC Proposed Rule would add two new subsections describing activities that
constitute violations of the ITAR.

       Proposed ITAR § 127.1(a)(6) would make it unlawful “to export, reexport, retransfer, or
       otherwise make available to the public technical data or software if such person has
       knowledge that the technical data or software was made publicly available without an
       authorization described in CEECR 120.11(b) of this subchapter. (emphasis added).

        In contrast, proposed ITAR § 127.1(b)(4) would make it unlawful “to release or transfer
       information, such as decryption keys, network access codes, or passwords that would
       allow access to other technical data in clear text or to software that will result, directly or
       indirectly, in an unauthorized export, reexport, or retransfer of the technical data in clear
       text or software. Violation of this provision will constitute a violation to the same extent
       as a violation in connection with the export of the controlled technical data or software.”
       (emphasis added)

       In proposed ITAR § 127.1(a)(6), DDTC does not penalize the act where an individual
exports/reexports/retransfers information obtained from a public resource, such as the Internet,
when such individual does not have knowledge that information is subject to ITAR. Rather,
DDTC criminalizes the act where the individual exports, reexports, transfers such information
with knowledge that it contains ITAR-controlled technical data or software which was made
publicly available without an authorization.

         However, proposed ITAR § 127.1(b)(4) does not similarly address those situations where
an individual acts with or without knowledge; but rather it equally penalizes both acts. As a
result, for example, an individual who provides (perhaps mistakenly) a network password to a
foreign person without knowledge that it will result in access to technical data, would be liable
for such acts – even when no actual export of ITAR-controlled technical data results.

        The strict liability approach taken in proposed ITAR § 127.1(b)(4) is inconsistent with
proposed ITAR § 127.1(a)(6) (which would result in no liability for mistaken acts, even though
an actual export of ITAR-controlled technical data would result). Proposed ITAR § 127.1(b)(4)
also would be inconsistent with proposed EAR § 764.2(1), which has a knowledge requirement
similar to that of ITAR § 127.1(a)(6). See discussion above in Section V.A.

                                           Page 10 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 67 of 99




       The CEECR urges DDTC to revise proposed ITAR § 127.1(b)(4) to be consistent with
proposed ITAR § 127.1(a)(6) in terms of including a knowledge or scienter requirement, which
also would be consistent with proposed EAR § 764.2(1). Specifically, we recommend that
proposed ITAR § 127.1(b)(4) be revised as follows to make it unlawful:

       “to release or transfer information, such as decryption keys, network access codes, or
       passwords with knowledge that such provision will result, directly or indirectly, in an
       unauthorized export, reexport, or retransfer of the technical data in clear text or
       software.”

        In addition, we propose that a safe harbor be created for instances in which the release or
transfer of decryption keys, network access codes, or passwords does not actually result in the
disclosure of technical data in clear text or software to a foreign person. We recommend that the
following language be added to create such a safe harbor:

       “Violation of this provision will be presumed to constitute a violation to the same extent
       as a violation in connection with the export of the controlled technical data or software
       unless the exporter can establish to the Department’s satisfaction that the release or
       transfer of the decryption keys, network access codes or passwords, did not result in
       the actual access to technical data in clear text or to software by a foreign person.”

VI.    “Required” and “Peculiarly Responsible” Under the BIS Proposed Rule

       A.      Proposed Definitions of “Required” and “Peculiarly Responsible”
               Under EAR § 772.1

       The BIS rule adds a definition to “required” stating that the term refers “only to that
portion of ‘technology’ and ‘software’ that is peculiarly responsible for achieving or exceeding
the controlled performance levels, characteristics or functions.” The BIS then defines
“peculiarly responsible” by using a catch and release technique employed under the “specially
designed” section of the EAR and ITAR.

       The CEECR believes that, due to the unique nature of technology and software, using the
“catch and release” technique is a both significant departure from the EAR’s General
Technology Note and an expansion of the controlled technology and software that will no longer
be based on the technology or software being responsible for achieving control parameters.

       The current EAR contain an element of causality in its definition of “required” in the
following example, which is maintained in the current proposed definition of required:

       For example, assume product “X” is controlled if it operates at or above 400 MHz
       and is not controlled if it operates below 400 MHz. If production technologies
       “A”, “B”, and “C” allow production at no more than 399 MHz, then technologies
       “A”, “B”, and “C” are not “required” to produce the controlled product “X”. If
       technologies “A”, “B”, “C”, “D”, and “E” are used together, a manufacturer can
       produce product “X” that operates at or above 400 MHz. In this example,

                                          Page 11 of 37
          Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 68 of 99




          technologies “D” and “E” are “required” to make the controlled product and are
          themselves controlled under the General Technology Note. (See the General
          Technology Note.)

       In other words, even though technologies A, B and C are used to produce controlled
product X, because they contribute nothing to making product X operate at or above 400 MHz –
the control level – they are not controlled. In other words, to use plain English,

          A, B and C are not “required” – they are not “wanted, needed or called for” to use the
          Webster’s definition4 -- to produce that characteristic;

          A, B and C are also not “peculiarly responsible” – they are not “exclusively”5
          “answerable as the primary cause motive or agent”6

        But if we use the new ‘catch and release” definition proposed for “peculiarly
responsible,” all three technologies are “caught” because they are “used in or for use in the
development, production or use” of the controlled item in question. And there is no guarantee
that they will be “released” under (b)(3)-(b)(6). The technologies/software may only be used in
or for use in the development or production the controlled item and not an EAR99 or AT-
controlled item that is in “production” – not because they cause the properties that are the reason
for the control – but simply because they are not used elsewhere. And as a lesser technology or
software, there may not be the design history or documentation necessary to meet the other
reasons for release. In short, the catch and release may result in over-control of the A, B and C
types of technology and software that are not important to the reasons for control, but just
happen to be for use in or for use in the development production or use of the controlled item.

        The CEECR believe that the technologies that the BIS seeks to control are those that can
usefully be thought of as a “but-for” cause of an item achieving a specified level or threshold of
performance. In the above-example, technologies “D" and “E” would qualify as “but-for” causes
of a product “X” operating at or above 400 MHz. The focus on the “but-for” causes of
performance is lost in the “catch and release” definition proposed for “peculiarly
responsible.” Whereas the use of a “but-for” cause approach would be far easier for exporters to
understand and implement, would result in a more intuitive and consistent definition
of “peculiarly response”, and would avoid extending the control to technologies for which there
would not appear to be a need or reason for control.

          It should also be noted, that, by eliminating the causal link between the

4
  Webster’s New International Dictionary of the English Language, 2117 (1942) (to “require” is “to
demand or exact as necessary or appropriate; hence, to want; to need; to call for…”) (hereinafter
“Webster’s”).
5
    Webster’s at 1801 (defining “peculiar” as an “exclusive property or privileged . . .”)
6
 Webster’s at 2124 (defining “responsible” as “answerable as the primary, cause, motive, or agent,
whether good or evil, creditable or chargeable with the result.”)


                                                Page 12 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 69 of 99




technology/software and the controlled commodity, the catch and release definition is changing
the definition from that found in the dictionary – and the Wassenaar Arrangement (which does
not define the term “peculiarly responsible”) to a very different definition found in neither the
dictionary nor the Wassenaar Arrangement.

        Put another way, just because a technology or software is used in or for a controlled item,
and is not used in or for a non-controlled item (according to the proposed “catch and release”
definition), does not mean that the technology or software is “wanted, needed or called for,” to
use the Webster’s definition of “required,” or “exclusively” “answerable as the primary cause
motive or agent,” to use the Webster’s definition of “peculiarly responsible” for making the item
controlled. In short, the proposed definition might well cause the United States to interpret the
term significantly differently the other Wassenaar Members.

        Finally, the CEECR respectfully submits that the catch and release principals of
“specially designed” are much more easily applied to parts, components, attachments and
accessories, then it is to technologies. Due to its nature, it is more difficult to determine which
technologies are used in different products, making the release part of the task particularly
difficult to apply in real life.

        In light of these concerns, the CEECR recommends that BIS omit the “catch and release”
definition of “peculiarly responsible” and allow exporters to continue to rely on the dictionary
definitions of “peculiarly responsible” and the A,B,C,D and E example provided in the
“required” definition.

VII.   “Required” Under the DDTC Proposed Rule

       A.      ITAR § 120.46

        The DDTC Proposed Rule adds proposed ITAR § 120.46, stating that the term “required”
refers “only to that portion of technical data that is peculiarly responsible for achieving or
exceeding the controlled performance levels, characteristics or functions.” There are several
recommendations that the CEECR wishes to make to this proposed definition of “required.”

        As an initial matter, the CEECR notes that proposed ITAR § 120.46 does not make
reference to “software.” Given that the definition of “required” under proposed EAR § 772.1
makes reference to both “technology” and “software,” we believe that the omission of the term
“software” in proposed ITAR § 120.46 was an inadvertent error on the part of DDTC.
Accordingly, the CEECR recommends that DDTC include the term “software” in the proposed
definition of “required” when final rule is issued.

       Second, for the same reason set forth above, the CEECR believes that DDTC should BIS
omit the “catch and release” definition of “peculiarly responsible” and allow exporters to
continue to rely on the dictionary definitions of “peculiarly responsible.”

      If DDTC continues to use the “catch and release” definition of “peculiarly responsible,”
however, the CEECR has the following suggestions.


                                           Page 13 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 70 of 99




        First, the CEECR believes that proposed Paragraph 5 to proposed Note 3 to paragraph (a)
of proposed ITAR § 120.46 should be revised. Proposed Note 3 to paragraph (a) to proposed
ITAR § 120.46 states that technical data is peculiarly responsible for achieving or exceeding
controlled performance levels, characteristics or functions “if it is used in or for use in the
development . . . , production . . . , operation, installation, maintenance, repair, overhaul, or
refurbishing of a defense article unless . . . 5. It was or is being developed for use in or with
general purpose commodities or software (i.e. with no knowledge that it would be for use in or
with a particular commodity)” (emphasis added).

        For consistency and clarity, the CEECR recommends that DDTC revise Paragraph 5 to
proposed Note 3 to paragraph (a) of proposed ITAR § 120.46 by substituting the phrase “defense
article” for the phrase “particular commodity.” There are several reasons why such action would
be beneficial.

        First, we note that DDTC’s primary interest is in regulation of technical data associated
with defense articles. Moreover, our understanding is that DDTC does not intend to use this note
to control technical data pertaining to general use commodities, even if there is knowledge of
which general use commodity it will be used with (i.e., a “particular commodity”).

        Second, the recommended change reconciles Note 3, paragraph 5 with Note 3, paragraph
4. Paragraph 4 excepts technical data that was, or is being, developed with knowledge that it is
for use in or with both defense articles and commodities not on the U.S. Munitions List. Without
some revision along the lines suggested here, paragraphs 5 could be read to carve out technical
data that was developed with knowledge that it would be used with both defense articles and
non-defense articles, while controlling technical data developed without knowledge that it would
be used with a defense article. This does not appear to be consistent with the DDTC’s concern
for regulating defense articles.

        Third, the recommended substitution harmonizes the Note 3 with the corresponding
proposed revisions to the EAR set forth in the BIS Proposed Rule relating to the proposed
definition for the term “peculiarly responsible” in proposed revisions to proposed EAR § 772.1.
Specifically, the BIS Proposed Rule carves out of the definition of “Peculiarly responsible”
various scenarios, including when an item “was or is being developed with ‘knowledge’ that it
would be for use in or with commodities or software described in … an ECCN controlled for
AT-only reasons and also EAR99 commodities or software….” (proposed EAR § 772.1,
“Peculiary responsible, subparagraph (6).) Commodities or software falling under ECCNs
controlled for reasons only of AT or under EAR99 are under less restrictive export controls than
other items that are “peculiarly responsible” for achieving controlled performance levels. Our
proposed recommendation relating to ITAR § 120.46, Note 3, paragraph 5 would render the
proposed term “required” consistent with the proposed EAR definition of “peculiarly
responsible” in this respect.

       B.      ITAR § 120.41

        We note that the proposed definition of “required” tracks with the ITAR’s existing
definition of “specially designed” (see ITAR § 120.41), and that the existing definition of
“specially designed” contains similarly unclear language in paragraph (b)(5), referring to “a

                                          Page 14 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 71 of 99




particular commodity (e.g., a F/A-18) or type of commodity (e.g., an aircraft or machine tool)”
when “a particular defense article (e.g., a F/A-18 or HMMWV) or type of defense article (e.g.,
an aircraft or machine tool).” It does not appear that there was any discussion of this aspect of
the definition of “specially designed” in the promulgation of CEECR 120.41. See 78 Fed. Reg.
22747 (Apr. 16, 2013). As such, we recommend that DDTC also revise the definition of
“specially designed” to substitute the words “particular defense article” for “particular
commodity” and “type of defense article” for “type of commodity in ITAR § 120.41(b)(5).

VIII. Proposed ITAR § 120.9 – “Defense Service”

       Under DDTC’s Proposed Rule, proposed ITAR § 120.9(a)(2) and its corresponding note
provide:

       (2) The furnishing of assistance (including training) to a foreign person (see
       § 120.16), whether in the United States or abroad, in the development of a defense
       article, or the integration of a defense article with any other item regardless of
       whether that item is subject to the ITAR or technical data is used;

       Note to paragraph (a)(2): ‘‘Integration’’ means any engineering analysis (see
       § 125.4(c)(5) of this subchapter) needed to unite a defense article and one or more
       items. Integration includes the introduction of software to enable operation of a
       defense article, and the determination during the design process of where an item
       will be installed (e.g., integration of a civil engine into a destroyer that requires
       changes or modifications to the destroyer in order for the civil engine to operate
       properly; not plug and play). Integration is distinct from ‘‘installation.’’
       Installation means the act of putting an item in its predetermined place without the
       use of technical data or any modifications to the defense article involved, other
       than to accommodate the fit of the item with the defense article (e.g., installing a
       dashboard radio into a military vehicle where no modifications (other than to
       accommodate the fit of the item) are made to the vehicle, and there is no use of
       technical data.). The ‘‘fit’’ of an item is defined by its ability to physically
       interface or connect with or become an integral part of another item.

80 Fed. Reg. at 31534 (emphasis added to highlight text of particular concern).

        Having reviewed the text of proposed ITAR § 120.9(a)(2) and the note thereto, as well as
DDTC’s responses to prior comments, we believe that DDTC’s conditioning the term
“installation” on there being “no use of technical data” is overbroad and could have significant
negative consequences across a number of industries. As discussed below, we believe the
proposed text of the Note has a number of drawbacks.

       Inconsistency Between Section 120.9(a)(2) and its Note. To begin with, there is
inconsistency between proposed ITAR § 120.9(a)(2) and its Note. The proposed text of Section
120.9(a)(2) defines “defense service” “regardless of whether . . . technical data is used.” The
corresponding note, however, then makes the use of any technical data dispositive with regard to
whether the service will be treated as “integration” rather than merely “installation” – apparently
even when limited to “fit.” Thus, the proposed rule and note read in conjunction are internally

                                          Page 15 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 72 of 99




inconsistent because, as proposed, the determination of whether a defense service is rendered is
not without regard to the use of technical data.

        Receipt / Use of Technical Data is Common and Often Necessary When Specially
Designing Components for Defense Articles. In addition, proposed ITAR § 120.9(a)(2) and its
Note fail to recognize that the receipt and use of technical data is common and often necessary
when specially designing components for defense articles. In the automotive, aerospace, and
maritime sectors, for example, it is common for defense contractors manufacturing military
platforms or their subsystems to contract with commercial suppliers for specific parts and
components. As is commonly known, the form factor of these parts and components often must
be modified in a variety of ways to fit the vehicle or aircraft, or an assembly thereof. Indeed, the
transfer of jurisdiction from DDTC to BIS over such “600 Series” items expressly acknowledges
this issue and has been a major goal and achievement of the ECRI.

         As part of the process of developing, modifying, and manufacturing commercial items
specially designed for use in defense articles, it is common and often necessary (though not
always the case) that the manufacturer of the platform will provide certain technical data
regarding the vehicle so the commercial component supplier can make appropriate modifications
to the component to ensure that the form factor of the component will allow it to “fit” the vehicle
– i.e., to physically interface or connect with or become an integral part of another item.

        Which technical data is shared with the component manufacturer is determined by the
vehicle manufacturer. In some cases, the vehicle manufacturer will provide very limited
technical data regarding only those vehicle systems into which the component must fit. In other
cases, the vehicle manufacturer might provide a broader range of data about the vehicle. In
relatively few cases, however, would a defense contractor provide no technical data to
component manufacturers that are specially designing components for a defense article.

        Our concern, therefore, is that registration as a manufacturer / exporter under the ITAR
and obtaining a Technical Assistance Agreement or other authorization under the ITAR would
be required in many (or even most cases) merely to modify a commercial item for installation
into a defense article – in addition to obtaining BIS authorization for export of the item.

         Proposed Rule Threatens to Undercut ECR By Requiring DDTC and BIS Licenses for
600 Series Items. Moreover, as written, proposed ITAR § 120.9(a)(2) and its Note threaten to
undercut the ECRI by in effect requiring both DDTC and BIS licenses for 600 Series Items.
This potential dual licensing (and registration) requirement is inconsistent with and threatens to
undercut what is a hallmark of the President’s ECRI. With due respect to differing perspectives,
if the intent were to transfer control over specially designed components of defense articles to
BIS but continue to regulate under the ITAR the process of component design and manufacture,
the very rationale of the reform is called into question from the standpoint of industry. In short,
we would urge great care in not allowing an (unintentionally) overbroad explanation of
“integration” to gut the significant and welcome efficiencies that the ECRI has promised and can
achieve. We note further that any such dual licensing is likely to be identified by foreign
customers who will seek foreign sources of supply to “engineer around the ITAR.”



                                           Page 16 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 73 of 99




        Modification / Engineering Analysis of the Defense Article Beyond Component “Fit” Is a
More Reasonable Basis for Control under section 120.9(a)(2), Not Whether Technical Data was
Provided or Relied Upon When Specially Designing the Component. Modification/engineering
analysis of the defense article beyond component “fit” is a more reasonable basis for control
under proposed ITAR § 120.9(a)(2), not whether technical data was provided or relied upon
when specially designing the component. Whether a defense service is deemed to be exported
would be more reasonably and objectively determined by the nature of the engineering analysis
or “integration” provided to the foreign recipient (i.e., the service), not the technical data
provided to or relied upon by the component manufacturer specially designing a commercial
item for “installation” into the defense article. We understand DDTC’s interest in asserting
control over major modifications to the military platform beyond “fit.” For the reasons set forth
above, however, we do not believe that modifications limited to “fit” – regardless of whether
technical data is used – should be controlled as a defense service.

        Introduction of Software Must Be “Required” for the Operation of a Defense Article to
Constitute A Defense Service. On a separate but related issue, the CEECR has concerns
regarding DDTC’s proposal to include in the definition of “integration” for purposes of the Note
the following text: “Integration includes the introduction of software to enable operation of a
defense article….” The language as proposed is significantly overbroad and should be revised.

         Numerous examples come to mind where introducing or installing software on a defense
article should not be controlled as a defense service – e.g., installing a commercial operating
system (such as Windows 10) on a Category XI defense article. The CEECR believes it would
be more appropriate to base the control of software introduction on whether the software
introduced and/or some unique feature of the installation itself is “required” for operation of the
defense article.

        We recommend that the introduction of the software must be “required” – i.e., “peculiarly
responsible for achieving or exceeding the controlled performance levels, characteristics, or
functions.” Using such a defined term also is preferable to the undefined term “enable” in that it
furthers the goal of consistency of interpretation across sections of the ITAR and the EAR.

        As discussed above under Part VII, the CEECR believes that DDTC and BIS should omit
the “catch and release” definition of “peculiarly responsible” and allow exporters to continue to
rely on the dictionary definitions of “peculiarly responsible.” Moreover, we urge DDTC to
revise the proposed definition of “required” in the ways discussed above under Part VII.

       DDTC Should Harmonize Proposed ITAR §§ 120.9(a)(1) & (a)(2) to Preserve
Distinction Between Installation and Integration. In its response to comments on the prior
proposed rules regarding ITAR §120.9, DDTC writes:

       The modifications of the ‘‘defense article’’ to accommodate the fit of the item to
       be integrated, which are within the activity covered by installation, are only those
       modifications to the ‘‘defense article’’ that allow the item to be placed in its
       predetermined location. Any modifications to the design of a ‘‘defense article’’
       are beyond the scope of installation. Additionally, while minor modifications may
       be made to a ‘‘defense article’’ without the activity being controlled under (a)(2)

                                           Page 17 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 74 of 99




       as an integration activity, all modifications of defense articles, regardless of
       sophistication, are activities controlled under (a)(1) if performed by someone with
       prior knowledge of U.S.-origin ‘‘technical data.’’

80 Fed. Reg. at 31531 (emphasis added to highlight text of particular concern).

        If DDTC intends to accept any of CEECR’s comments and suggested revisions to ITAR
§120.9(a)(2), then some harmonization is required to resolve the apparent trumping of subsection
(a)(2) by (a)(1), if the person performing the installation has prior knowledge of U.S.-origin
technical data. We believe this could be accomplished with additional clarifying language in the
Note to subsection (a)(2) and have suggested this below.

        In addition to our concerns about the impact on subsection (a)(2), the CEECR believes
that DDTC’s defining whether a defense service is rendered by virtue of whether an engineer has
knowledge of technical data is again overbroad. While we appreciate DDTC’s attempts to limit
in certain respects what type of technical data an engineer might have in her head that would rise
to the level of performing a defense service (e.g., technical data related to the same USML
category as the current project), we believe it remains overbroad and not as well defined as
industry would hope.

        Under the current proposed rule, an engineer who had prior knowledge of technical data
in Category XI could not perform any modification related to another Category XI item (even
mere installation) without having rendered a defense service. We need not remind you how
broad certain categories of the USML remain even after ECRI. We believe a more logical
approach would be break the defense service analysis into elements to look at several factors to
determine whether a defense service had been rendered, including for example, (1) knowledge
and (2) use of (3) U.S.-origin (4) technical data (5) “required” (6) to modify (among other types
of activities) (7) a defense article (8) beyond “installation” / “fit.”

        We do not mean to suggest that this is a perfect alternate formulation, but it illustrates
that the issue contains more facets than an engineer’s knowledge of technical data, which would
benefit from a more refined rule. We note that the proposed revision to the Note to proposed
subsection (a)(2) below does not alleviate this broader concern with (a)(1). It should, however,
reconcile the tension between the two provisions.

        Proposed Revision. For the reasons discussed above, the CEECR recommends that
DDTC revise the Note to paragraph (a)(2) of proposed ITAR § 120.9 as follows (deletions are
indicated with strike-throughs and additions are in small caps):

       Note to paragraph (a)(2): ‘‘Integration’’ means any engineering analysis (see
       § 125.4(c)(5) of this subchapter) needed to unite a defense article and one or more
       items. Integration includes the introduction of software to enable “required” for
       operation of a defense article, and the determination during the design process of
       where an item will be installed (e.g., integration of a civil engine into a destroyer
       that requires changes or modifications to the destroyer in order for the civil engine
       to operate properly; not plug and play). Integration is distinct from ‘‘installation.’’
       Installation means the act of putting an item in its predetermined place without the

                                           Page 18 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 75 of 99




       use of technical data or any modifications to the defense article involved, other
       than to accommodate the fit of the item with the defense article (e.g., installing a
       dashboard radio into a military vehicle where no modifications (other than to
       accommodate the fit of the item) are made to the vehicle, and there is no use of
       technical data.). The ‘‘fit’’ of an item is defined by its ability to physically
       interface or connect with or become an integral part of another item. ([S]ee
       § 120.41). A TRANSFER OF TECHNICAL DATA OR OTHERWISE HAVING KNOWLEDGE OF
       TECHNICAL DATA RELATED TO “FIT” OR PROVIDED FOR THE PURPOSE OF
       ACCOMMODATING THE “FIT” OF AN ITEM IN A DEFENSE ARTICLE IS NOT ITSELF
       SUFFICIENT TO ESTABLISH “INTEGRATION” (E.G., LIGHT ARMORED VEHICLE
       MANUFACTURER PROVIDES A STEERING COLUMN MANUFACTURER TECHNICAL DATA
       REGARDING THE VEHICLE OR ITS SUBSYSTEMS TO ENABLE MODIFICATIONS TO A
       COMMERCIAL STEERING COLUMN, BUT NO TECHNICAL DATA RELATED TO
       MODIFICATIONS TO THE VEHICLE (OTHER THAN TO ACCOMMODATE THE FIT OF THE
       STEERING COLUMN) ARE TRANSFERRED FROM THE STEERING COLUMN MANUFACTURER
       TO THE VEHICLE MANUFACTURER).

We believe that the suggested revisions above, including the addition of the last sentence, would
be a reasonable solution to accommodate industry’s concerns – yet still safeguard national
security interests.

        Manufacturing and Production Consulting Services. U.S. persons that are consultants in
specialized manufacturing and production optimization processes and techniques, such as Six
Sigma and Lean Manufacturing, are often asked by foreign manufacturers of defense articles to
provide consulting services in this area. The current definition of "defense services" is so broad
that such services are captured when the services are associated with the manufacture or
production of foreign defense articles.

        While the proposed changes to ITAR § 120.9(a)(1) removes the term "manufacture" from
the current definition and adds language attempting to limit the scope of "assistance" considered
to be a defense services, the proposed definition may still unintentionally capture Six Sigma or
Lean Manufacturing techniques associated with the production of a foreign defense article. For
example, it is possible that a U.S person who may have obtained some "knowledge of U.S. origin
technical data directly related to the defense article that is subject to the assistance, prior to the
performing of the service" in the foreign country. However, the mere knowledge of ITAR
controlled technical data should not be sufficient to capture a production-related consulting
service if the information conveyed is general in nature and does not change the technical
specifications or military characteristics of a foreign defense article. For example, a U.S. person
consultant may provide guidance to a foreign defense article manufacturer on how to optimize
workflows of a production line used to manufacture defense articles. Similarly, a U.S. person
consultant may recommend the use of a particular commercial-off-the-shelf adhesive in lieu of
the current one being used. In both cases, the services provided should not be considered a
defense service.




                                           Page 19 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 76 of 99




      As a result, we recommend that an additional note to paragraph (a) be included as an
example of an activity that is not a defense service:

         10. The furnishing of consulting services to a foreign person in the production
         of a foreign defense article, such as Six Sigma or Lean Manufacturing
         techniques, as long as the information conveyed does not rely on U.S. origin
         technical data and does not change the technical specifications or military
         characteristics of a foreign defense article.
        Absence of Comments on Other Aspects of Proposed ITAR § 120.9 Should Not Be
Viewed as CEECR’s Endorsement of Those Subsections. These comments primarily address
certain elements of proposed ITAR § 120.9(a)(2) and its Note. We urge DDTC, however, not to
infer from the lack of comments on other aspects of the rule that the CEECR endorses the rest of
the proposed rule. While this version of proposed ITAR § 120.9 represents a significant
improvement over prior proposed rules on defense services, the CEECR believes additional
thought should be dedicated to this section in particular, given the complexities associated with
controlling defense services. We would be happy to present additional comments to DDTC
regarding other concerns and opportunities for improvement of the proposed rule.

IX.    “Public Domain” Under the DDTC Proposed Rule

       A.      Public Domain-Related Assertions Relevant to Proposed ITAR § 120.11

        In the preamble to the DDTC Proposed Rule, DDTC asserts that a requirement to obtain
prior approval from DDTC or certain other U.S. Government agencies or officials before
technical data can be deemed to be in the public domain, even if it has already been released to
the public, is not a new requirement and is actually a currently existing requirement. The
CEECR disagrees with this assertion and urges DDTC to revisit the history of this issue, and
reconsider the proposed definition of Public Domain.

        As an initial matter, it is important to note that a previously written prior approval
requirement under the ITAR was repealed in 1984 due to First Amendment concerns. These
concerns were expressed to DDTC by the Department of Justice on three occasions in 1978,
1981 and 1984. In addition, in 1981, the U.S. Congress recommended to the State Department
that the ITAR be revised to avoid First Amendment issues.

        Additionally, in a review of court cases involving the Arms Export Control Act since that
time, DDTC has not asserted a prior approval requirement to put information into the public
domain. In one case from 1996 that is directly tied to this discussion, an exporter in 1994 filed
two commodity jurisdiction (CJ) requests. See Karn v. Dep’t. of State, 925 F. Supp. 1 (D.D.C.
1996). In the first request, the exporter requested a determination of a textbook that concerned
cryptography. The textbook included source code in print and on a diskette in an electronic text
file. The second CJ request held that the source code on the diskette was ITAR-controlled
software even though it was the identical source code that was printed in the textbook.

       Of importance here, even though the textbook in Karn admittedly contained information
required for the design, development, assembly, and manufacture of a defense article (i.e.,

                                          Page 20 of 37
        Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 77 of 99




technical data), DDTC held that the textbook was in the public domain. However, the textbook
was published prior to the CJ determination. There is no evidence that indicates prior approval
from the author or publisher of this textbook to place it into the public domain was sought or
granted by DDTC. Similar to all the “technical data” published in other textbooks, journals,
conferences, open meetings and on the Internet, it is doubtful that prior approval to publish the
textbook was sought or required by DDTC. If it believed that prior approval was required to
publish the book, DDTC did not articulate that view or, apparently, take steps to enforce it.

        Since that court case, we are unaware of any other publicly known claim from DDTC that
there is a prior approval requirement to put information into the public domain. Even in the
ongoing litigation in Defense Distributed v. Dep’t. of State,7 DDTC has taken the position that
“the regulations . . . carve out a wide exemption for ‘public domain’ data that helps ensure [the
ITAR’s] reach is appropriately limited. . . . For this reason, there is simply no substantial
overbreadth here.” Government Brief in Opposition at 22 (June 10, 2015).

        While we note, that as a legal matter, the definition of public domain relates to an
exclusion from the scope of the ITAR rather than an exemption from an otherwise subject ITAR
requirement, even DDTC admits in federal court that without a public domain exclusion there
would be constitutional issues under the First Amendment. If DDTC’s position is that there is a
prior approval requirement to use an exclusion, then there is no public domain exclusion at all.

        In addition, the CEECR notes with concern that DDTC’s assertion of a prior approval
requirement to use the public domain exclusion provided in the definition of “technical data” in
ITAR § 120.10(b) means that fundamental research performed by the academic and scientific
community at accredited institutions of higher learning in the United States requires prior
approval from the U.S. Government. It is difficult to imagine a scenario where DDTC’s asserted
prior approval requirement on academic and scientific speech by the university community
would survive First Amendment scrutiny.

        For all of the reasons discussed above, the CEECR urges DDTC revisit the history of this
issue, and reconsider the proposed definition of Public Domain and confirm there is no existing
prior approval requirement.

        B.      Proposed ITAR § 120.11(b)

        It is the CEECR’s view that proposed ITAR § 120.11(b), which relates to the prior
approval requirement to put information into the public domain discussed above, would amount
to an unconstitutional prior restraint. Moreover, even if the provisions set forth in proposed


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  While we have knowledge of this court case and DDTC’s May 8, 2013 letter to Defense Distributed
that implies a prior approval requirement, we note that this is legally insufficient to serve as legally
recognized public notice. DDTC’s private letter to Defense Distributed was not made public by DDTC
but by Defense Distributed. Further, we only have knowledge of the lawsuit that was filed in 2015,
because it was brought by Defense Distributed. DDTC has taken no action itself to make its material
interpretation of the law known to the public.

                                              Page 21 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 78 of 99




ITAR § 120.11(b) were content-neutral, the First Amendment still requires that the U.S.
Government establish specific procedural safeguards, and as written, the prior approval
requirement lacks such constitutionally required procedural safeguards. Accordingly, the
CEECR urges DDTC not to include proposed ITAR § 120.11(b) when issuing the final rule.

        The procedural safeguards required under the First Amendment to impose a lawful prior
restraint are: “(1) any restraint prior to judicial review can be imposed only for a specified brief
period during which the status quo must be maintained; (2) expeditious judicial review of that
decision must be available; and (3) the censor must bear the burden of going to court to suppress
the speech and must bear the burden of proof once in court.” FW/PBS, Inc. v. Dallas, 493 U.S.
215, 227-228 (1990).

         Here, the ITAR expressly exempts judicial review of approval and licensing decisions in
ITAR § 128.1, and it concedes that it is a “highly discretionary” system. Further, there are no
strict timelines for a licensing or approval determination to be made. Additionally, there is
added delay in receiving an approval because of the required Congressional notification under
Section 38(f) of the Arms Export Control Act. The AECA also expressly prohibits judicial
review of designations of items as on the U.S. Munitions List.

        Significantly, a federal court already has held that key aspects of the ITAR were an
unconstitutional prior restraint that failed to provide any procedural safeguards. See Bernstein v.
Dep’t. of State, 945 F. Supp 1279, 1289 (N.D. Cal. 1996). In that case, the court stated that
“[t]he ITAR scheme, a paradigm of standardless discretion, fails on every count, and further
noted that “[t]his. court finds nothing in the ITAR that places even minimal discretion of the
licensor and hence nothing to alleviate the danger of arbitrary or discriminatory licensing
decisions.” Id. at 1286. The federal court even drew attention to DDTC ignoring a discussion on
procedural safeguards in defending the lawsuit. Id. at 1286 (“[DDTC’s] arguments . . . are
notable for the conspicuous absence of discussion of the prior restraint doctrine ”).

       In light of the above precedent, and considering that proposed ITAR § 120.11(b) does not
provide the constitutionally required safeguards, the CEECR urges DDTC not to include
proposed ITAR § 120.11(b) when issuing the final rule.

       C.      Proposed ITAR § 120.11 – Note 1

        Note 1 to proposed ITAR § 120.11 makes no distinction between public domain and
restricted information, and as such, it can be read to require government authorization before
publishing, disseminating, or exporting any and all information. This is an undue burden that
would require submission to the U.S. Government of every journal article, speech, book, and
manuscript prior to any attempts to publish them. It would put undue liability on anyone who
receives such potential information as requiring proof that consent from the government was
obtained in order to publish said information, and there is no format or methodology given for
obtaining this consent. For all of these reasons, the CEECR recommends that DDTC not include
Note 1 to proposed ITAR § 120.11 when issuing the final rule.



                                           Page 22 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 79 of 99




       D.      Proposed ITAR § 120.6(b)(3)(iii)

        Proposed ITAR § 120.6(b)(3)(iii) states that items that “concern general scientific,
mathematical, or engineering principles commonly taught in schools . . .” are not defense articles
subject to the ITAR. The CEECR requests that the word “general” be deleted as it is not defined
and could limit what is covered to only entry-level courses as opposed to a broad range of
scientific instruction.

         Significantly, courts have held that only information “significantly and directly related to
defense articles” are subject to the ITAR. See United States v. Edler Industries, 579 F. 2d 516
(9th Cir. 1978). It is hard to imagine that any scientific, mathematical, or engineering principles
commonly taught in schools is “significantly and directly related to” a defense article. Thus, by
only excluding “general” information that is commonly taught in this academic context rather
than any information commonly taught in this academic context, proposed ITAR § 120.6(b)(iii)
fails to follow the holding of Edler.

DDTC is already on the public record that it maintains such a narrow construction:

       In recent years, some parts of the academic community have expressed concern
       about the application of government export regulations to disclosures of
       information in university classrooms. This concern (for example, that the
       language of the ITAR was overly broad) did not occur because of any changes in
       the text of the ITAR, or in the policies and practices of the Department of State in
       administering the regulations. In order to address the concerns expressed about
       the regulations, however, the language with regard to what information is subject
       to ITAR controls has been clarified. The Department's long-standing practice of
       regulating only information that is directly related to defense articles, as reflected
       in U.S. v. Edler, 579 F. 2d 516 (9th Cir. 1978), remains unchanged. See 49 Fed.
       Reg. 47,683 (Dec. 6, 1984).

For all of the reasons discussed above, the CEECR urges DDTC to delete the word “general”
from proposed ITAR § 120.6(b)(iii) in accordance with DDTC’s long-standing adherence to only
controlling technical data that is significant and directly related to a defense article.

        In addition, the CEECR notes that the lack of a definition of the term “directly related”
under the ITAR is problematic. As a matter of law, the AECA only provides the legal authority
to control defense services (as defined by ITAR § 120.9), software (as defined by ITAR §
120.45), and technical data (as defined by ITAR § 120.10) that are directly related to a defense
article. Therefore, defense services, software, or technical data that are not “directly related” to a
defense article are not controlled on the USML, and items not controlled on the USML are not
subject to the statutory authorities under the AECA. As such, the “directly related” requirement
is a material qualifier. The ABA further notes that the only control criteria on software is for
software directly related to a defense article, which in the absence of a definition will result in
different understandings within government and industry.



                                           Page 23 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 80 of 99




        Although DDTC is now proposing a definition of “required” under proposed ITAR §
120.46, the CEECR notes that the AECA is limited to only controlling defense services, software
and technical data that are “significant and directly related to defense articles” as required by the
narrowing construction in United States v. Edler. While DDTC is satisfying the first limitation
with a definition of “required,” it is not defining the second limitation of what “directly related”
means. Further, as proposed, there would be no means to know what constitutes software
“directly related” to a defense article.

       For all of these reasons, the CEECR recommends that the meaning of “directly related”
be defined by DDTC to ensure common understanding within industry and the government as to
what constitutes a defense service, technical data, or software that is “directly related” to a
defense article.

       E.      Proposed ITAR § 120.47 and Proposed ITAR § 120.49

        The proposed definition of “development” in proposed ITAR § 120.47 and its distinction
from “fundamental research” under proposed ITAR §120.49(c) needlessly restricts research.
“Fundamental research” often involves activities included in the proposed definition of
“development” such as design research, design analysis, and testing of prototypes to conclude
whether a hypothesis being testing is correct. For example, it is often necessary to build some
sort of prototype to determine if calculations in engineering and mathematics match a real-world
application. Such activities should not be considered “development” since they are simply forms
of testing that many research institutions perform. In view of this fact, the CEECR urges that
such activities should be stricken from the definition of “development” in proposed ITAR §
120.47.

          The definition of “fundamental research” under proposed ITAR § 120.49(c) includes the
phrase “this is distinguished from . . . industrial development.” The term “industrial” is not
defined, but if it is taken as the definition of “development” in proposed ITAR § 120.47, such
interpretation could lead to unintended consequences, such as potentially hampering the
advancement of science and technology being made at universities. Also, such interpretation
would conflict with proposed ITAR § 120.49(c)(2)(ii)(Applied Research definition), which
includes the effort that, in part, “attempts to determine and exploit potential scientific discoveries
. . .,” because an amount of development is often required to ensure that sound theories and good
ideas can be put into practice. As such, the CEECR urges that DDTC strike the word
“development” from proposed ITAR § 120.49(c) and expand the definition of “applied research”
under proposed ITAR § 120.49(c)(2) to include development within the context of fundamental
research that is intended for publication.

X.     “Fundamental Research” Under the BIS Proposed Rule

       A.      Proposed EAR § 734.3(b)(3)(iii)

       Proposed EAR § 734.3(b)(3)(iii) states that information and software that “concern
general scientific, mathematical, or engineering principles commonly taught in schools . . .” are
not subject to the EAR. For the same reasons discussed above under CEECR VII.D, the CEECR

                                           Page 24 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 81 of 99




urges that the word “general” be deleted from proposed EAR § 734.3(b)(iii) since that word is
not defined and could limit what is covered to only entry-level courses as opposed to a broad
range of scientific instruction.

       B.      Proposed EAR § 734.8(b) – Note 2

        Proposed revised EAR § 734.8 concerns technology that arises during, or results from,
fundamental research, and excludes certain such technology from the scope of the EAR if certain
conditions are met (e.g., intended to be published). As written, Proposed Note 2 to paragraph (b)
could cause a requirement to renegotiate many government contracts held with universities and
any companies that engage in fundamental research in an attempt to remove the clause lest the
status of research as fundamental be challenged, creating unnecessary and undue burdens on
researchers.

        In contrast, proposed Note 2 to proposed ITAR § 120.49(b)is preferable to Proposed Note
2 to proposed EAR § 734.8(b). Proposed Note 2 to proposed ITAR § 120.49(b) states:
“Research that is voluntarily subject to U.S. government prepublication review is considered
intended to be published for all releases consistent with any resulting controls.” This is
interpreted to mean that prepublication review does not necessarily impede a fundamental
research designation.

       For all of the reasons discussed above, and to promote consistency between the ITAR and
the EAR, the CEECR recommends that the same or similar language to that contained in
proposed Note 2 to proposed ITAR § 120.49(b) be used in Proposed Note 2 to proposed EAR §
734.8(b).

       C.      Proposed EAR § 734.8(c)

        Proposed EAR § 734.8 does not explicitly state that software resulting from fundamental
research is “not subject to the EAR.” This is in stark contrast to the way in which software is
treated under current EAR § 734.8. The CEECR proposes that language should be added to
Proposed EAR § 734.8 that explicitly states that software resulting from fundamental research is
“not subject to EAR.”

        Another key concept from existing EAR § 734.8 also is omitted from proposed EAR §
734.8. Specifically, current EAR § 734.8(b)(1) contains the phrase “research conducted by
scientists, engineers, or students at a university normally will be considered fundamental
research,” but proposed EAR § 734.8(c) is missing this phrase. The CEECR recommends that
this language from current EAR § 734.8(b)(1) be included in proposed EAR § 734.8(c). We
believe that this wording should be carried to the proposed rules to make clear what is covered.




                                          Page 25 of 37
          Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 82 of 99




XI.       Issues Relating to the BIS May 20, 2015 Wassenaar Arrangement Implementation
          Rule Proposed Rule

              A.   Timing of Final Rule Implementation

        If the effective date for the final rule relating to the Wassenaar Arrangement
Implementation Rule is scheduled to be on or shortly after the final rule’s publication date, the
CEECR believes that there are serious risks that such an abrupt start to the rule will disrupt
existing contracts for “cybersecurity items” and will put the parties thereto in immediate non-
compliance with the rule. As explained below, the CEECR recommends that BIS establish the
effective date of the final rule to be at least six months later than the final rule’s publication date.

        As proposed, the Wassenaar Arrangement Implementation Rule will apply to an
unknown and potentially large number of items “not previously designated for export control.”
In the preamble to the May 20 Proposed Rule, BIS acknowledges that the new cybersecurity
controls will apply export controls, and impose license requirements, on items not previously
controlled by the EAR or items that previously were eligible for License Exception ENC. As
BIS explains:

          “Although these cybersecurity capabilities8 were not previously designated for export
          control, many of these items have been controlled for their ‘information security’
          functionality, including encryption and cryptanalysis.”9

        However, neither the preamble nor the proposed rule itself addresses how BIS will bring
the final rule into effect (i.e., whether the publication date of the final rule will be the same as its
effective date).

8
  The “cybersecurity capabilities” refers to preceding sentences where BIS identifies the following as
“cybersecurity items”:

          “systems, equipment or components specially designed for the generation, operation or delivery
          of, or communication with, intrusion software”;
          “software specially designed or modified for the development or production of such systems,
          equipment, or components”;
          “software specially designed for the generation, operation or delivery of, or communication with,
          intrusion software”;
          “technology required for the development of intrusion software”;
          “Internet Protocol (IP) network communications surveillance systems or equipment and
          test, inspection, production equipment, specially designed components therefor”; and
          “development and production software and technology therefor”.

See 80 Fed. Reg. at 28853 (emphases added).

9
    See id.

                                               Page 26 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 83 of 99




        On May 20, 2015, when BIS issued the Wassenaar Arrangement Implementation Rule,
many U.S. firms may have been under contract (and perhaps multiple contracts) to export,
reexport or transfer “cybersecurity items” that had not previously been designated for export
control. Similarly, universities conducting “fundamental research” and development of
technologies for commercialization will probably have had ongoing faculty/student research
teams engaged in activities that, under the final rule, may constitute the export, reexport or
transfer of “cybersecurity capabilities” not previously designated for export control.

        Furthermore, between the proposal date and the final rule’s publication date, additional
U.S. persons will probably have entered into such contracts or will soon do so, especially in light
of the fact that there has not been extensive media reportage about the proposed rule. Numerous
U.S. persons that transact in “cybersecurity items” are probably still unaware of the proposed
rule, and even those aware of it may not have been briefed by counsel on the compliance
obligations that will arise when the rule is adopted and comes into effect.

        If the final rule becomes effective immediately, many “U.S. persons”, as defined in
Section 772.1 of the EAR, will be at risk of failing to comply with the final rule when it comes
into effect. We think such noncompliance will be the result for several reasons.

        First, U.S. persons will have pre-existing contractual obligations to export, reexport or
transfer “cybersecurity items” that will be newly designated for export control and subject to
license requirements. Many such persons may have little, if any, awareness of the proposed rule
and be unaware of the risks that the final rule may pose to their existing and contemplated
contracts for “cybersecurity items” or to their internal research and development programs
involving “cybersecurity items.”

       With respect to contracts for “cybersecurity items” that will not, by their own terms,
terminate before the final rule’s effective date (“Subject Contracts”), certain U.S. parties to these
Subject Contracts will find themselves in a double-bind on the effective date: immediate
compliance with the rule will require them to take actions that may, when taken, put them in
material breach of the relevant Subject Contracts.

        Parties to Subject Contracts (and their officers and directors) who are unaware of the
proposed rule or unaware of the compliance obligations that the final rule will impose on their
enterprises and dealings will have had no reason or opportunity to negotiate and structure such
contracts in order to avert the double-bind of duties to comply with the final rule and obligations
to complete performance of their Subject Contracts.

        Few, if any, of the existing Subject Contracts are likely to contain provisions that
condition the parties’ export, reexport or transfer obligations on compliance with the final rule.
Moreover, the scope and terms of the final rule may differ substantively in crucial details from
the proposed rule. As a result, until the final rule is published by BIS, the officers and directors
of such enterprises engaged in Subject Contracts will have no reliable knowledge of the final
rule’s scope and terms. Without knowledge of the precise scope and terms of the final rule, it is
not practicable for parties to Subject Contracts to negotiate provisions to address that rule. For

                                           Page 27 of 37
        Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 84 of 99




the same reasons, counsel cannot competently advise clients on ways to address the yet-to-be
disclosed version of the final rule in a Subject Contract.

        Boilerplate provisions in commercial contracts might mitigate some of the transactional
risks, but will probably not adequately address them or control them within the limits of a
corporate client’s tolerance of risks. A typical boilerplate provision that obligates all parties to a
contract to “comply with all applicable U.S. export control laws and regulations”, if included in a
Subject Contract, would probably not avert the risks posed by the final rule coming into effect on
or very soon after its date of publication by BIS. Similarly, a typical force majeure or event of
excusable delay clause will not sufficiently reduce such risks, particularly in states (such as New
York) whose courts tend to construe force majeure clauses narrowly.

         Second, the final rule will impose broad licensing obligations on the export, reexport or
transfer of “cybersecurity items” that were previously designated as EAR 99 or eligible for
License Exception ENC. As a result, and because there are no license exceptions for
intracompany transfers, end users or end uses, or deemed exports,10 many U.S. companies and
research organizations will be required to obtain licenses to be in compliance with the final rule
as of its effective date. However, prior to the publication of the final rule, it will not be possible
for U.S. persons affected by the rule to identify with certainty all the instances in which a license
will be required.

        Moreover, once the final rule is published, U.S. persons who engage in exports of
“cybersecurity items” will need to spend considerable time and resources to identify situations in
which licenses are required as well as prepare, submit and receive such licenses. In order to
obtain the necessary licenses, there must be ample time between the publication of the final rule
and its effective date to allow U.S. persons to assess the need for, apply for and receive the
licenses required under the final rule. For companies that engage in exports of, or that design
and develop “cybersecurity items” (and whose engineering staff may include foreign nationals),
there may be a need to apply for and obtain multiple licenses. Without sufficient time to do so
after the final rule is published, such companies will be unable to comply with applicable license
requirements without bringing certain aspects of their business organization to a halt. This, of
course, could disrupt contractual relationships and impose financial hardship, especially on small
businesses.

        As discussed above, the less time there is between the publication of the final rule and its
effective date, the greater will be the risk that U.S. persons affected by the final rule will be
abruptly and detrimentally confronted by their duties to comply with the final rule and their
commitments to complete existing contractual obligations or ongoing research programs.

        The CEECR respectfully recommends that BIS establish the effective date of the final
rule to be at least six months later than the final rule’s publication date.



10
   See BIS’s FAQs on Intrusion and Surveillance Items posted by BIS at http://www.bis.doc.gov/index.php/policy-
guidance/faqs.

                                                Page 28 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 85 of 99




        A minimum of a six-month interval between publication and effective date is necessary
in order for there to be sufficient time to come into compliance with the final rule. During this
interval, we expect the following activities to occur:

       1. U.S. persons impacted by the rule will be briefed by counsel on the scope, terms, and
          significance of the final rule;

       2. Counsel and compliance officers will advise clients on compliance duties under the
          final rule, the risks of non-compliance, and the appropriate changes to export
          compliance programs, including training, an activity that will require significant time
          due to the proposed rule’s complexity;

       3. U.S. persons impacted by the rule will review existing and contemplated Subject
          Contracts to identify which existing contractual obligations may conflict with
          compliance obligations under the final rule and take appropriate actions, such as
          negotiating and executing amendments to existing Subject Contracts to avert the risk
          of non-compliance with the final rule while, at the same time, fulfilling contractual
          obligations; and

       4. U.S. persons impacted by the rule will survey their business or research operations to
          identify the need for licenses and, if needed, will prepare, submit and wait to receive
          such licenses.

        The CEECR believes that a six-month delay, at a minimum, between the publication date
of the final rule and its effective date is necessary for U.S. persons affected by the rule to comply
with their obligations under the final rule without undue hardship and the risk of substantial
disruption to their business and research operations.

        B.      Obligations Prior to the Effective Date

        The CEECR believes that companies and their counsel will be concerned about the
obligations that U.S. persons may have for “cybersecurity items” that they exported, reexported,
or transferred prior to the effective date of the final rule.

       In particular, they will need to know the legal status of “cybersecurity items” not
previously designated for export control that foreign nationals received or gained access to
before adoption of the final rule. Similarly, they will need to know whether pre-rule “deemed
exports” of such “cybersecurity items” trigger any obligations by the exporter to recapture or
recover such items from the foreign national recipients.

       The CEECR recommends that BIS consider issuing guidance (perhaps in the form of
additional FAQs) that would address the status of pre-rule exported “cybersecurity items” and
the compliance duties of exporters and recipients of such items – where such items have not
previously been designated for export control.



                                           Page 29 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 86 of 99




        C.      Exporter's Knowledge

        In the preamble to the May 20 Proposed Rule, it states that the “EAR also prohibits the
export of equipment if the exporter intends it will be combined with other equipment to comprise
a system described in the new entry.” 80 Fed. Reg. at 28854 (emphasis added). While this
statement suggests that only the exporter’s intent matters, elsewhere in the proposed rule, it
indicates that violations also can result from what the exporter knows that the recipient intends to
do with the item. For example, in the proposed text for revisions to ECCN 5A001 (at 80 Fed.
Reg. 28661), the language reads:

       “[S]uch equipment may not be sold separately with knowledge that it will be combined
       with other equipment to comprise a system described in the new paragraph.” (Emphasis
       added.)

This language makes clear that the exporter’s “knowledge” is the key factor.

        It is the CEECR’s belief that emphasis on an exporter’s knowledge” is consistent with an
exporter’s duty to determine if the export recipient or end-user intends to make prohibited or
unlicensed use of the controlled item and should be emphasized by BIS. Accordingly, assuming
that this view of the CEECR is accurate, the CEECR recommends that BIS clarify (in the
preamble to any final rule that is issued) that an exporter’s knowledge is critical to determining
whether a violation may or may not have occurred if an export recipient or end-user combines an
item with other equipment to comprise a new controlled system.

        D.      Proposed EAR § 742.6(b)(5)

       Proposed EAR 742.6(b)(5) defines “foreign commercial partner” to mean:

       a foreign-based non-governmental end-user that has a business need to share the
       proprietary information of the U.S. company and is contractually bound to the U.S.
       company (e.g., has an established pattern of continuing or recurring contractual
       relations).

80 Fed. Reg. 28858 (emphasis added). As discussed below, the CEECR is concerned that each
of the three underlined terms in the above definition could encourage export practices that are
not intended by BIS and that would be contrary to the objectives of the EAR.

        The term “business need” is not defined in the May 20 Proposed Rule or elsewhere in
the EAR. Every activity of a business can be characterized as a “business need” when its owners
or operators perceive an apparent benefit to doing so. In fact, there is little that a company
cannot characterize as a “business need” if doing so will benefit the company. As a result, the
term “business need” may be interpreted by exporters and export recipients so expansively as to
render it applicable to almost any activity of a business. Such interpretations could easily reduce
to a meaningless and thus irrelevant term an otherwise important requirement for an export
recipient to qualify as a “foreign business partner.” Exporters would be encouraged to accept
any claim of a “business need” by the prospective end-user.

                                           Page 30 of 37
        Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 87 of 99




        There appears to be an error in using the verb “to share” as the operative term in the
requirement that an end-user have “a business need to “share” the proprietary information of the
U.S. company.” As used in that context, “share” conveys the sense that the end-user must have
a business need to disclose the exporter’s proprietary information to third parties. That meaning,
of course, misdirects the criteria from what we think BIS intended, namely that the end-user
represent (and the exporter verify) that the end-user has a genuine business need that will be
served if the exporter will be permitted (by an export license) to disclose the U.S. company’s
proprietary data to the end-user. Unless corrected, such error will confuse exporters and may
cause BIS to reject applications for licenses that fail to meet the criteria that BIS intends to
establish.

       The criteria for an end-user to qualify as a “foreign business partner” include the
additional prong or requirement that the end-user “be contractually bound to the U.S.
company.” However, there is nothing in the words – or in the context of the definition – that
delimits what kind of contractual relationship will qualify as necessary and sufficient to meet the
requirement.

        There is also no suggestion that the relevant contract(s) must relate to the proposed export
of “cybersecurity items” that is the subject of the exporter’s license application. Experienced
counsel can reasonably infer that BIS intends there to be a relationship between the required
exporter/end-user contract and the proposed export of “cybersecurity items”. However, in a
definition of this importance the objectives of the proposed rule would be far better served if
exporters were not left to guess at the meaning of the requirement that the end-user be
“contractually bound to the U.S. company” nor that their legal counsel be constrained to infer
such meaning without reliable guidance from the text of the rule, other provisions in the EAR, or
interpretations issued by BIS in the published rule or the relevant FAQs.

        BIS appears to have foreseen the need for clarification of the phrase “contractually bound
to the U.S. company” as evidenced by BIS’s insertion of an elucidating example in the
parenthetical phrase that ends the definition:

        “(e.g., has an established pattern of continuing or recurring contractual relations).”

        However, in the vernacular of commercial or corporate transactions (and in the legal
jargon applied to them), parties seldom, if ever, refer in contracts, agreements, or correspondence
to an intention to “establish a pattern of continuing or recurring contractual relations”. Thus,
there is no familiar use of that phrase or a context in which it can be set that would make it
susceptible of a reliable interpretation.11 Moreover, whatever is meant by a “pattern . . . of

11
   Moreover, the term “pattern” when it serves as an operable term in laws tends to appear in litigation
contexts (e.g., “fact pattern”) and in criminal law contexts (e.g., in the definition of a RICO claim where a
plaintiff or prosecutor must, among things, prove a “pattern of racketeering”). [Continued on next page]




                                              Page 31 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 88 of 99




contractual relations” fails to illuminate the criteria that must be met to qualify the parties as
“contractually bound.”

        Moreover, we think that the parenthetical introduces an unintended ambiguity: the
example of “contractually bound” that it gives refers to multiple contracts (“recurring
contractual relations”) and, in the alternative, to seemingly multi-year contracts that precede
the submittal of the license application and that will extend for some indefinite period, possibly
beyond the proposed export transaction (“continuing contractual relations”). In either event,
the requirement ends with the word “relations” in the plural.

        As a result, it is unclear whether BIS intends the example to be a limiting illustration –
thereby requiring evidence that the exporter and end-user are “bound” or engaged in multiple
contracts (whether “recurring” or “continuing”) -- or whether BIS intends instead that the
parenthetical not be a limiting example and that even one contract between the exporter and end-
user will suffice. The ambiguity has an additional layer: it is unclear whether “contractually
bound” requires that the proposed export be the subject of or covered by such contract(s). The
members of the CEECR could not reach consensus on how to interpret the parenthetical
example, which seems to suggest that the example is indeed ambiguous and that it is open to
quite divergent, and possibly irreconcilable, interpretations.

       In order to address the potential problems discussed above, the CEECR recommends that
BIS revise the term “foreign business partner” by using the following language for the note to
EAR § 742.6(b)(5):


         “Note to paragraph (b)(5): A ‘foreign business counter-party’ 12 means a
         foreign based non-governmental end-user that has entered into, or proposes in
         writing to enter into, one or more contracts with a U.S. company and who
         takes appropriate actions to safeguard “cybersecurity items” to prevent the
         unauthorized or unlicensed reexport or transfer of such information (and
         include in such safeguards sufficient cybersecurity measures to prevent
         intrusions and exfiltration by insiders and outsiders).”




[Continued from Footnote 11 on page 31] Such usages are unhelpful aids to interpreting the meaning of
the proposed rule’s phrase “an established pattern of continuing or recurring contractual relations”.
12
   We note that the term “partner” denotes a legal relationship that most commercial and corporate
transactions do not create and that use of the term “partner” (which can denote “partnership” or denote
“counterparty”) will not improve the export control of “cybersecurity items.” For this reason, we
recommend that BIS replace the term “partner” with “counter-party”, which would suggest a contractual
relationship and allow for the definition to delimit its meaning.

                                            Page 32 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 89 of 99




        E.      Licensing Policy for “Cybersecurity Items”

       Under the proposed licensing policy set forth under the May 20 Proposed Rule, an
application for export license would be “reviewed favorably” when the relevant export is
destined for a U.S. company’s subsidiary located in a Country Group A:5 country such as South
Korea.

        The CEECR is concerned by the distinction that the proposed licensing policy attempts to
draw between U.S. company subsidiaries located in a Country Group A:5 country and companies
located in the same country but owned instead by nationals of that Country Group A:5 country.
The distinction appears to treat license applications differently where there may not be, in fact, a
significant or sufficient difference to warrant not viewing favorably the application for export to
a company located in and owned by nationals of the Country Group A:5 country.

       We are also concerned by the distinction that the proposed licensing policy attempts to
draw between “foreign commercial partners” located in a Country Group A:5 country and a
company located in and owned by nationals of the same Country Group A:5 country.
    If BIS does not modify the “foreign commercial partner” category, then the policy would
draw a distinction that would not necessarily serve the aims of the proposed rule. The policy
would discriminate in favor of, for example, South Korean companies that manage to enter into
multiple contracts with a U.S. exporter and to discriminate against South Korean companies that
are seeking for the first time to be end-user recipients or seeking to enter into a commercial
contract or corporate transaction for the first time with a particular U.S. exporter. Note the
commercially disadvantageous consequences of a licensing policy that draws such distinction:

       A highly reliable South Korean company (with a demonstrable record of respecting and
       complying with U.S. export controls in multiple contracts with several different U.S.
       companies) is the identified end-user in a license application submitted by an exporter
       who has not previously transacted with the South Korean company. Such an application
       would not qualify to be “reviewed favorably”, even though the proposed end-user might
       be far more reliable an end-user (as measured by its export compliance policies,
       practices, and record) than a South Korean company that happens to have restricted its
       multiple transactions to one U.S. exporter (and thus might qualify as a “foreign
       commercial partner”).

       A prospective joint venture or merger or acquisition between a U.S. company and a South
       Korean company would involve proposed exports or transfers of “cybersecurity items”
       from the U.S. company to the South Korean party to the venture or corporate transaction.
       The parties may not have previously engaged in commercial transactions involving
       licensed exports. However, the South Korean company may have all of the qualifications
       mentioned in the preceding bullet point.

    We think in both of the above-described examples the proposed licensing policy would
create unnecessary obstacles to cross-border commercial and corporate transactions that the U.S.
government presumably wants to encourage. Such costly hindrances could be averted by a
tightly focused revision to the licensing policy.

                                          Page 33 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 90 of 99




   In order to address such potential problems, the CEECR respectfully recommends that BIS
adopt the following revision to the proposed licensing policy for “cybersecurity items:”

           To the categories of license applications that would be “reviewed favorably”, add a
           new category that would cover proposed exports of “cybersecurity items” to qualified
           trustworthy end-users located in Country Group A:5 countries (or a subset of such
           countries with whose companies it is U.S. policy to encourage transactions).

           The recommended new category would be defined as set forth in the bold text in the
           following excerpt of BIS’ proposed description of its licensing policy:

           “Applications for exports, reexports and transfers for cybersecurity items …
           controlled for RS will be reviewed favorably if destined to … ‘foreign commercial
           partners’ located in Country Group A:5, demonstrably qualified end-users located
           in Country Group A:5, . . .”

           Add a note, immediately after the proposed Note to paragraph (b)(5), which would
           state:

           “Additional Note to paragraph (b)(5): A ‘demonstrably qualified end-user’ means a
           nongovernmental end-user, based in a Country Group A:5 country, that meets the
           following criteria: the end-user must either (i) have a record of compliance with
           U.S. export control laws and regulations or (ii) have provided the applicant with
           evidence that it has adopted and implemented cybersecurity and export compliance
           plans reasonably designed to avert unauthorized or unlicensed reexports or transfers
           (in country).”.

           The note should, of course, include a comparable requirement contained at the end of
           the existing note to paragraph (b)(5), namely the requirement for an explanatory letter
           that explains:

           “how the end-user meets the criteria of a ‘demonstrably qualified end-user’ located
           in a Country Group A:5 state and how the end-user will safeguard the items from
           unauthorized transfers (in-country) and reexports.”

        This recommendation to add a category for license applications for exports destined to
“qualified end-users in a Country Group A:5 country” would, of perforce, provide that such
applications are subject to the same precautions that the proposed policy applies to applications
for exports destined to “foreign business partners”: a case-by-case review to determine if the
transaction “is contrary to the national security or foreign policy interests of the United States”; a
“focused case-by-case review for reasons of Encryption Items (EI) control” if any “information
security” functionality is incorporated in the cybersecurity item that is the subject of the license
application; and, a presumptive denial if such items “have or support rootkit or zero-day exploit
capabilities.”




                                           Page 34 of 37
           Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 91 of 99




           F.      Proposed EAR § 748.8(z)(1)(iii)(C)

         Proposed EAR § 748.8(z)(1)(iii)(C) sets forth a requirement for an applicant’s
explanatory letter when the “cybersecurity items” for which an export license is applied have
“not been previously classified or included in a license application . . .”13 In that context, it is
clearly important to the export control of intrusion technologies that BIS be informed by the
applicant when the items proposed for export incorporate the highly sensitive technologies of
“rootkit or zero-day exploit functionality.” However, when the items for which an export license
is applied merely “relate” to “intrusion software” (which itself is not controlled by the proposed
rule14), the license applicant should not be required to “describe how rootkit or zero-day exploit
functionality is precluded from the item.”

        The problem with the proposed requirement rests in its asking applicants to generate
descriptions of “zero-day exploit functionalities” that will often be impracticable to substantiate
or will compel applicants to make exhaustive efforts to discover. Furthermore, for a license
applicant to describe how rootkit or zero-day exploit functionality is precluded from its items or
services will often prove to be beyond the applicant’s ability to ascertain.

        The term “preclude” suggests that applicants must make a potential outcome impossible
or prevent it from happening. That is a task that engineers often pursue when designing safety
features into a technology or system. We think, however, that in the context of “zero-day exploit
functionality” in a technology or system that may contain millions of lines of software code the
proposed requirement asks a company and its engineers to perform a task that will in all
likelihood be extravagantly expensive to complete and thus economically beyond their reach. It
will probably also be beyond their ability to ensure that their software code will not produce
certain outcomes or features. It is well known that in designing software, the control of desired
outcomes is usually achievable, whereas the control or avoidance of undesired outcomes is
usually impossible to achieve.

        We note that “zero day” vulnerabilities is a term that the proposed rule and the EAR do
not define. We take the term to refer to vulnerabilities that are unknown to the designer or
producer of a particular item. What makes “zero-day” vulnerabilities so sensitive is that the
designer or producer of the item remains unaware of their existence, despite its best efforts to
review and test the item for “zero-day” vulnerabilities.

        As a result, if a potential attacker discovers such vulnerabilities, it can conduct exploits
(often stealthily) against a defenseless target. Moreover, it is generally considered economically
unjustifiable for a designer or producer of an item to discover all “zero-day” vulnerabilities in the
item because that would entail every line of code be tested alone and in all combinations with
other lines of code contained in the item. In fact, the prodigious size and complexity of
contemporary software precludes discovery of every latent “zero-day” vulnerability in the code.


13
     Id.
14
   See BIS FAQs, No. 7, which states, in pertinent part: “Exploits that meet the definition of ‘intrusion software’
are not controlled.”

                                                  Page 35 of 37
       Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 92 of 99




“Zero-day” vulnerabilities have thus become the unknown feature in “cybersecurity items” that
engineers know exists, but lamentably cannot ferret out.

         Since many “zero-day” vulnerabilities are inherently undiscoverable by the designer or
producer of an item, we think it impracticable and unwise to require a license applicant to
“describe how rootkit or zero-day exploit functionality is precluded from the item.” It makes
little sense to attempt to describe the preclusion or avoidance of vulnerabilities that the applicant
has not discovered, may be financially incapable of discovering, and thus cannot develop ways
of precluding.

        In short, unless modified, the requirement will put applicants to the task of describing
how their item precludes the very “zero-day” vulnerabilities they do not know of. We recognize
that designers and producers increasingly assume that creating products without such
vulnerabilities is beyond the current capabilities of virtually all designers and producers.
However, knowing that as yet undiscovered “zero-day” vulnerabilities are an inherent feature of
an item does not give the designer or producer the knowledge needed to “describe” how any
associated “zero-day exploit functionality is precluded from the item.”

        If the intent of the proposed requirement is more limited and seeks only to require that
applicants describe how the design of their item prevents it from being used to exploit a “zero-
day” vulnerability, the requirement as phrased does not make clear that limited scope.
Moreover, even if so limited, much the same objection applies to the requirement: even items
that do not contain “zero-day” vulnerabilities can be combined with other items to produce an
intrusion technology and the designers of such items may not have been aware of such potential
uses. Thus to require a designer or producer to describe potential uses it does not know of and to
explain how it avoids them would appear to ask them to perform a futile and burdensome task.

       In order to address the deficiencies discussed above, the CEECR recommends that BIS:

           Delete the requirement that an applicant “describe how rootkit or zero-day exploit
           functionality is precluded from the item”; and

           Replace it with the following requirement:

           “(C) For items related to ‘intrusion software’ provide a certification, signed by an
           officer of the applicant, authorized to certify on behalf of the applicant, that after a
           diligent inquiry, as evidenced by end-user certifications, the applicant does not know
           of any rootkit or zero-day exploit functionality contained in the item and does not
           know of any intention by the proposed end-user to combine the item with any other
           items to create a rootkit or zero-day exploit functionality.”

By thus providing for an appropriately focused certification, the requirement would only
necessitate that an applicant to perform a feasible and practicable set of inquiries.




                                           Page 36 of 37
Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 93 of 99
                 Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 94 of 99

AAU Association of American Universities
APLU Association of Public and Land-grant Universities
COGR Council on Governmental Relations



August 3, 2015


Rose Gottemoeller
Under Secretary for Arms Control and International Security
Office of Defense Trade Controls Policy
Department of State
2401 E. Street, N.W.
Washington, D.C. 20037

Via Email: DDTCPublicComments@state.gov

Re:     ITAR Amendment—Revisions to Definitions; Data Transmission and Storage (RIN 1400—AD70)


Dear Under Secretary Gottemoeller:

Enclosed please find comments from the Association of American Universities, the Association of Public and Land-
grant Universities, and the Council on Governmental Relations on the ITAR Amendment – Revisions to Definitions;
Data Transmission and Storage (RIN 1400-AD70). Our staff is available to provide more information or discuss these
matters further should you have any questions regarding our comments.


Sincerely,




Hunter R. Rawlings III                    Peter McPherson                            Anthony DeCrappeo
President                                 President                                  President
AAU                                       APLU                                       COGR




Attachment 1


      Association of American Universities  1200 New York Ave., NW, Suite 550, Washington, DC 20005  (202) 408-7500
 Association of Public and Land-grant Universities  1307 New York Ave., NW, Suite, 400Washington, DC 20005  (202) 478-6040
      Council on Governmental Relations  1200 New York Ave., NW, Suite 750, Washington, DC 20005  (202) 289-6655
                 Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 95 of 99

AAU Association of American Universities
APLU Association of Public and Land-grant Universities
COGR Council on Governmental Relations

MEMORANDUM


August 3, 2015

TO:              Office of Defense Trade Controls Policy, U.S. Department of State

FROM:            Association of American Universities
                        Contact: Tobin Smith, toby.smith@aau.edu (202) 408-7500
                 Association of Public and Land-grant Universities
                        Contact: Jennifer Poulakidas, jpoulakidas@aplu.org (202) 478-5344
                 Council on Governmental Relations
                        Contact: Robert Hardy, rhardy@cogr.edu (202) 289-6655

Re:     (RIN 1400—AD70)
        ITAR Amendment—Revisions to Definitions; Data Transmission and Storage


On behalf of the over 200 universities represented by our associations, we greatly appreciate the opportunity to comment
on the revisions to ITAR definitions and concerning data transmission and storage (RIN 1400—AD70).

The Association of American Universities (AAU) is an association of 60 U.S. and two Canadian leading research
universities organized to develop and implement effective national and institutional policies supporting research and
scholarship, graduate and undergraduate education, and public service in research universities. The Association of Public
and Land-grant Universities (APLU) is a research, policy, and advocacy organization of 238 public research universities,
land-grant institutions, state university systems, and affiliated organizations, dedicated to increasing degree completion
and academic success, advancing scientific research, and expanding engagement. The Council on Governmental
Relations (COGR) is an association of 190 U.S. research universities and their affiliated academic medical centers and
research institutes that concerns itself with the impact of federal regulations, policies, and practices on the performance of
research and other sponsored activities conducted at its member institutions.

The proposed ITAR rule contains a number of helpful changes and clarifications (e.g. definition of "release," clarification
that submission of manuscripts to journal editors constitutes "published" information). In addition, we appreciate the
Department's repeated attempts to clarify the definition and scope of "defense services." This has been a longstanding
issue of concern to our members. Unfortunately, there is one particular aspect of the proposed changes which we believe
will largely over shadow these other positive changes.

The proposed ITAR rule would consider any proprietary information review requirement imposed by a sponsor to
exclude this research from being considered fundamental, even when ultimately no information is deemed to be
proprietary. This is extremely problematic and threatens to stifle university-industry research collaborations. We
therefore strongly urge DDTC to eliminate the language excluding information subject to proprietary review from
being considered fundamental research and to align its language more closely with the EAR treatment of data where a
sponsor requires prior review before publication.




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                Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 96 of 99



Prepublication Review

We appreciate that the proposed ITAR rule recognizes that information arising during, or resulting from fundamental
research that is intended to be published is not technical data subject to the ITAR (and now provides a separate definition
apart from "public domain" for fundamental research information). Currently the ITAR does not directly address this
point.

However, the proposed rule (120.49(b) provides that "intended to be published" does not apply to research sponsor
proprietary information review. In order to be considered fundamental research a researcher must be free to publish the
information without any restriction or delay. This is a marked contrast from the EAR, which continues to provide that
such review does not change the status of technology that arises during or results from fundamental research as still
"intended to be published."

Under the proposed ITAR rule, all research agreements that involve defense articles subject to the ITAR in which
publication is subject to a proprietary information review by the sponsor would not be considered fundamental research.
Control plans and licenses for any foreign nationals involved in such activities would be required before projects could be
undertaken.

No explanation is provided as to the reason for these different policies. The ITAR provision contradicts the intent of the
reform initiative to harmonize the EAR and ITAR. More importantly, it will have a chilling effect on university-industry
collaborations directly working against the Administration's efforts to increase these types of collaborations to more
quickly move new ideas from the lab to the marketplace. Almost all agreements with industry sponsors include provisions
for proprietary and patentable information review. Companies understandably want the ability to guard against inadvertent
disclosure of their proprietary information or trade secrets in publications of research findings and results by university
researchers. Without this ability industry is unlikely to enter into sponsorship of university research. However, there still
is a clear intent to publish the research results. The purpose of these short-term (typically 30—60 days) delays for review
is to ensure that any proprietary input data received from an industry partner is not included inadvertently in an academic
publication. Such clauses do not imply in any way that the research results themselves would somehow be proprietary to
the company. In fact, often universities routinely include a clause that reinforces the fact that they are academic
institutions that have the right to publish research results. This situation differs significantly from situations where the
sponsor must approve publication of the research results. Many universities will not accept such terms from sponsors, in
large part because they are not considered fundamental research.

Universities and their faculty are being pushed by government at all levels, including the Federal government, to
increasingly collaborate and work more closely with industry in an effort to quickly move products from the lab to the
marketplace. Our member institutions are very aware of the need to meet these challenges while preserving the open
nature of university research. The proposed ITAR provision is counter to these goals and threatens the ability of
universities to achieve these objectives, particularly in defense-related areas where universities often serve as
subcontractors to defense contractors for research related to particular defense technologies. It is unclear how treatment of
such activities as controlled serves our national security interests. Additionally it clearly does not serve our economic
interests. We have worked extensively with the Department of Defense to ensure that neither government nor sponsor
approval is required for publication of fundamental research findings in such situations. Requiring licenses and control
plans for research projects which are merely subject to sponsor review for proprietary information - but for which in most
cases no proprietary information is in fact included - will greatly increase compliance burdens, and adversely affect the
interest and ability of universities to undertake such research projects.

The proposed rule also raises serious questions of consistency with government policy on the transfer of scientific and
technical information as reflected in National Security Decision Directive 189 (NSDD 189). That directive provides that
“No restrictions may be placed upon the conduct or reporting of federally-funded fundamental research that has not
received national security classification, except as provided in applicable U.S. statutes.” It also provides that
“…to the maximum extent possible, the products of fundamental research (should) remain unrestricted.” The proposed



                                                              2
                Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 97 of 99



rule restricts research where the results are merely reviewable by sponsors for the possible erroneous inclusion of
proprietary information. This appears an arbitrary agency decision lacking clear statutory authorization in contravention
of stated government policy. We strongly urge that “…or research sponsor proprietary information review” be deleted
from the proposed 120.49(b).

Fundamental Research

There is an inconsistency between the proposed §120.49 entitled "Technical data that arises during, or results from,
fundamental research," and 120.6 (a)(3) which indicates that information and software that arise during, or result from,
fundamental research, are not subject to the ITAR. The proposed definition of "technical data" in 120.10(a) includes
information but not software. This appears to be a significant narrowing of "fundamental research." Omission of software
from "fundamental research" would significantly complicate and restrict university research. While natural-language
documents written by a researcher would be "technical data" that could be freely shared as arising during fundamental
research, a computer-language document written by the same researcher, working on the same project (a program in
source code) would be subject to deemed export restrictions. Information and software are treated the same way in the
proposed definition of "public domain" (120.11) and deemed export (§120.17(a)(2)). We believe that 120.49 should be
revised to apply clearly both to technical data and software.

In addition, Note 1 to paragraph 120.49(a) states that “The inputs used to conduct fundamental research, such as
information, equipment, or software, are not “technical data that arises during or results from fundamental research”
except to the extent that such inputs are technical data that arose during or resulted from earlier fundamental research.”
We believe the statement may be misleading. Conduct of fundamental research draws upon a wide range of information
and other inputs. NSDD 189 does not make a distinction between the conduct and results of fundamental research, In
drawing such a sharp distinction, DDTC appears to be arbitrarily restricting NSDD 189 without clear authority. We
question the need for this statement, and urge that it be removed.

Defense Services

We appreciate the attempt to provide a narrower definition of "defense service," and concur with DDTC that the revised
definition is unlikely to encompass normal duties of university employees. However, in the course of considering the
public comments on the several previous definitions proposed for “defense services,” DDTC appears to have gone
somewhat to the opposite extreme in the proposed 120.9(a)(1) and now has decoupled the actual use of technical data in
providing the defense service. Instead it is based on knowledge gained through participation in the development of
defense articles. We believe such a subjective test will be difficult to apply in practice both for the regulated community
and DDTC. There needs to be a clear connection to using the technical data in providing the assistance.

We also appreciate the distinction between "integration" and "installation" in 120.9(a))(2), which appears consistent with
our previous comments on this issue. However, it appears that use of public domain information in “integration” still may
be a defense service. We believe performing a defense service should be tied to use of technical data, regardless of
whether it involves integration or furnishing of other assistance. We are concerned that with the new proposed definition
of “integration,” (a)(2) could encompass normal sharing of academic information.

We suggest DDTC consider harmonizing the education exclusion now in the proposed 120.9(a) Note 9, with the proposed
revised EAR 734.3(b)(3)(iii), which merges current ITAR (120.10(b)) and EAR text. We further suggest that the language
"or by instruction in a catalog course or associated teaching laboratory of an academic institution" be added to avoid
unintentionally limiting this exclusion. University courses in emerging technology areas should be covered so long as they
are included in course catalogues. It also would be helpful to add a note that university capstone project courses are not
considered defense services.




                                                             3
                Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 98 of 99



Public Domain

The proposed ITAR 120.11 revises the definition of "public domain" to identify characteristics without limiting the
definition to specific circumstances as in the current ITAR. While we agree with the intent to streamline the definition, the
examples given still are primarily in terms of tangible information and do not at all recognize newer forms of information
technology such as photonics. The same comment applies to other ITAR provisions, e.g. 120.17.

The provision in the proposed 120.11(b) that technical data or software is not in the public domain if it has been made
available to the public without authorization from the government raises serious concerns for us. It may lead to confusion
over how this provision applies to information made available to the public through any of the means listed in 120.11(a).
It is not clear how data or software that already has been publicly shared through one or more of these means cannot be
considered as in the public domain. No time limit is indicated in 120.11(b). Moreover the scope is not limited to
government funding, and could apply to a very wide range of unclassified information from many different sources. This
provision raises serious legal and policy issues. We urge DDTC to withdraw it or substantially limit its scope.
Corresponding changes should be made to the proposed 127.1(a)(6). As stated this provision raises questions as to who in
the chain of making technical data or software publicly available would be held responsible and what type and degree of
knowledge is required for violations.

Cloud Computing

We appreciate that both the proposed EAR and ITAR rules address cloud computing situations, which have been a cause
for considerable uncertainty under the current rules. In the companion rule BIS asks for comments as to which proposed
rule more clearly describes the intended control. We prefer the proposed EAR definition in 734.13(a)(6), which requires
knowledge that releasing information relating to encryption will cause or permit the transfer of technology to a foreign
national. In general, we believe that knowledge or intent to transfer controlled information should be required for an
"export" or "deemed export" to occur. We also prefer the EAR provision in 734.18(4)(iii) providing for “other similarly
effective cryptographic means “ for securing technology or software to the proposed ITAR 120.52(a)(4)(iii). While the
NIST standards are widely accepted, they are not necessarily followed by all our member institutions since some
institutions use other means to assure effective cryptographic management.

In addition, the restriction in 120.52 (a)(iv) to countries not proscribed in 126.1 unfortunately may substantially limit the
usefulness of the proposed rule. In the experience of our members, most cloud providers insist on storing data anywhere
that they want. We suggest DDTC consider adding a note that a contract that imposes these obligations on a vendor is
sufficient for compliance purposes, to provide a greater safe harbor. Ensuring actual compliance is beyond our members'
control.

Other Comments

DDTC asks for comments on the technical aspects of data transmission and storage in 120.17. Our associations are unable
to comment on these aspects, but we have encouraged our members to do so.

Note 3 to the new definition of "Required" in 120.46(a) provides a definition for "peculiarly responsible" identical to the
proposed stand-alone EAR definition in 772.1. DDTC asks for comments on placement of this definition. The EAR
placement seems easier to identify, but we have suggested that our members provide their own review and comments on
this issue.

We also suggest that DDTC add a note to the proposed 120.47 definition of “development” to clarify that prototypes
fabricated by universities solely for academic demonstration purposes with no intent to develop them for commercial
production are not “development.”




                                                              4
                 Case 2:18-cv-01115-RSL Document 63-1 Filed 08/15/18 Page 99 of 99



Effective Date

DDTC proposes a 30-day delayed effective date. Changes to USML categories generally have had a six-month delayed
effective date while other rules affecting export controls have been effective on the date of publication. Obviously the
content of the final rule is an important consideration. Our view is that significant changes in definitions should have as
long a lead time as possible for implementation. Therefore we support a six-month delayed effective date.

Conclusion

In closing, we believe there are many positive changes in the proposed rule. Unfortunately they are overshadowed by the
proposed 120.49(b) prepublication review restriction discussed above. We strongly urge DDTC to reconsider this
restriction, which is inconsistent both with stated government policy on fundamental research and on current government
policy objectives as well as the goals of the export controls reform initiative to harmonize definitions.

We appreciate the opportunity to comment and are available to provide more information or discuss these matters further
should you have any questions regarding our comments.




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